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                                      SCHEDULE A
Security                   Buy/Sell                 Date       Quantity    Price

VXX                        Buy                     7/15/2010         500   $26.5999
VXX                        Buy                     7/15/2010         500   $26.9299
VXX                        Buy                     7/15/2010         500   $26.9799
VXX                        Sell                    7/15/2010        -500   $26.9601
VXX                        Sell                    7/15/2010        -500   $27.2301
VXX                        Buy                     7/16/2010         121   $26.3000
VXX                        Buy                     7/16/2010         179   $26.3000
VXX                        Buy                     7/16/2010         200   $26.3000
VXX                        Buy                     7/16/2010         500   $26.5699
VXX                        Buy                     7/16/2010         500   $26.6499
VXX                        Buy                     7/16/2010         500   $26.7999
VXX                        Sell                    7/16/2010        -100   $26.7500
VXX                        Sell                    7/16/2010        -100   $26.7500
VXX                        Sell                    7/16/2010        -100   $26.7500
VXX                        Sell                    7/16/2010        -100   $26.7500
VXX                        Sell                    7/16/2010        -100   $26.7501
VXX                        Sell                    7/16/2010        -500   $26.4901
VXX                        Sell                    7/16/2010        -500   $26.8101
VXX                        Sell                    7/16/2010        -500   $27.0101
VXX                        Buy                     7/19/2010         100   $26.4200
VXX                        Buy                     7/19/2010         100   $26.4200
VXX                        Buy                     7/19/2010         100   $26.4200
VXX                        Buy                     7/19/2010         100   $26.8300
VXX                        Buy                     7/19/2010         200   $26.4200
VXX                        Buy                     7/19/2010         200   $26.8300
VXX                        Buy                     7/19/2010         200   $26.8300
VXX                        Buy                     7/19/2010         500   $26.7500
VXX                        Buy                     7/19/2010         500   $27.1499
VXX                        Sell                    7/19/2010        -200   $26.6101
VXX                        Sell                    7/19/2010        -300   $26.6100
VXX                        Sell                    7/19/2010        -500   $27.1901
VXX                        Buy                     7/20/2010         250   $27.2999
VXX                        Buy                     7/20/2010         250   $27.4900
VXX                        Sell                    7/20/2010        -500   $27.4105
VXX                        Buy                     7/21/2010         200   $24.7899
                                          2
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Security                   Buy/Sell                Date      Quantity     Price
VXX                        Sell                  7/21/2010        -200    $25.2601
VXX                        Buy                   7/22/2010         500    $25.0100
VXX                        Buy                    8/3/2010         200    $21.4200
VXX                        Buy                    8/3/2010         500    $21.7999
VXX                        Sell                   8/3/2010        -500    $21.4801
VXX                        Buy                    8/6/2010         500    $21.9699
VXX                        Sell                   8/6/2010        -500    $21.9301
VXX                        Sell                   8/6/2010        -500    $22.2501
VXX                        Buy                   8/10/2010         100    $21.6200
VXX                        Buy                   8/10/2010         400    $21.6200
VXX                        Sell                  8/10/2010        -500    $21.7501
VXX                        Buy                   8/17/2010         500    $22.8899
VXX                        Sell                  8/19/2010        -200    $23.3101
VXX                        Sell                  8/19/2010        -300    $23.3101
VXX                        Sell                  11/1/2010        -500    $12.9401
VXX                        Stock Receipt         11/9/2010         375     $0.0000
VXX                        Stock Delivery        11/9/2010      -1,500     $0.0000
VXX                        Sell                 11/30/2010          -75   $47.3100

VXX                        Short Sell            7/16/2010         -100   $26.8800
VXX                        Short Sell            7/16/2010         -100   $26.8700
VXX                        Short Sell            7/16/2010         -100   $26.8700
VXX                        Short Sell            7/16/2010         -100   $26.8700
VXX                        Short Sell            7/16/2010         -100   $26.8700
VXX                        Short Sell            7/19/2010         -500   $27.1701
VXX                        Short Sell            7/19/2010         -500   $27.1501
VXX                        Cover Buy             7/19/2010          500   $27.0400
VXX                        Cover Buy             7/19/2010          500   $26.6999
VXX                        Cover Buy             7/19/2010          200   $27.0600
VXX                        Cover Buy             7/19/2010          100   $27.0600
VXX                        Cover Buy             7/19/2010          100   $27.0500
VXX                        Cover Buy             7/19/2010          100   $27.0500
VXX                        Short Sell            7/29/2010         -500   $22.4201
VXX                        Short Sell            7/29/2010          -50   $23.2300
VXX                        Short Sell            7/29/2010          -30   $23.2100
VXX                        Cover Buy              8/2/2010           80   $22.0300
VXX                        Cover Buy              8/2/2010          400   $22.0300
                                            3
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Security                   Buy/Sell               Date      Quantity      Price
VXX                        Cover Buy             8/2/2010         100     $22.0300
VXX                        Short Sell            8/3/2010        -500     $21.4101
VXX                        Short Sell            8/3/2010        -400     $21.3101
VXX                        Short Sell            8/3/2010        -100     $21.3150
VXX                        Short Sell            8/6/2010        -500     $22.2101
VXX                        Short Sell            8/6/2010        -500     $21.8901
VXX                        Short Sell            8/6/2010        -300     $22.0000
VXX                        Short Sell            8/6/2010        -100     $22.0100
VXX                        Short Sell            8/6/2010        -100     $22.0000
VXX                        Cover Buy             8/6/2010         500     $21.9399
VXX                        Cover Buy             8/6/2010         500     $21.8199
VXX                        Cover Buy             8/9/2010         500     $21.1699
VXX                        Cover Buy             8/9/2010         500     $21.1299
VXX                        Cover Buy             8/9/2010         500     $21.0599
VXX                        Short Sell           8/10/2010        -500     $21.8001
VXX                        Short Sell           8/10/2010        -500     $21.6701
VXX                        Short Sell           8/10/2010        -500     $21.2401
VXX                        Short Sell           8/10/2010        -200     $21.6401
VXX                        Short Sell           8/10/2010      -1,000     $21.2501
VXX                        Short Sell           8/10/2010        -100     $21.6400
VXX                        Short Sell           8/10/2010        -100     $21.6400
VXX                        Short Sell           8/10/2010        -100     $21.6400
VXX                        Cover Buy            8/10/2010         500     $21.7099
VXX                        Cover Buy            8/10/2010         500     $21.4499
VXX                        Cover Buy            8/10/2010         500     $21.2599
VXX                        Cover Buy            8/10/2010       1,000     $21.1699
VXX                        Short Sell           8/11/2010        -500     $22.8201
VXX                        Short Sell           8/11/2010        -500     $22.8001
VXX                        Short Sell           8/11/2010        -500     $22.8001
VXX                        Short Sell           8/11/2010        -500     $22.6401
VXX                        Short Sell           8/11/2010        -500     $22.5201
VXX                        Short Sell           8/11/2010        -500     $22.3201
VXX                        Short Sell           8/11/2010        -300     $22.5201
VXX                        Short Sell           8/11/2010        -100     $22.5201
VXX                        Short Sell           8/11/2010        -100     $22.5201
VXX                        Cover Buy            8/11/2010         500     $22.7000
VXX                        Cover Buy            8/11/2010         500     $22.5999
                                        4
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Security                   Buy/Sell               Date      Quantity      Price
VXX                        Cover Buy            8/11/2010         500     $22.3699
VXX                        Short Sell           8/12/2010        -500     $23.3401
VXX                        Short Sell           8/12/2010        -500     $23.1901
VXX                        Short Sell           8/12/2010        -500     $23.1401
VXX                        Short Sell           8/12/2010        -400     $23.3000
VXX                        Short Sell           8/12/2010        -100     $23.3000
VXX                        Cover Buy            8/12/2010         500     $23.2199
VXX                        Cover Buy            8/12/2010         500     $23.0699
VXX                        Cover Buy            8/12/2010         500     $22.9899
VXX                        Short Sell           8/13/2010        -500     $23.3701
VXX                        Short Sell           8/13/2010        -250     $23.6950
VXX                        Cover Buy            8/17/2010         500     $23.0900
VXX                        Cover Buy            8/17/2010         500     $22.8499
VXX                        Cover Buy            8/17/2010         500     $22.5699
VXX                        Cover Buy            8/17/2010         500     $22.4799
VXX                        Cover Buy            8/17/2010           50    $23.0700
VXX                        Cover Buy            8/17/2010         200     $23.0700
VXX                        Short Sell           8/18/2010        -500     $22.6501
VXX                        Cover Buy            8/18/2010         500     $22.4499
VXX                        Cover Buy            8/18/2010         500     $22.2500
VXX                        Cover Buy            8/23/2010         500     $22.1999
VXX                        Cover Buy            8/25/2010           50    $22.7900
VXX                        Cover Buy             9/1/2010         450     $20.6399
VXX                        Short Sell           10/7/2010        -400     $16.0000
VXX                        Short Sell           10/7/2010        -100     $16.0000
VXX                        Cover Buy            10/8/2010         500     $15.4899
VXX                        Short Sell           11/2/2010        -300     $12.9501
VXX                        Short Sell           11/2/2010        -300     $12.9000
VXX                        Cover Buy            11/3/2010         300     $12.0799
VXX                        Cover Buy            11/4/2010         300     $11.4499
VXX                        Short Sell          12/14/2010        -500     $38.6601
VXX                        Cover Buy           12/14/2010         500     $38.5899
VXX                        Short Sell          12/15/2010        -500     $38.7301
VXX                        Cover Buy           12/17/2010         500     $38.4299
VXX                        Short Sell          12/22/2010        -500     $36.7101
VXX                        Short Sell          12/22/2010        -250     $36.6101
VXX                        Cover Buy           12/22/2010         500     $36.5399
                                        5
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Security                   Buy/Sell               Date      Quantity      Price
VXX                        Short Sell          12/23/2010        -250     $37.2401
VXX                        Short Sell          12/27/2010        -250     $38.8901
VXX                        Short Sell          12/28/2010        -500     $39.1301
VXX                        Cover Buy           12/28/2010         500     $38.9499
VXX                        Short Sell          12/29/2010        -500     $38.4201
VXX                        Cover Buy           12/29/2010         250     $38.5399
VXX                        Cover Buy           12/30/2010         500     $38.3199
VXX                        Cover Buy           12/31/2010         500     $38.0199

XXV                        Buy                   4/5/2011         100     $34.5983
XXV                        Sell                  5/2/2011        -100     $35.5017
VXX                        Buy                   8/3/2010         300     $21.4200
VXX                        Short Sell          12/22/2010        -300     $36.5201
VXX                        Short Sell          12/31/2010        -500     $38.2401
VXX                        Short Sell            1/3/2011        -500     $36.2101
VXX                        Cover Buy             1/3/2011         250     $36.2699
VXX                        Short Sell            1/4/2011        -500     $36.5201
VXX                        Cover Buy             1/4/2011         500     $36.8300
VXX                        Cover Buy             1/5/2011         500     $36.5799
VXX                        Cover Buy             1/5/2011         500     $35.9099
VXX                        Short Sell            1/6/2011        -500     $36.1601
VXX                        Short Sell            1/6/2011        -500     $36.0801
VXX                        Cover Buy             1/6/2011         500     $35.9099
VXX                        Short Sell            1/7/2011        -500     $35.9501
VXX                        Short Sell            1/7/2011        -500     $35.4801
VXX                        Short Sell            1/7/2011        -250     $36.7601
VXX                        Cover Buy             1/7/2011         500     $35.5299
VXX                        Cover Buy             1/7/2011         250     $36.4399
VXX                        Short Sell           1/10/2011        -500     $37.2601
VXX                        Short Sell           1/10/2011        -500     $36.8300
VXX                        Short Sell           1/10/2011        -500     $36.7801
VXX                        Short Sell           1/10/2011        -500     $36.6700
VXX                        Cover Buy            1/10/2011         500     $36.9299
VXX                        Cover Buy            1/10/2011         500     $36.6280
VXX                        Cover Buy            1/10/2011         500     $36.5799
VXX                        Cover Buy            1/10/2011         500     $36.5099
VXX                        Short Sell           1/11/2011        -500     $35.6900
                                        6
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Security                   Buy/Sell               Date      Quantity      Price
VXX                        Short Sell           1/11/2011        -500     $35.4060
VXX                        Short Sell           1/11/2011        -500     $35.3601
VXX                        Cover Buy            1/11/2011         550     $35.4700
VXX                        Cover Buy            1/11/2011         500     $35.5080
VXX                        Cover Buy            1/11/2011         500     $35.1880
VXX                        Cover Buy            1/11/2011         500     $35.1599
VXX                        Cover Buy            1/11/2011         500     $35.0199
VXX                        Short Sell           1/12/2011        -500     $33.9401
VXX                        Cover Buy            1/12/2011         500     $33.7099
VXX                        Short Sell           1/13/2011        -500     $33.6301
VXX                        Short Sell           1/13/2011        -500     $33.3901
VXX                        Short Sell           1/13/2011        -500     $33.2601
VXX                        Short Sell           1/13/2011        -500     $33.1701
VXX                        Short Sell           1/13/2011      -1,000     $33.1401
VXX                        Cover Buy            1/13/2011         500     $33.3500
VXX                        Cover Buy            1/13/2011         500     $33.2099
VXX                        Cover Buy            1/13/2011       1,000     $32.9799
VXX                        Cover Buy            1/14/2011         500     $32.7099
VXX                        Cover Buy            1/14/2011         500     $32.1299
VXX                        Short Sell           1/18/2011        -500     $31.5201
VXX                        Short Sell           1/18/2011        -500     $30.8901
VXX                        Cover Buy            1/18/2011         500     $31.4299
VXX                        Short Sell           1/19/2011        -500     $32.2201
VXX                        Short Sell           1/19/2011        -500     $32.0701
VXX                        Short Sell           1/19/2011        -500     $31.5000
VXX                        Short Sell           1/19/2011        -500     $30.8001
VXX                        Cover Buy            1/19/2011         500     $31.8099
VXX                        Cover Buy            1/19/2011         500     $30.6056
VXX                        Short Sell           1/20/2011        -500     $32.7001
VXX                        Short Sell           1/20/2011        -500     $32.6001
VXX                        Cover Buy            1/20/2011         500     $32.2699
VXX                        Cover Buy            1/20/2011         500     $32.2500
VXX                        Cover Buy            1/20/2011         500     $31.9199
VXX                        Short Sell           1/21/2011        -500     $32.1001
VXX                        Short Sell           1/21/2011        -500     $31.9101
VXX                        Short Sell           1/21/2011        -500     $31.3401
VXX                        Cover Buy            1/21/2011         500     $31.7999
                                        7
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Security                   Buy/Sell               Date      Quantity      Price
VXX                        Cover Buy            1/21/2011         500     $30.9399
VXX                        Cover Buy            1/24/2011         500     $31.6199
VXX                        Short Sell           1/25/2011        -260     $31.9200
VXX                        Short Sell           1/25/2011        -250     $32.0301
VXX                        Cover Buy            1/25/2011         250     $31.6699
VXX                        Cover Buy            1/25/2011         250     $31.6260
VXX                        Short Sell           1/26/2011        -500     $30.2711
VXX                        Short Sell           1/26/2011        -350     $30.6011
VXX                        Short Sell           1/26/2011        -300     $30.8111
VXX                        Short Sell           1/26/2011        -250     $30.7311
VXX                        Short Sell           1/26/2011        -150     $30.9411
VXX                        Cover Buy            1/26/2011         590     $30.0789
VXX                        Cover Buy            1/26/2011         510     $30.3991
VXX                        Cover Buy            1/26/2011         500     $30.7200
VXX                        Cover Buy            1/26/2011         460     $30.3389
VXX                        Cover Buy            1/27/2011         500     $29.8999
VXX                        Short Sell           1/28/2011        -500     $30.7201
VXX                        Short Sell           1/28/2011        -500     $30.1601
VXX                        Short Sell           1/28/2011        -500     $29.6501
VXX                        Short Sell           1/28/2011        -500     $29.4101
VXX                        Cover Buy             2/1/2011         500     $30.4000
VXX                        Cover Buy             2/3/2011         500     $29.9000
VXX                        Cover Buy             2/4/2011         500     $29.2899
VXX                        Short Sell            2/7/2011        -500     $28.6001
VXX                        Short Sell            2/7/2011        -300     $28.7501
VXX                        Cover Buy             2/7/2011         500     $28.5199
VXX                        Cover Buy             2/8/2011         300     $28.3800
VXX                        Short Sell            2/9/2011        -500     $28.6701
VXX                        Short Sell            2/9/2011        -300     $28.6301
VXX                        Short Sell            2/9/2011        -250     $28.8401
VXX                        Short Sell            2/9/2011        -250     $28.4601
VXX                        Buy                   2/9/2011         300     $28.6399
VXX                        Sell                  2/9/2011        -300     $28.6301
VXX                        Cover Buy             2/9/2011         750     $28.4599
VXX                        Cover Buy             2/9/2011         500     $28.3899
VXX                        Short Sell           2/10/2011        -500     $28.9100
VXX                        Short Sell           2/10/2011        -300     $28.6301
                                        8
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Security                   Buy/Sell               Date      Quantity      Price
VXX                        Cover Buy            2/10/2011         500     $28.5199
VXX                        Short Sell           2/11/2011        -500     $28.7600
VXX                        Short Sell           2/11/2011        -500     $28.6420
VXX                        Cover Buy            2/11/2011         600     $28.0300
VXX                        Cover Buy            2/11/2011         500     $28.6399
VXX                        Cover Buy            2/11/2011         500     $28.3599
VXX                        Short Sell           2/14/2011        -500     $28.0200
VXX                        Cover Buy            2/14/2011         500     $27.7499
VXX                        Cover Buy            2/14/2011         250     $27.9499
VXX                        Short Sell           2/15/2011        -500     $28.0801
VXX                        Short Sell           2/15/2011        -500     $27.9700
VXX                        Short Sell           2/16/2011        -500     $28.4001
VXX                        Short Sell           2/16/2011        -500     $27.6501
VXX                        Short Sell           2/16/2011        -300     $28.0801
VXX                        Short Sell           2/16/2011        -300     $27.9901
VXX                        Cover Buy            2/16/2011         600     $27.6099
VXX                        Short Sell           2/17/2011        -300     $28.7701
VXX                        Short Sell           2/18/2011        -500     $28.7001
VXX                        Short Sell           2/22/2011        -500     $30.6601
VXX                        Short Sell           2/22/2011        -500     $30.3901
VXX                        Short Sell           2/22/2011        -200     $31.9801
VXX                        Short Sell           2/22/2011        -200     $30.9501
VXX                        Cover Buy            2/22/2011         500     $30.2699
VXX                        Cover Buy            2/22/2011         200     $30.3999
VXX                        Cover Buy            2/23/2011         200     $32.0600
VXX                        Cover Buy            2/28/2011         500     $30.2799
VXX                        Cover Buy             4/1/2011         500     $28.5599
VXX                        Cover Buy             4/1/2011         300     $28.5599
VXX                        Cover Buy             4/5/2011         500     $28.2450
VXX                        Short Sell           4/12/2011        -200     $29.1101
VXX                        Cover Buy            4/12/2011         200     $28.8099
VXX                        Cover Buy            4/15/2011         700     $27.7999
VXX                        Cover Buy            4/15/2011         300     $27.6000
VXX                        Short Sell           4/18/2011        -200     $28.9701
VXX                        Cover Buy            4/18/2011         200     $28.1899
VXX                        Cover Buy            4/19/2011         500     $27.3599
VXX                        Short Sell           5/10/2011        -500     $23.8201
                                        9
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Security                  Buy/Sell                Date      Quantity     Price
VXX                       Short Sell            5/10/2011        -500    $23.4901
VXX                       Cover Buy             5/10/2011         500    $23.5099
VXX                       Cover Buy             5/10/2011         500    $23.3600
VXX                       Short Sell            5/11/2011        -500    $23.4801
VXX                       Short Sell            5/12/2011        -300    $23.8701
VXX                       Cover Buy             5/12/2011         300    $23.3699
VXX                       Short Sell            5/16/2011        -300    $23.7401
VXX                       Cover Buy             5/18/2011         500    $23.0199
VXX                       Cover Buy             5/18/2011         300    $23.3499
VXX                       Short Sell            5/19/2011        -500    $22.7801
VXX                       Cover Buy             5/19/2011         500    $22.5200
VXX                       Short Sell            5/20/2011        -500    $22.5501
VXX                       Cover Buy             5/20/2011         500    $22.3599
VXX                       Short Sell            5/23/2011        -300    $23.6301
VXX                       Short Sell            5/23/2011        -300    $23.5401
VXX                       Short Sell            5/23/2011        -250    $23.8400
VXX                       Cover Buy             5/23/2011         250    $23.4700
VXX                       Short Sell            5/24/2011        -500    $23.1601
VXX                       Cover Buy             5/24/2011         600    $23.2499
VXX                       Cover Buy             5/25/2011         500    $22.8099
VXX                       Short Sell            5/26/2011        -300    $22.8501
VXX                       Short Sell            5/26/2011        -300    $22.6501
VXX                       Cover Buy             5/26/2011         300    $22.4399
VXX                       Cover Buy             5/27/2011         300    $21.8599
VXX                       Short Sell            5/31/2011        -500    $21.4501
VXX                       Short Sell             6/3/2011        -300    $22.4301
VXX                       Short Sell             6/3/2011        -250    $23.0201
VXX                       Cover Buy              6/3/2011         250    $22.2499
VXX                       Short Sell             6/6/2011        -400    $22.3901
VXX                       Short Sell             6/6/2011        -300    $22.6201
VXX                       Short Sell             6/6/2011        -250    $22.8401
VXX                       Cover Buy              6/6/2011         300    $22.2099
VXX                       Cover Buy              6/6/2011         300    $22.1299
VXX                       Cover Buy              6/7/2011         250    $22.2499
VXX                       Sell                   6/8/2011        -300    $22.5001
VXX                       Cover Buy              6/9/2011         400    $22.0499
VXX                       Short Sell            6/14/2011        -200    $22.4101
                                       10
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Security                     Buy/Sell             Date      Quantity     Price
VXX                          Cover Buy          6/30/2011         200    $21.6000
VXX                          Cover Buy           7/1/2011         500    $20.5000
VXX                          Short Sell         7/11/2011        -100    $21.9301
VXX                          Short Sell         7/15/2011        -100    $23.4201
VXX                          Short Sell         7/19/2011        -300    $22.7917
VXX                          Short Sell         7/19/2011        -100    $22.8501
VXX                          Cover Buy          7/19/2011         500    $22.5399
VXX                          Cover Buy          7/22/2011         100    $20.9399
VXX                          Short Sell         7/25/2011        -200    $21.1901
VXX                          Short Sell         7/28/2011        -100    $22.9601
VXX                          Cover Buy          9/29/2011         300    $49.0000

VXX Jul 17 2010 28.00 Call   Short Sell         7/15/2010          -5     $0.2000
VXX Jul 17 2010 28.00 Call   Expired            7/19/2010           5     $0.0000
VXX Aug 21 2010 23.00 Call   Short Sell          8/5/2010          -5     $0.7000
VXX Aug 21 2010 23.00 Call   Cover Buy           8/9/2010           5     $0.5000
VXX Aug 21 2010 24.00 Call   Short Sell         8/11/2010          -5     $0.5000
VXX Aug 21 2010 24.00 Call   Cover Buy          8/17/2010           2     $0.1500
VXX Aug 21 2010 24.00 Call   Cover Buy          8/17/2010           2     $0.1500
VXX Aug 21 2010 24.00 Call   Cover Buy          8/17/2010           1     $0.1500
VXX Aug 21 2010 25.00 Call   Short Sell          8/5/2010          -5     $0.3500
VXX Aug 21 2010 25.00 Call   Expired            8/23/2010           5     $0.0000
VXX Aug 21 2010 27.00 Call   Short Sell         7/22/2010          -5     $0.8000
VXX Aug 21 2010 27.00 Call   Cover Buy           8/5/2010           5     $0.3000
VXX Aug 21 2010 28.00 Call   Short Sell         7/19/2010          -1     $2.0500
VXX Aug 21 2010 28.00 Call   Short Sell         7/19/2010          -2     $2.1000
VXX Aug 21 2010 28.00 Call   Short Sell         7/19/2010          -2     $2.0500
VXX Aug 21 2010 28.00 Call   Cover Buy          7/19/2010           4     $1.9000
VXX Aug 21 2010 28.00 Call   Cover Buy          7/19/2010           1     $1.9900
VXX Aug 21 2010 28.00 Call   Short Sell         7/20/2010          -5     $1.6500
VXX Aug 21 2010 28.00 Call   Cover Buy          7/20/2010           5     $1.4000
VXX Sep 18 2010 24.00 Call   Short Sell         8/18/2010         -10     $1.1000
VXX Sep 18 2010 24.00 Call   Cover Buy          8/23/2010          10     $0.9000
VXX Sep 18 2010 26.00 Call   Short Sell         8/23/2010         -10     $0.5100
VXX Sep 18 2010 26.00 Call   Expired            9/20/2010          10     $0.0000
VXX Sep 18 2010 28.00 Call   Short Sell         7/19/2010          -5     $3.0000
VXX Sep 18 2010 28.00 Call   Cover Buy          7/19/2010           5     $2.8500
                                          11
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Security                     Buy/Sell              Date      Quantity     Price
VXX Nov 20 2010 14.00 Call   Short Sell         10/28/2010           -5    $0.6500
VXX Nov 20 2010 14.00 Call   Cover Buy           11/1/2010            5    $0.5400
VXX Nov 20 2010 28.00 Call   Short Sell          9/20/2010          -10    $0.2100
VXX Nov 20 2010 28.00 Call   Cover Buy          10/14/2010           10    $0.1000
VXX Dec 18 2010 14.00 Call   Short Sell          11/5/2010           -5    $0.4100
VXX Dec 18 2010 14.00 Call   Stock Adjustment    11/9/2010            5    $0.0000
VXX Dec 18 2010 Aj1 14.00
Call                         Stock Adjustment    11/9/2010           -5    $0.0000
VXX Dec 18 2010 Aj1 14.00
Call                         Cover Buy          11/19/2010            5    $0.1400
VXX Dec 18 2010 21.00 Call   Short Sell         10/12/2010           -5    $0.3500
VXX Dec 18 2010 21.00 Call   Cover Buy          10/25/2010            5    $0.2400
VXX Dec 18 2010 25.00 Call   Short Sell           9/7/2010           -5    $1.1500
VXX Dec 18 2010 25.00 Call   Cover Buy           9/14/2010            5    $0.8500
VXX Dec 18 2010 28.00 Call   Short Sell          8/23/2010           -5    $1.7500
VXX Dec 18 2010 28.00 Call   Cover Buy            9/1/2010            5    $1.2000
VXX Dec 18 2010 28.00 Call   Short Sell          9/20/2010           -5    $0.4000
VXX Dec 18 2010 28.00 Call   Cover Buy          10/12/2010            5    $0.1500
VXX Dec 18 2010 29.00 Call   Short Sell          8/19/2010          -10    $1.8100
VXX Dec 18 2010 29.00 Call   Cover Buy           8/19/2010            5    $2.0900
VXX Dec 18 2010 29.00 Call   Cover Buy            9/1/2010            5    $1.1500
VXX Dec 18 2010 30.00 Call   Short Sell          7/27/2010           -4    $1.9000
VXX Dec 18 2010 30.00 Call   Short Sell          7/27/2010           -3    $1.9000
VXX Dec 18 2010 30.00 Call   Cover Buy           8/18/2010            6    $1.5500
VXX Dec 18 2010 30.00 Call   Cover Buy           8/18/2010            1    $1.5500
VXX Dec 18 2010 31.00 Call   Short Sell          7/21/2010           -8    $2.9100
VXX Dec 18 2010 31.00 Call   Cover Buy           7/22/2010            8    $2.4400
VXX Jan 22 2011 16.00 Call   Short Sell         10/25/2010           -5    $0.9500
VXX Jan 22 2011 16.00 Call   Stock Adjustment    11/9/2010            5    $0.0000
VXX Jan 22 2011 Aj1 16.00
Call                         Stock Adjustment    11/9/2010           -5    $0.0000
VXX Jan 22 2011 Aj1 16.00
Call                         Cover Buy          11/19/2010            5    $0.3000
VXX Jan 22 2011 30.00 Call   Short Sell         10/14/2010          -10    $0.2100
VXX Jan 22 2011 30.00 Call   Cover Buy          10/22/2010           10    $0.1900
VXX Jan 22 2011 35.00 Call   Short Sell          7/22/2010           -8    $1.8600
VXX Jan 22 2011 35.00 Call   Cover Buy            8/5/2010            8    $1.4500
VXX Jan 22 2011 50.00 Call   Short Sell         11/30/2010           -1    $3.9000

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Security                     Buy/Sell              Date      Quantity    Price
VXX Jan 22 2011 50.00 Call   Cover Buy           12/6/2010           1    $1.4500
VXX Jan 22 2011 52.00 Call   Short Sell         11/19/2010          -2    $2.5000
VXX Jan 22 2011 52.00 Call   Cover Buy           12/6/2010           2    $1.1900
VXX Mar 19 2011 29.00 Call   Short Sell          9/10/2010          -5    $0.9500
VXX Mar 19 2011 29.00 Call   Cover Buy          10/15/2010           5    $0.5500
VXX Mar 19 2011 41.00 Call   Short Sell         12/13/2010          -3    $4.1100
VXX Mar 19 2011 41.00 Call   Cover Buy          12/23/2010           3    $3.3900
VXX Jan 21 2012 29.00 Call   Short Sell         10/22/2010          -5    $1.7500
VXX Jan 21 2012 29.00 Call   Stock Adjustment    11/9/2010           5    $0.0000
VXX Jan 21 2012 Aj1 29.00
Call                         Stock Adjustment    11/9/2010          -5    $0.0000
VXX Jan 21 2012 Aj1 29.00
Call                         Cover Buy          11/23/2010           5    $1.1000
VXX Jan 21 2012 30.00 Call   Short Sell         10/15/2010          -5    $1.8500
VXX Jan 21 2012 30.00 Call   Cover Buy          10/28/2010           5    $1.6000

VXX Feb 19 2011 42.00 Call   Short Sell         12/27/2010          -3    $2.6100
VXX Feb 19 2011 42.00 Call   Cover Buy            1/4/2011           3    $1.5600
VXX May 21 2011 34.00 Call   Short Sell          3/11/2011          -3    $4.1600
VXX May 21 2011 34.00 Call   Cover Buy           3/22/2011           3    $2.9700
VXX Sep 17 2011 20.00 Call   Short Sell           6/3/2011          -3    $4.1500
VXX Sep 17 2011 20.00 Call   Cover Buy            6/8/2011           3    $4.2400
VXX Dec 17 2011 26.00 Call   Short Sell          5/25/2011          -3    $4.1000
VXX Dec 17 2011 26.00 Call   Cover Buy           5/27/2011           3    $3.4000

TVIX                         Short Sell          2/10/2011        -300   $37.7801
TVIX                         Short Sell          2/10/2011        -300   $37.0301
TVIX                         Cover Buy           2/10/2011         300   $36.8000
TVIX                         Cover Buy           2/10/2011         300   $36.0099
TVIX                         Short Sell          2/11/2011        -300   $36.4501
TVIX                         Cover Buy           2/11/2011         300   $35.6399
TVIX                         Short Sell          2/15/2011        -300   $35.1501
TVIX                         Cover Buy           2/16/2011         300   $34.5699
TVIX                         Buy                 2/16/2011         300   $35.1099
TVIX                         Sell                2/16/2011        -300   $35.0201
TVIX                         Short Sell           3/1/2011        -100   $44.1201
TVIX                         Cover Buy            3/2/2011         100   $42.9999

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Security                  Buy/Sell                Date      Quantity     Price
TVIX                      Short Sell             3/3/2011        -200    $41.3801
TVIX                      Short Sell             3/3/2011        -100    $42.0301
TVIX                      Short Sell             3/3/2011        -100    $41.9901
TVIX                      Cover Buy              3/3/2011         200    $41.0300
TVIX                      Cover Buy              3/3/2011         100    $41.3299
TVIX                      Cover Buy              3/3/2011         100    $41.2699
TVIX                      Short Sell             3/4/2011        -200    $42.5401
TVIX                      Short Sell             3/4/2011        -100    $44.5501
TVIX                      Cover Buy              3/4/2011         100    $43.4599
TVIX                      Short Sell             3/7/2011        -150    $46.8233
TVIX                      Cover Buy              3/8/2011         150    $44.6500
TVIX                      Short Sell             3/9/2011        -150    $44.5000
TVIX                      Cover Buy             3/16/2011           50   $60.0800
TVIX                      Short Sell            3/18/2011        -100    $52.4600
TVIX                      Cover Buy             3/21/2011         100    $46.7099
TVIX                      Cover Buy             3/23/2011         200    $41.4199
TVIX                      Cover Buy             3/30/2011         100    $36.3699
TVIX                      Buy                    4/6/2011         100    $33.8599
TVIX                      Sell                   4/7/2011        -100    $34.7101
TVIX                      Buy                    4/8/2011         150    $33.2000
TVIX                      Sell                   4/8/2011        -150    $33.6001
TVIX                      Short Sell            4/11/2011        -100    $34.1101
TVIX                      Short Sell            4/11/2011        -100    $34.0501
TVIX                      Cover Buy             4/14/2011         200    $33.7399
TVIX                      Buy                   4/19/2011         100    $31.7699
TVIX                      Sell                  4/21/2011        -100    $26.4201
TVIX                      Short Sell            4/21/2011        -250    $26.8701
TVIX                      Cover Buy             4/21/2011         250    $26.5399
TVIX                      Buy                   4/21/2011         100    $26.2000
TVIX                      Short Sell             5/4/2011        -100    $26.3601
TVIX                      Cover Buy              5/4/2011         100    $25.1599
TVIX                      Short Sell             5/5/2011        -250    $24.6401
TVIX                      Short Sell             5/5/2011        -100    $27.0701
TVIX                      Cover Buy              5/5/2011         100    $25.4999
TVIX                      Short Sell             5/6/2011        -150    $25.5501
TVIX                      Cover Buy              5/6/2011         250    $23.6499
TVIX                      Short Sell             5/9/2011        -300    $24.1200
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Security                     Buy/Sell             Date      Quantity     Price
TVIX                         Cover Buy           5/9/2011         300    $23.8099
TVIX                         Cover Buy           5/9/2011         150    $24.0599
TVIX                         Short Sell         5/16/2011        -300    $23.7400
TVIX                         Short Sell         5/16/2011        -300    $22.4901
TVIX                         Cover Buy          5/16/2011         300    $23.0900
TVIX                         Short Sell         5/17/2011        -300    $24.1333
TVIX                         Short Sell         5/17/2011        -300    $23.3301
TVIX                         Cover Buy          5/17/2011         300    $23.7399
TVIX                         Cover Buy          5/18/2011         300    $22.7499
TVIX                         Cover Buy          5/18/2011         300    $21.8499
TVIX                         Short Sell         5/24/2011        -250    $22.3740
TVIX                         Cover Buy          5/25/2011         250    $21.6099
TVIX                         Sell                6/2/2011        -100    $20.3501
TVIX                         Short Sell         6/14/2011        -200    $20.5800
TVIX                         Short Sell         6/28/2011        -200    $22.0301
TVIX                         Cover Buy          6/28/2011         200    $21.3000
TVIX                         Cover Buy          6/29/2011         200    $19.4499

VIX Sep 28 2016 17.00 Call   Short Sell         9/21/2016         -10     $0.5500
VIX Sep 28 2016 17.00 Call   Short Sell         9/21/2016         -10     $0.5500
VIX Sep 28 2016 17.00 Call   Cover Buy          9/28/2016          20     $0.0000
VIX Sep 28 2016 18.00 Call   Short Sell         9/21/2016         -15     $0.5500
VIX Sep 28 2016 18.00 Call   Cover Buy          9/28/2016          15     $0.0000
VIX Oct 12 2016 17.00 Call   Short Sell         10/4/2016         -15     $0.3500
VIX Oct 12 2016 17.00 Call   Short Sell         10/4/2016         -15     $0.4000
VIX Oct 12 2016 17.00 Call   Short Sell         10/5/2016         -15     $0.2500
VIX Oct 12 2016 17.00 Call   Cover Buy         10/11/2016          45     $0.1500
VIX Oct 19 2016 16.00 Call   Short Sell        10/11/2016         -50     $0.9700
VIX Oct 19 2016 16.00 Call   Cover Buy         10/18/2016          50     $0.4000
VIX Oct 19 2016 17.00 Call   Short Sell        10/11/2016         -45     $0.7000
VIX Oct 19 2016 17.00 Call   Cover Buy         10/17/2016          45     $0.5500
VIX Oct 19 2016 18.00 Call   Short Sell        10/11/2016         -30     $0.4010
VIX Oct 19 2016 18.00 Call   Short Sell        10/11/2016         -35     $0.3529
VIX Oct 19 2016 18.00 Call   Cover Buy         10/18/2016          65     $0.1000
VIX Oct 26 2016 18.00 Call   Short Sell        10/17/2016         -45     $0.7500
VIX Oct 26 2016 18.00 Call   Short Sell        10/18/2016         -10     $0.4000
VIX Oct 26 2016 18.00 Call   Short Sell        10/18/2016          -1     $0.3000
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Security                     Buy/Sell             Date      Quantity     Price
VIX Oct 26 2016 18.00 Call   Short Sell        10/18/2016          -24    $0.3000
VIX Oct 26 2016 18.00 Call   Cover Buy         10/20/2016           80    $0.1500
VIX Nov 02 2016 15.00 Call   Short Sell        10/25/2016          -50    $0.5000
VIX Nov 02 2016 15.00 Call   Cover Buy         10/28/2016           50    $1.8400
VIX Nov 02 2016 16.00 Call   Short Sell        10/25/2016          -45    $0.2500
VIX Nov 02 2016 16.00 Call   Short Sell        10/25/2016          -45    $0.2000
VIX Nov 02 2016 16.00 Call   Short Sell        10/26/2016          -50    $0.3000
VIX Nov 02 2016 16.00 Call   Short Sell        10/27/2016          -20    $0.2500
VIX Nov 02 2016 16.00 Call   Cover Buy         10/28/2016           40    $0.7000
VIX Nov 02 2016 16.00 Call   Cover Buy         10/28/2016           21    $1.5500
VIX Nov 02 2016 16.00 Call   Cover Buy         10/28/2016           99    $1.2385
VIX Nov 16 2016 20.00 Call   Short Sell         11/9/2016          -30    $0.6000
VIX Nov 16 2016 20.00 Call   Short Sell        11/10/2016          -30    $0.3030
VIX Nov 16 2016 20.00 Call   Cover Buy         11/16/2016           60    $0.0000
VIX Nov 23 2016 15.00 Call   Short Sell        11/15/2016          -65    $0.8000
VIX Nov 23 2016 15.00 Call   Cover Buy         11/22/2016           65    $0.0362
VIX Nov 23 2016 19.00 Call   Short Sell         11/1/2016          -94    $1.7200
VIX Nov 23 2016 19.00 Call   Cover Buy         11/22/2016           94    $0.0500
VIX Nov 30 2016 17.00 Call   Short Sell        11/17/2016        -120     $0.4000
VIX Nov 30 2016 17.00 Call   Short Sell        11/21/2016        -150     $0.1500
VIX Nov 30 2016 17.00 Call   Cover Buy         11/29/2016         270     $0.0400
VIX Aug 17 2016 14.50 Put    Short Sell          8/2/2016          -35    $1.1600
VIX Aug 17 2016 14.50 Put    Cover Buy          8/16/2016           35    $2.1000
VIX Aug 31 2016 15.00 Put    Short Sell          8/9/2016          -35    $1.6500
VIX Aug 31 2016 15.00 Put    Cover Buy          8/30/2016           35    $1.8500
VIX Oct 19 2016 16.00 Put    Short Sell        10/17/2016          -35    $0.2586
VIX Oct 19 2016 16.00 Put    Short Sell        10/17/2016          -35    $0.2614
VIX Oct 19 2016 16.00 Put    Cover Buy         10/18/2016           70    $0.5800
VIX Oct 19 2016 17.00 Put    Short Sell         7/15/2016          -10    $1.6500
VIX Oct 19 2016 17.00 Put    Cover Buy          7/18/2016           10    $1.7000
VIX Oct 26 2016 17.00 Put    Short Sell        10/18/2016          -55    $1.6000
VIX Oct 26 2016 17.00 Put    Short Sell        10/18/2016          -70    $1.8400
VIX Oct 26 2016 17.00 Put    Cover Buy         10/20/2016         125     $2.8300
VIX Oct 26 2016 18.00 Put    Short Sell         10/4/2016          -35    $3.1900
VIX Oct 26 2016 18.00 Put    Cover Buy         10/21/2016            1    $3.7900
VIX Oct 26 2016 18.00 Put    Cover Buy         10/21/2016           10    $3.7900
VIX Oct 26 2016 18.00 Put    Cover Buy         10/21/2016            5    $3.7900
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Security                    Buy/Sell              Date      Quantity     Price
VIX Oct 26 2016 18.00 Put   Cover Buy          10/25/2016           19    $4.8000
VIX Nov 09 2016 14.50 Put   Short Sell          11/1/2016          -50    $0.3000
VIX Nov 09 2016 14.50 Put   Short Sell          11/1/2016          -50    $0.3000
VIX Nov 09 2016 14.50 Put   Cover Buy           11/4/2016         100     $0.1500
VIX Nov 09 2016 15.00 Put   Short Sell          11/1/2016           -1    $0.4500
VIX Nov 09 2016 15.00 Put   Short Sell          11/1/2016           -1    $0.3500
VIX Nov 09 2016 15.00 Put   Short Sell          11/1/2016          -28    $0.3500
VIX Nov 09 2016 15.00 Put   Short Sell          11/2/2016          -50    $0.4000
VIX Nov 09 2016 15.00 Put   Short Sell          11/3/2016          -50    $0.2500
VIX Nov 09 2016 15.00 Put   Cover Buy           11/7/2016         130     $0.2000
VIX Nov 09 2016 16.00 Put   Short Sell          11/7/2016          -50    $0.5000
VIX Nov 09 2016 16.00 Put   Short Sell          11/7/2016          -20    $0.5690
VIX Nov 09 2016 16.00 Put   Cover Buy           11/8/2016           70    $0.5000
VIX Nov 09 2016 17.00 Put   Buy                 11/8/2016           30    $1.6867
VIX Nov 09 2016 17.00 Put   Sell                11/8/2016          -30    $0.8500
VIX Nov 09 2016 18.00 Put   Short Sell          11/4/2016        -100     $0.8000
VIX Nov 09 2016 18.00 Put   Cover Buy           11/8/2016         100     $2.3400
VIX Nov 09 2016 21.00 Put   Short Sell          11/2/2016        -125     $3.9500
VIX Nov 09 2016 21.00 Put   Cover Buy           11/4/2016         125     $2.6500
VIX Nov 09 2016 24.00 Put   Short Sell          11/4/2016        -125     $4.8600
VIX Nov 09 2016 24.00 Put   Cover Buy           11/8/2016         125     $6.9800
VIX Nov 16 2016 13.00 Put   Buy                 9/13/2016         100     $0.2000
VIX Nov 16 2016 13.00 Put   Sell                9/23/2016        -100     $0.2040
VIX Nov 16 2016 16.00 Put   Short Sell          11/9/2016          -30    $1.1100
VIX Nov 16 2016 16.00 Put   Cover Buy          11/15/2016           30    $2.0300
VIX Nov 16 2016 17.00 Put   Short Sell          11/8/2016          -30    $2.3533
VIX Nov 16 2016 17.00 Put   Cover Buy          11/15/2016           30    $3.0900
VIX Nov 16 2016 18.00 Put   Short Sell         10/20/2016        -125     $3.0800
VIX Nov 16 2016 18.00 Put   Cover Buy          10/28/2016         125     $2.7900
VIX Nov 23 2016 16.00 Put   Short Sell          11/8/2016        -100     $1.8000
VIX Nov 23 2016 16.00 Put   Cover Buy          11/22/2016         100     $3.5600
VIX Nov 23 2016 23.00 Put   Short Sell          11/8/2016        -125     $7.1900
VIX Nov 23 2016 23.00 Put   Cover Buy          11/22/2016         125    $10.6400

VXX                         Short Sell          6/16/2010         -500   $26.3101
VXX                         Cover Buy           6/17/2010          300   $25.8000
VXX                         Cover Buy           6/17/2010          200   $25.8000
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Security                     Buy/Sell             Date      Quantity     Price
VXX                          Short Sell         6/18/2010        -500    $25.0501
VXX                          Short Sell         6/21/2010        -350    $24.8401
VXX                          Cover Buy          6/21/2010         500    $24.2199
VXX                          Cover Buy          7/22/2010         350    $24.2799
VXX                          Short Sell         7/27/2010      -1,000    $22.5501
VXX                          Cover Buy          7/29/2010       1,000    $22.2899
VXX                          Buy                 8/5/2010         100    $21.3400
VXX                          Buy                 8/5/2010         100    $21.3400
VXX                          Buy                 8/5/2010         100    $21.3400
VXX                          Buy                 8/5/2010         200    $21.3400
VXX                          Buy                 8/5/2010         500    $21.6400
VXX                          Sell                8/5/2010        -400    $21.5300
VXX                          Sell                8/5/2010        -500    $21.8401
VXX                          Sell                8/5/2010        -100    $21.5300
VXX                          Short Sell          8/5/2010        -500    $21.7701
VXX                          Short Sell          8/5/2010      -1,000    $21.4501
VXX                          Cover Buy           8/5/2010         500    $21.5199
VXX                          Cover Buy           8/9/2010       1,000    $21.1499
VXX                          Buy                8/23/2010         500    $25.0000
VXX                          Sell               8/24/2010        -150    $23.5400
VXX                          Sell               8/24/2010        -350    $23.6601
VXX Oct 16 2010 20.00 Call   Short Sell         9/20/2010           -5    $0.4000
VXX Oct 16 2010 20.00 Call   Cover Buy          10/8/2010            5    $0.0300
VXX Aug 21 2010 21.00 Put    Short Sell         8/10/2010           -5    $0.6000
VXX Aug 21 2010 21.00 Put    Cover Buy          8/11/2010            5    $0.4000
VXX Aug 21 2010 24.00 Put    Short Sell         7/15/2010          -10    $1.1100
VXX Aug 21 2010 24.00 Put    Cover Buy          7/19/2010           10    $0.9400
VXX Dec 18 2010 19.00 Put    Short Sell         7/27/2010          -10    $1.6100
VXX Dec 18 2010 19.00 Put    Cover Buy          7/29/2010            1    $1.5000
VXX Dec 18 2010 19.00 Put    Cover Buy          7/29/2010            9    $1.5900

VIX Mar 16 2011 21.00 Call   Short Sell         2/11/2011          -10    $1.0000
VIX Mar 16 2011 21.00 Call   Cover Buy          3/15/2011           10    $3.3000
VIX Mar 16 2011 24.00 Call   Short Sell         2/22/2011           -5    $0.7000
VIX Mar 16 2011 24.00 Call   Cover Buy          3/11/2011            5    $0.4000
VIX May 18 2011 18.00 Call   Short Sell          5/5/2011          -10    $1.1500
VIX May 18 2011 18.00 Call   Cover Buy           5/6/2011           10    $0.9000
VIX Jun 15 2011 16.00 Call   Cover Buy          4/25/2011            6    $4.1000

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jun 15 2011 16.00 Call   Short Sell         4/25/2011           -6    $4.1000
VIX Jul 20 2011 22.50 Call   Short Sell         4/19/2011           -5    $3.0000
VIX Jul 20 2011 22.50 Call   Cover Buy          4/28/2011            5    $2.0500
VIX Aug 17 2011 21.00 Call   Short Sell         4/19/2011           -5    $4.1000
VIX Aug 17 2011 21.00 Call   Cover Buy          5/31/2011            5    $2.2000
VIX Aug 17 2011 24.00 Call   Short Sell         3/15/2011           -7    $4.6000
VIX Aug 17 2011 24.00 Call   Cover Buy          6/30/2011            7    $1.0400
VIX Sep 21 2011 20.00 Call   Short Sell         4/19/2011           -4    $5.1000
VIX Sep 21 2011 20.00 Call   Cover Buy           8/9/2011            4    $9.4000
VIX Oct 19 2011 25.00 Call   Short Sell         6/23/2011           -5    $3.0000
VIX Oct 19 2011 25.00 Call   Cover Buy          6/29/2011            5    $2.6000
VIX Nov 16 2011 20.00 Call   Short Sell          7/7/2011           -5    $3.3000
VIX Nov 16 2011 20.00 Call   Cover Buy          8/18/2011            5    $8.7000
VIX Apr 18 2012 32.50 Call   Buy               12/22/2011            2    $2.7500
VIX Apr 18 2012 32.50 Call   Sell              12/28/2011           -2    $2.9000

VIX Feb 16 2011 17.00 Put    Short Sell          2/4/2011           -5    $0.7000
VIX Feb 16 2011 17.00 Put    Cover Buy          2/11/2011            5    $0.8000
VIX Mar 16 2011 17.00 Put    Short Sell         2/11/2011           -5    $0.9600
VIX Mar 16 2011 17.00 Put    Cover Buy          2/22/2011            5    $0.4500
VIX Mar 16 2011 18.00 Put    Short Sell          2/1/2011           -5    $1.0500
VIX Mar 16 2011 18.00 Put    Cover Buy          2/22/2011            5    $0.7500
VIX Apr 20 2011 17.00 Put    Short Sell         3/25/2011          -10    $0.3000
VIX Apr 20 2011 17.00 Put    Cover Buy          4/12/2011           10    $0.2000
VIX Apr 20 2011 18.00 Put    Short Sell         3/24/2011           -5    $0.6000
VIX Apr 20 2011 18.00 Put    Cover Buy          4/19/2011            5    $1.3000
VIX Apr 20 2011 19.00 Put    Short Sell         3/23/2011           -5    $0.7500
VIX Apr 20 2011 19.00 Put    Cover Buy          4/19/2011            5    $2.2000
VIX May 18 2011 17.00 Put    Short Sell          4/1/2011          -10    $0.4500
VIX May 18 2011 17.00 Put    Cover Buy          4/12/2011           10    $0.3000
VIX May 18 2011 17.00 Put    Short Sell         4/26/2011          -10    $1.2000
VIX May 18 2011 17.00 Put    Short Sell         4/27/2011          -10    $1.0000
VIX May 18 2011 17.00 Put    Cover Buy           5/3/2011           10    $0.9000
VIX May 18 2011 17.00 Put    Cover Buy           5/4/2011           10    $0.7500
VIX Aug 17 2011 17.00 Put    Short Sell          7/5/2011          -10    $1.1500
VIX Aug 17 2011 17.00 Put    Cover Buy          7/11/2011           10    $0.8500
VIX Aug 17 2011 18.00 Put    Short Sell         7/22/2011          -10    $1.3000
VIX Aug 17 2011 18.00 Put    Cover Buy          7/26/2011           10    $0.9500

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Security                       Buy/Sell             Date      Quantity     Price
VIX Nov 16 2011 32.50 Put      Short Sell         11/1/2011           -1    $2.5000
VIX Nov 16 2011 32.50 Put      Cover Buy          11/9/2011            1    $1.4500
VIX Nov 16 2011 35.00 Put      Short Sell        11/10/2011           -2    $2.7500
VIX Nov 16 2011 35.00 Put      Cover Buy         11/15/2011            2    $3.5700
VIX Dec 21 2011 26.00 Put      Short Sell        10/31/2011           -3    $3.0000
VIX Dec 21 2011 26.00 Put      Cover Buy          11/1/2011            3    $2.0500
VIX Dec 21 2011 30.00 Put      Short Sell        11/30/2011           -2    $2.9500
VIX Dec 21 2011 30.00 Put      Short Sell         12/1/2011           -1    $3.5000
VIX Dec 21 2011 30.00 Put      Cover Buy          12/8/2011            3    $2.6500
VIX Dec 21 2011 32.50 Put      Short Sell         11/4/2011           -1    $5.8000
VIX Dec 21 2011 32.50 Put      Short Sell         11/4/2011           -1    $5.8000
VIX Dec 21 2011 32.50 Put      Cover Buy         11/10/2011            2    $5.0000
VIX Dec 21 2011 35.00 Put      Short Sell        11/15/2011           -2    $7.1000
VIX Dec 21 2011 35.00 Put      Cover Buy         11/17/2011            2    $5.3000

VXX.A Jan 22 2011 32.00 Call   Short Sell         1/18/2011          -10    $0.2200
VXX Jan 22 2011 32.00 Call     Cover Buy          1/21/2011           10    $0.1080
VXX Jan 22 2011 40.00 Call     Short Sell          1/5/2011          -10    $0.5000
VXX Jan 22 2011 40.00 Call     Short Sell          1/6/2011          -25    $0.5600
VXX Jan 22 2011 40.00 Call     Cover Buy           1/6/2011           10    $0.5700
VXX Jan 22 2011 40.00 Call     Cover Buy          1/11/2011           25    $0.3300
VXX Jan 28 2011 33.00 Call     Short Sell         1/25/2011           -8    $0.3700
VXX Jan 28 2011 33.00 Call     Cover Buy          1/27/2011            8    $0.0500
VXX Feb 04 2011 33.00 Call     Short Sell         1/27/2011          -10    $0.3600
VXX Feb 04 2011 33.00 Call     Cover Buy          1/27/2011           10    $0.2300
VXX Feb 11 2011 31.00 Call     Short Sell          2/9/2011          -20    $0.1000
VXX Feb 11 2011 31.00 Call     Expired            2/15/2011           20    $0.0000
VXX Feb 11 2011 35.00 Call     Short Sell          2/3/2011          -20    $0.2300
VXX Feb 11 2011 35.00 Call     Cover Buy           2/3/2011           20    $0.1600
VXX Feb 19 2011 29.00 Call     Short Sell         2/14/2011          -25    $0.2100
VXX Feb 19 2011 29.00 Call     Cover Buy          2/16/2011           25    $0.0900
VXX Feb 19 2011 31.00 Call     Short Sell          2/7/2011          -15    $0.5000
VXX Feb 19 2011 31.00 Call     Cover Buy          2/14/2011           15    $0.1100
VXX Feb 19 2011 35.00 Call     Short Sell         1/28/2011          -10    $0.5000
VXX Feb 19 2011 35.00 Call     Cover Buy           2/4/2011           10    $0.3800
VXX Feb 19 2011 36.00 Call     Short Sell         1/21/2011           -8    $1.0500
VXX Feb 19 2011 36.00 Call     Cover Buy          1/26/2011            8    $0.7200
VXX Feb 19 2011 38.00 Call     Short Sell         1/27/2011          -10    $0.4100

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Security                       Buy/Sell            Date      Quantity     Price
VXX Feb 19 2011 38.00 Call     Short Sell        1/28/2011           -5    $0.4700
VXX Feb 19 2011 38.00 Call     Cover Buy          2/2/2011           15    $0.2700
VXX Feb 19 2011 40.00 Call     Short Sell        1/19/2011           -5    $0.9300
VXX Feb 19 2011 40.00 Call     Cover Buy         1/20/2011            5    $0.6800
VXX Feb 19 2011 41.00 Call     Short Sell        1/13/2011          -10    $0.8200
VXX.A Feb 19 2011 41.00 Call   Cover Buy         1/18/2011           10    $0.5400
VXX Feb 19 2011 41.00 Call     Short Sell        1/28/2011           -8    $0.4200
VXX Feb 19 2011 41.00 Call     Cover Buy          2/1/2011            8    $0.2400
VXX Feb 19 2011 44.00 Call     Short Sell         1/3/2011          -10    $1.0100
VXX Feb 19 2011 44.00 Call     Cover Buy         1/12/2011           10    $0.5400
VXX Mar 19 2011 31.00 Call     Short Sell        2/14/2011           -5    $1.1300
VXX Mar 19 2011 31.00 Call     Short Sell        2/16/2011          -25    $0.9600
VXX Mar 19 2011 31.00 Call     Cover Buy         2/22/2011           30    $1.7900
VXX Mar 19 2011 32.00 Call     Short Sell        2/14/2011          -15    $0.8600
VXX Mar 19 2011 32.00 Call     Cover Buy         3/17/2011           15    $3.7500
VXX Mar 19 2011 40.00 Call     Short Sell        1/19/2011           -5    $1.5200
VXX Mar 19 2011 40.00 Call     Cover Buy         1/26/2011            5    $0.9000
VXX Mar 19 2011 41.00 Call     Short Sell        1/12/2011          -10    $1.6800
VXX.A Mar 19 2011 41.00 Call   Cover Buy         1/18/2011           10    $1.1700
VXX Mar 19 2011 41.00 Call     Short Sell        1/31/2011           -5    $1.1500
VXX Mar 19 2011 41.00 Call     Cover Buy          2/1/2011            5    $0.6500
VXX Mar 19 2011 45.00 Call     Short Sell         1/7/2011           -8    $1.7600
VXX Mar 19 2011 45.00 Call     Cover Buy         1/13/2011            8    $1.2300
VXX Apr 16 2011 37.00 Call     Short Sell        2/22/2011           -5    $1.9700
VXX Apr 16 2011 37.00 Call     Cover Buy         3/23/2011            5    $0.9700
VXX Apr 16 2011 38.00 Call     Short Sell        2/28/2011           -5    $0.9800
VXX Apr 16 2011 38.00 Call     Cover Buy         3/23/2011            5    $0.8300
VXX Jun 18 2011 32.00 Call     Short Sell        1/20/2011          -15    $6.6000
VXX Jun 18 2011 32.00 Call     Cover Buy         1/21/2011            5    $5.7500
VXX Jun 18 2011 32.00 Call     Cover Buy          2/7/2011           10    $3.6630
VXX Jun 18 2011 38.00 Call     Short Sell        1/21/2011          -10    $4.0000
VXX Jun 18 2011 38.00 Call     Cover Buy         2/16/2011           10    $1.8600
VXX Jul 16 2011 23.00 Call     Short Sell        5/25/2011           -5    $2.1400
VXX Jul 16 2011 23.00 Call     Cover Buy         5/26/2011            5    $1.8800
VXX Sep 17 2011 20.00 Call     Short Sell         6/8/2011           -5    $4.1000
VXX Sep 17 2011 20.00 Call     Cover Buy         6/30/2011            5    $3.2500
VXX Sep 17 2011 22.00 Call     Short Sell         6/1/2011           -5    $3.2500
VXX Sep 17 2011 22.00 Call     Short Sell        6/15/2011           -5    $3.6500

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Security                     Buy/Sell             Date      Quantity     Price
VXX Sep 17 2011 22.00 Call   Cover Buy          6/29/2011           5     $2.6400
VXX Sep 17 2011 22.00 Call   Cover Buy           7/1/2011           5     $1.7800
VXX Sep 17 2011 29.00 Call   Short Sell         2/16/2011          -5     $4.8000
VXX Sep 17 2011 29.00 Call   Cover Buy          4/21/2011           1     $3.2000
VXX Sep 17 2011 29.00 Call   Cover Buy          4/28/2011           4     $2.7000
VXX Sep 17 2011 29.00 Call   Short Sell         5/17/2011          -5     $2.8600
VXX Sep 17 2011 29.00 Call   Cover Buy          5/17/2011           5     $2.6400
VXX Sep 17 2011 30.00 Call   Short Sell         3/15/2011          -3     $9.3700
VXX Sep 17 2011 30.00 Call   Cover Buy           7/5/2011           3     $0.6800
VXX Sep 17 2011 31.00 Call   Short Sell         5/23/2011          -5     $2.0500
VXX Sep 17 2011 31.00 Call   Cover Buy          5/23/2011           5     $1.8100
VXX Sep 17 2011 32.00 Call   Short Sell         3/17/2011          -8     $8.4000
VXX Sep 17 2011 32.00 Call   Cover Buy          4/20/2011           8     $2.7600
VXX Sep 17 2011 34.00 Call   Short Sell          2/7/2011         -10     $4.7560
VXX Sep 17 2011 34.00 Call   Cover Buy          4/19/2011          10     $2.8900
VXX Sep 17 2011 36.00 Call   Short Sell         2/22/2011         -20     $4.2500
VXX Sep 17 2011 36.00 Call   Cover Buy           4/4/2011          20     $2.9000
VXX Dec 17 2011 19.00 Call   Short Sell          6/8/2011          -8     $5.7000
VXX Dec 17 2011 19.00 Call   Cover Buy          6/30/2011           8     $5.0500
VXX Dec 17 2011 20.00 Call   Buy                 6/8/2011           5     $5.4900
VXX Dec 17 2011 20.00 Call   Sell                6/9/2011          -5     $5.3000
VXX Dec 17 2011 20.00 Call   Short Sell         7/15/2011          -5     $5.7500
VXX Dec 17 2011 20.00 Call   Cover Buy           8/9/2011           5    $16.5500
VXX Dec 17 2011 21.00 Call   Short Sell         6/10/2011          -5     $5.1500
VXX Dec 17 2011 21.00 Call   Cover Buy          6/30/2011           5     $4.5500
VXX Dec 17 2011 22.00 Call   Short Sell         5/23/2011          -6     $5.3500
VXX Dec 17 2011 22.00 Call   Cover Buy          5/26/2011           6     $4.7400
VXX Dec 17 2011 22.00 Call   Short Sell         7/19/2011          -5     $4.4000
VXX Dec 17 2011 22.00 Call   Cover Buy          7/20/2011           5     $3.9700
VXX Dec 17 2011 22.00 Call   Short Sell         7/25/2011          -5     $3.1500
VXX Dec 17 2011 22.00 Call   Short Sell         7/27/2011         -10     $4.0000
VXX Dec 17 2011 22.00 Call   Cover Buy           8/9/2011          15    $15.1000
VXX Dec 17 2011 32.00 Call   Short Sell          5/5/2011          -6     $3.6600
VXX Dec 17 2011 32.00 Call   Cover Buy           5/6/2011           6     $3.3400
VXX Jan 21 2012 48.00 Call   Short Sell         1/31/2011         -10     $5.1500
VXX Jan 21 2012 48.00 Call   Cover Buy           2/4/2011          10     $4.5000
VXX Jan 21 2012 50.00 Call   Short Sell         1/14/2011         -30     $4.9000
VXX Jan 21 2012 50.00 Call   Cover Buy          1/26/2011          30     $4.6833

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Security                     Buy/Sell             Date      Quantity     Price
VXX May 21 2011 25.00 Put    Short Sell         4/21/2011           -5    $1.4300
VXX May 21 2011 25.00 Put    Cover Buy           5/4/2011            5    $1.2300
VXX May 21 2011 26.00 Put    Short Sell         3/30/2011           -5    $0.8900
VXX May 21 2011 26.00 Put    Short Sell          4/1/2011           -5    $1.0600
VXX May 21 2011 26.00 Put    Cover Buy          4/11/2011           10    $0.9200
VXX May 21 2011 27.00 Put    Short Sell         3/25/2011           -5    $1.1800
VXX May 21 2011 27.00 Put    Cover Buy          5/20/2011            5    $4.3000
VXX Jun 18 2011 26.00 Put    Short Sell         4/13/2011           -5    $1.3800
VXX Jun 18 2011 26.00 Put    Cover Buy          6/15/2011            5    $2.6980
VXX Aug 20 2011 19.00 Put    Short Sell          7/7/2011           -5    $1.1700
VXX Aug 20 2011 19.00 Put    Cover Buy          7/11/2011            5    $0.5200

XXV                          Buy                3/16/2011          100   $33.0199
XXV                          Sell               3/22/2011         -100   $33.8401

VXX                          Short Sell          1/4/2011         -500   $37.3001
VXX                          Short Sell          1/5/2011         -500   $37.0200
VXX                          Cover Buy           1/6/2011          300   $36.0199
VXX                          Cover Buy           1/6/2011          250   $35.3799
VXX                          Cover Buy           1/7/2011          450   $35.4699

TVIX                         Buy                 6/8/2012          500    $8.1000
TVIX                         Sell               6/14/2012         -500    $8.3001

VIX Jan 18 2012 22.00 Call   Short Sell          1/5/2012           -2    $2.4500
VIX Jan 18 2012 22.00 Call   Cover Buy           1/9/2012            2    $1.8700
VIX Mar 21 2012 20.00 Call   Short Sell         2/27/2012           -2    $2.4000
VIX Mar 21 2012 20.00 Call   Cover Buy           3/9/2012            2    $0.9000
VIX Mar 21 2012 21.00 Call   Short Sell         1/11/2012           -3    $5.3000
VIX Mar 21 2012 21.00 Call   Cover Buy          1/19/2012            3    $4.8000
VIX Jun 20 2012 23.00 Call   Short Sell         5/31/2012           -3    $4.0000
VIX Jun 20 2012 23.00 Call   Cover Buy           6/6/2012            3    $2.5000
VIX Jul 18 2012 20.00 Call   Short Sell          5/4/2012           -3    $4.0000
VIX Jul 18 2012 20.00 Call   Cover Buy          6/20/2012            3    $3.2000
VIX Aug 22 2012 19.00 Call   Short Sell          4/9/2012           -2    $6.6000
VIX Aug 22 2012 19.00 Call   Cover Buy           5/3/2012            2    $5.3000
VIX Sep 19 2012 19.00 Call   Short Sell         4/18/2012           -5    $7.7000
VIX Sep 19 2012 19.00 Call   Cover Buy           8/6/2012            5    $2.4000

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Security                     Buy/Sell                  Date      Quantity     Price
VIX Oct 17 2012 20.00 Call   Short Sell              5/25/2012          -10    $9.2000
VIX Oct 17 2012 20.00 Call   Cover Buy               9/25/2012           10    $0.8000
VIX Dec 19 2012 16.00 Call   Short Sell              11/2/2012           -3    $2.8000
VIX Dec 19 2012 16.00 Call   Cover Buy              11/19/2012            3    $2.2000
VIX Dec 19 2012 21.00 Call   Short Sell              8/14/2012           -3    $4.9000
VIX Dec 19 2012 21.00 Call   Cover Buy                9/7/2012            3    $3.5000

VIX Jan 18 2012 23.00 Put    Short Sell              1/11/2012           -3    $1.1800
VIX Jan 18 2012 23.00 Put    Cover Buy               1/13/2012            3    $0.8500
VIX Jan 18 2012 35.00 Put    Short Sell             12/20/2011           -3    $8.7900
VIX Jan 18 2012 35.00 Put    Bookkeeping/Assigned    1/18/2012            3    $0.0000
VIX Jan 18 2012 40.00 Put    Short Sell              12/9/2011           -1   $10.7000
VIX Jan 18 2012 40.00 Put    Bookkeeping/Assigned    1/18/2012            1    $0.0000
VIX Feb 15 2012 22.00 Put    Short Sell              1/23/2012           -3    $2.1500
VIX Feb 15 2012 22.00 Put    Cover Buy               2/10/2012            3    $1.6500
VIX Feb 15 2012 27.00 Put    Short Sell             12/23/2011           -1    $3.4000
VIX Feb 15 2012 27.00 Put    Cover Buy               2/10/2012            1    $6.0000
VIX Mar 21 2012 22.00 Put    Buy                     1/13/2012            5    $1.4500
VIX Mar 21 2012 22.00 Put    Sell                    1/19/2012           -5    $1.7500
VIX Mar 21 2012 30.00 Put    Short Sell             12/20/2011           -2    $4.8700
VIX Mar 21 2012 30.00 Put    Bookkeeping/Assigned    3/21/2012            2    $0.0000
VIX Mar 21 2012 35.00 Put    Short Sell             12/22/2011           -1    $9.9000
VIX Mar 21 2012 35.00 Put    Bookkeeping/Assigned    3/21/2012            1    $0.0000
VIX Apr 18 2012 29.00 Put    Short Sell              2/10/2012           -1    $7.0000
VIX Apr 18 2012 29.00 Put    Bookkeeping/Assigned    4/18/2012            1    $0.0000
VIX Jul 18 2012 20.00 Put    Short Sell               5/4/2012           -5    $1.7500
VIX Jul 18 2012 20.00 Put    Cover Buy                5/9/2012            5    $1.6000
VIX Jul 18 2012 24.00 Put    Short Sell              2/10/2012           -3    $2.4500
VIX Jul 18 2012 24.00 Put    Cover Buy                6/1/2012            3    $1.9000
VIX Aug 22 2012 23.00 Put    Short Sell               7/3/2012           -5    $4.3000
VIX Aug 22 2012 23.00 Put    Short Sell               7/9/2012           -3    $4.2000
VIX Aug 22 2012 23.00 Put    Cover Buy               7/12/2012            8    $3.9000
VIX Aug 22 2012 25.00 Put    Short Sell               6/8/2012           -3    $3.4000
VIX Aug 22 2012 25.00 Put    Cover Buy               6/14/2012            3    $3.0000
VIX Aug 22 2012 25.00 Put    Short Sell              6/27/2012           -3    $4.3000
VIX Aug 22 2012 25.00 Put    Short Sell               8/7/2012           -1    $8.1000
VIX Aug 22 2012 25.00 Put    Bookkeeping/Assigned    8/22/2012            4    $0.0000
VIX Sep 19 2012 22.00 Put    Short Sell               8/8/2012           -6    $4.1000

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Security                     Buy/Sell                  Date      Quantity    Price
VIX Sep 19 2012 22.00 Put    Bookkeeping/Assigned    9/19/2012           6    $0.0000
VIX Sep 19 2012 23.00 Put    Short Sell               7/5/2012          -3    $3.3000
VIX Sep 19 2012 23.00 Put    Bookkeeping/Assigned    9/19/2012           3    $0.0000
VIX Sep 19 2012 25.00 Put    Short Sell              8/22/2012          -5    $6.7000
VIX Sep 19 2012 25.00 Put    Bookkeeping/Assigned    9/19/2012           5    $0.0000
VIX Oct 17 2012 23.00 Put    Short Sell               8/6/2012          -5    $4.2000
VIX Oct 17 2012 23.00 Put    Bookkeeping/Assigned   10/17/2012           5    $0.0000
VIX Oct 17 2012 25.00 Put    Short Sell              8/17/2012          -3    $5.9000
VIX Oct 17 2012 25.00 Put    Bookkeeping/Assigned   10/17/2012           3    $0.0000
VIX Nov 21 2012 22.00 Put    Short Sell              9/12/2012          -5    $4.6000
VIX Nov 21 2012 22.00 Put    Cover Buy              10/31/2012           5    $4.3000
VIX Dec 19 2012 17.00 Put    Short Sell             11/14/2012          -3    $1.0500
VIX Dec 19 2012 17.00 Put    Short Sell             11/14/2012          -2    $1.0500
VIX Dec 19 2012 17.00 Put    Bookkeeping/Assigned   12/19/2012           5    $0.0000
VIX Dec 19 2012 21.00 Put    Short Sell               9/6/2012          -3    $2.7500
VIX Dec 19 2012 21.00 Put    Bookkeeping/Assigned   12/19/2012           3    $0.0000
VIX Dec 19 2012 24.00 Put    Short Sell              7/19/2012          -5    $3.9000
VIX Dec 19 2012 24.00 Put    Cover Buy               7/23/2012           5    $3.5000
VIX Dec 19 2012 24.00 Put    Short Sell              9/20/2012         -23    $6.3000
VIX Dec 19 2012 24.00 Put    Bookkeeping/Assigned   12/19/2012          23    $0.0000

VIX Jan 16 2013 14.00 Call   Short Sell              1/11/2013         -10    $0.5000
VIX Jan 16 2013 14.00 Call   Short Sell              1/14/2013          -5    $0.4000
VIX Jan 16 2013 14.00 Call   Expired                 1/16/2013          15    $0.0000
VIX Jan 16 2013 15.00 Call   Short Sell               1/8/2013         -10    $0.4500
VIX Jan 16 2013 15.00 Call   Short Sell              1/10/2013         -10    $0.3000
VIX Jan 16 2013 15.00 Call   Expired                 1/16/2013          20    $0.0000
VIX Feb 13 2013 13.00 Call   Short Sell               2/8/2013          -5    $0.9000
VIX Feb 13 2013 13.00 Call   Bookkeeping             2/13/2013           5    $0.0000
VIX Feb 13 2013 15.00 Call   Short Sell              1/22/2013         -20    $0.9500
VIX Feb 13 2013 15.00 Call   Short Sell              1/28/2013         -10    $0.8500
VIX Feb 13 2013 15.00 Call   Cover Buy               1/29/2013          20    $0.5500
VIX Feb 13 2013 15.00 Call   Short Sell               2/4/2013         -15    $0.5000
VIX Feb 13 2013 15.00 Call   Cover Buy                2/8/2013          25    $0.1500
VIX Feb 13 2013 16.00 Call   Short Sell              1/15/2013         -30    $1.1400
VIX Feb 13 2013 16.00 Call   Cover Buy               1/22/2013          30    $0.5500
VIX Feb 13 2013 16.00 Call   Short Sell               2/4/2013         -10    $0.4500
VIX Feb 13 2013 16.00 Call   Expired                 2/13/2013          10    $0.0000

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Security                     Buy/Sell              Date      Quantity     Price
VIX Mar 20 2013 12.00 Call   Short Sell          3/15/2013          -20    $0.7500
VIX Mar 20 2013 12.00 Call   Bookkeeping         3/20/2013           20    $0.0000
VIX Mar 20 2013 14.00 Call   Short Sell          2/19/2013          -10    $1.0500
VIX Mar 20 2013 14.00 Call   Short Sell          3/12/2013          -20    $0.5900
VIX Mar 20 2013 14.00 Call   Cover Buy           3/18/2013           30    $0.2300
VIX Mar 20 2013 15.00 Call   Short Sell          2/20/2013          -10    $0.8500
VIX Mar 20 2013 15.00 Call   Cover Buy           3/18/2013           10    $0.1000
VIX Mar 20 2013 15.00 Call   Short Sell          3/19/2013          -30    $0.4300
VIX Mar 20 2013 15.00 Call   Expired             3/20/2013           30    $0.0000
VIX Mar 20 2013 16.00 Call   Short Sell           2/8/2013          -20    $1.0500
VIX Mar 20 2013 16.00 Call   Short Sell          2/11/2013          -20    $1.0500
VIX Mar 20 2013 16.00 Call   Cover Buy           2/15/2013           20    $0.7500
VIX Mar 20 2013 16.00 Call   Cover Buy            3/8/2013           20    $0.3000
VIX Mar 20 2013 17.00 Call   Short Sell          1/24/2013          -20    $1.2500
VIX Mar 20 2013 17.00 Call   Short Sell          1/25/2013          -15    $1.1300
VIX Mar 20 2013 17.00 Call   Cover Buy           2/15/2013           15    $0.6000
VIX Mar 20 2013 17.00 Call   Short Sell          2/21/2013          -10    $0.8000
VIX Mar 20 2013 17.00 Call   Cover Buy           2/22/2013           15    $0.7500
VIX Mar 20 2013 17.00 Call   Cover Buy           2/25/2013           15    $0.5500
VIX Mar 20 2013 17.00 Call   Short Sell           3/1/2013          -10    $1.1500
VIX Mar 20 2013 17.00 Call   Cover Buy            3/4/2013           10    $0.6500
VIX Mar 20 2013 18.00 Call   Short Sell          1/14/2013          -20    $2.0300
VIX Mar 20 2013 18.00 Call   Cover Buy           1/23/2013           20    $0.9500
VIX Mar 20 2013 18.00 Call   Short Sell          1/30/2013          -15    $0.9000
VIX Mar 20 2013 18.00 Call   Short Sell           2/7/2013          -15    $0.9000
VIX Mar 20 2013 18.00 Call   Cover Buy            3/5/2013           30    $0.3500
VIX Mar 20 2013 19.00 Call   Short Sell          2/26/2013           -5    $1.1200
VIX Mar 20 2013 19.00 Call   Cover Buy           2/27/2013            5    $0.5500
VIX Mar 20 2013 20.00 Call   Short Sell         10/26/2012           -3    $4.3000
VIX Mar 20 2013 20.00 Call   Short Sell         10/31/2012           -3    $4.3000
VIX Mar 20 2013 20.00 Call   Cover Buy           11/1/2012            6    $3.8000
VIX Apr 17 2013 13.00 Call   Short Sell          4/11/2013          -35    $0.6000
VIX Apr 17 2013 13.00 Call   Bookkeeping         4/17/2013           35    $0.0000
VIX Apr 17 2013 14.00 Call   Short Sell          3/28/2013          -20    $1.2000
VIX Apr 17 2013 14.00 Call   Short Sell           4/4/2013          -20    $1.1000
VIX Apr 17 2013 14.00 Call   Cover Buy            4/9/2013           40    $0.7000
VIX Apr 17 2013 14.00 Call   Short Sell          4/12/2013          -25    $0.3500
VIX Apr 17 2013 14.00 Call   Cover Buy           4/15/2013           25    $0.2500

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Security                     Buy/Sell             Date      Quantity     Price
VIX Apr 17 2013 14.00 Call   Short Sell         4/16/2013          -20    $0.6000
VIX Apr 17 2013 14.00 Call   Bookkeeping        4/17/2013           20    $0.0000
VIX Apr 17 2013 15.00 Call   Short Sell          4/1/2013          -10    $0.8500
VIX Apr 17 2013 15.00 Call   Cover Buy          4/15/2013           10    $0.3500
VIX Apr 17 2013 16.00 Call   Short Sell         3/18/2013          -20    $1.0500
VIX Apr 17 2013 16.00 Call   Short Sell         3/18/2013          -20    $1.1500
VIX Apr 17 2013 16.00 Call   Cover Buy           4/3/2013           40    $0.5500
VIX Apr 17 2013 16.00 Call   Short Sell          4/4/2013          -25    $0.5500
VIX Apr 17 2013 16.00 Call   Cover Buy           4/8/2013           25    $0.3500
VIX Apr 17 2013 16.00 Call   Short Sell         4/15/2013          -40    $0.2500
VIX Apr 17 2013 16.00 Call   Expired            4/17/2013           40    $0.0000
VIX Apr 17 2013 18.00 Call   Short Sell         2/21/2013          -20    $1.1500
VIX Apr 17 2013 18.00 Call   Cover Buy           4/3/2013           20    $0.3700
VIX Apr 17 2013 19.00 Call   Buy                1/16/2013           25    $2.0500
VIX Apr 17 2013 19.00 Call   Sell               2/26/2013          -25    $1.6000
VIX Apr 17 2013 20.00 Call   Short Sell         2/25/2013          -15    $0.9000
VIX Apr 17 2013 20.00 Call   Cover Buy          3/28/2013           15    $0.3500
VIX May 22 2013 14.00 Call   Short Sell         4/18/2013          -40    $3.0000
VIX May 22 2013 14.00 Call   Cover Buy          4/24/2013           40    $1.5000
VIX May 22 2013 14.00 Call   Short Sell         5/10/2013          -30    $0.7000
VIX May 22 2013 14.00 Call   Short Sell         5/15/2013          -30    $0.5500
VIX May 22 2013 14.00 Call   Short Sell         5/16/2013          -35    $0.4000
VIX May 22 2013 14.00 Call   Expired            5/22/2013           95    $0.0000
VIX May 22 2013 15.00 Call   Short Sell         4/25/2013          -30    $1.2000
VIX May 22 2013 15.00 Call   Short Sell          5/6/2013          -30    $0.6500
VIX May 22 2013 15.00 Call   Cover Buy          5/13/2013           15    $0.4000
VIX May 22 2013 15.00 Call   Short Sell         5/15/2013          -40    $0.3500
VIX May 22 2013 15.00 Call   Expired            5/22/2013           85    $0.0000
VIX May 22 2013 16.00 Call   Short Sell         4/15/2013          -20    $1.1000
VIX May 22 2013 16.00 Call   Short Sell         4/29/2013          -15    $0.8000
VIX May 22 2013 16.00 Call   Cover Buy           5/7/2013           20    $0.4000
VIX May 22 2013 16.00 Call   Short Sell         5/10/2013          -45    $0.4400
VIX May 22 2013 16.00 Call   Expired            5/22/2013           60    $0.0000
VIX May 22 2013 17.00 Call   Short Sell          4/3/2013          -30    $1.2500
VIX May 22 2013 17.00 Call   Cover Buy          4/23/2013           30    $0.8300
VIX May 22 2013 17.00 Call   Short Sell         4/25/2013          -40    $0.7500
VIX May 22 2013 17.00 Call   Short Sell          5/1/2013          -30    $0.6000
VIX May 22 2013 17.00 Call   Cover Buy          5/16/2013           40    $0.1300

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Security                     Buy/Sell             Date      Quantity     Price
VIX May 22 2013 17.00 Call   Expired            5/22/2013           30    $0.0000
VIX May 22 2013 18.00 Call   Short Sell         3/18/2013          -30    $1.5000
VIX May 22 2013 18.00 Call   Short Sell          4/5/2013          -20    $1.3000
VIX May 22 2013 18.00 Call   Cover Buy          4/10/2013           20    $0.7900
VIX May 22 2013 18.00 Call   Cover Buy          4/16/2013           30    $0.9700
VIX May 22 2013 18.00 Call   Short Sell         4/17/2013          -15    $1.0000
VIX May 22 2013 18.00 Call   Short Sell         4/22/2013          -10    $1.0800
VIX May 22 2013 18.00 Call   Short Sell         4/26/2013          -20    $0.7000
VIX May 22 2013 18.00 Call   Cover Buy          4/30/2013           25    $0.6200
VIX May 22 2013 18.00 Call   Cover Buy           5/7/2013           20    $0.2300
VIX May 22 2013 19.00 Call   Short Sell         1/23/2013          -30    $1.7000
VIX May 22 2013 19.00 Call   Short Sell         2/25/2013          -10    $1.6000
VIX May 22 2013 19.00 Call   Cover Buy          4/16/2013           10    $0.8000
VIX May 22 2013 19.00 Call   Cover Buy          4/23/2013           30    $0.6000
VIX May 22 2013 20.00 Call   Short Sell         4/18/2013          -15    $1.2500
VIX May 22 2013 20.00 Call   Cover Buy          4/23/2013           15    $0.6000
VIX Jun 19 2013 15.00 Call   Short Sell         5/22/2013          -15    $1.6000
VIX Jun 19 2013 15.00 Call   Short Sell         5/24/2013          -20    $1.7000
VIX Jun 19 2013 15.00 Call   Cover Buy          5/30/2013           35    $1.2000
VIX Jun 19 2013 16.00 Call   Short Sell          5/8/2013          -30    $1.2500
VIX Jun 19 2013 16.00 Call   Short Sell         5/22/2013          -30    $1.0500
VIX Jun 19 2013 16.00 Call   Short Sell         5/31/2013          -35    $1.0929
VIX Jun 19 2013 16.00 Call   Bookkeeping        6/19/2013           95    $0.0000
VIX Jun 19 2013 17.00 Call   Short Sell         5/23/2013          -25    $1.1400
VIX Jun 19 2013 17.00 Call   Short Sell         5/24/2013          -15    $1.0600
VIX Jun 19 2013 17.00 Call   Short Sell         6/18/2013          -30    $0.3500
VIX Jun 19 2013 17.00 Call   Bookkeeping        6/19/2013           70    $0.0000
VIX Jun 19 2013 18.00 Call   Short Sell         5/24/2013          -30    $0.8100
VIX Jun 19 2013 18.00 Call   Short Sell          6/3/2013          -30    $1.0000
VIX Jun 19 2013 18.00 Call   Short Sell          6/5/2013          -20    $0.8900
VIX Jun 19 2013 18.00 Call   Cover Buy           6/7/2013           20    $0.5500
VIX Jun 19 2013 18.00 Call   Cover Buy          6/14/2013           60    $0.4400
VIX Jun 19 2013 20.00 Call   Short Sell         1/17/2013          -20    $2.4000
VIX Jun 19 2013 20.00 Call   Expired            6/19/2013           20    $0.0000
VIX Jun 19 2013 24.00 Call   Short Sell         4/18/2013          -78    $1.0000
VIX Jun 19 2013 24.00 Call   Cover Buy          4/24/2013           78    $0.5500
VIX Jul 17 2013 14.00 Call   Short Sell         7/11/2013          -50    $0.7000
VIX Jul 17 2013 14.00 Call   Short Sell         7/12/2013          -40    $0.8500

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jul 17 2013 14.00 Call   Cover Buy          7/15/2013           49    $0.5300
VIX Jul 17 2013 14.00 Call   Bookkeeping        7/17/2013           41    $0.0000
VIX Jul 17 2013 15.00 Call   Short Sell         7/11/2013          -60    $0.3000
VIX Jul 17 2013 15.00 Call   Short Sell         7/12/2013          -55    $0.2000
VIX Jul 17 2013 15.00 Call   Short Sell         7/15/2013          -55    $0.2000
VIX Jul 17 2013 15.00 Call   Expired            7/17/2013         170     $0.0000
VIX Jul 17 2013 17.00 Call   Short Sell          7/8/2013        -150     $0.4100
VIX Jul 17 2013 17.00 Call   Short Sell         7/10/2013          -55    $0.2000
VIX Jul 17 2013 17.00 Call   Expired            7/17/2013         205     $0.0000
VIX Jul 17 2013 18.00 Call   Short Sell         5/22/2013          -40    $1.3500
VIX Jul 17 2013 18.00 Call   Short Sell          6/3/2013          -20    $1.7500
VIX Jul 17 2013 18.00 Call   Cover Buy           7/3/2013           20    $1.1800
VIX Jul 17 2013 18.00 Call   Expired            7/17/2013           40    $0.0000
VIX Jul 17 2013 19.00 Call   Short Sell         3/25/2013          -25    $2.3000
VIX Jul 17 2013 19.00 Call   Cover Buy          4/26/2013           25    $1.6500
VIX Jul 17 2013 19.00 Call   Short Sell         6/10/2013          -50    $1.0700
VIX Jul 17 2013 19.00 Call   Expired            7/17/2013           50    $0.0000
VIX Jul 17 2013 20.00 Call   Short Sell         1/23/2013          -20    $1.9500
VIX Jul 17 2013 20.00 Call   Cover Buy          4/26/2013           20    $1.5000
VIX Jul 17 2013 20.00 Call   Short Sell         5/23/2013          -35    $1.1500
VIX Jul 17 2013 20.00 Call   Cover Buy          7/11/2013           35    $0.0500
VIX Jul 17 2013 21.00 Call   Short Sell         6/14/2013          -30    $1.0500
VIX Jul 17 2013 21.00 Call   Cover Buy           7/3/2013           30    $0.6000
VIX Jul 17 2013 23.00 Call   Short Sell         6/21/2013          -40    $1.0500
VIX Jul 17 2013 23.00 Call   Cover Buy           7/3/2013           40    $0.4000
VIX Jul 17 2013 25.00 Call   Short Sell         6/24/2013          -30    $1.0000
VIX Jul 17 2013 25.00 Call   Cover Buy          6/26/2013           30    $0.5400
VIX Aug 21 2013 13.00 Call   Short Sell         7/31/2013          -30    $1.3400
VIX Aug 21 2013 13.00 Call   Cover Buy           8/6/2013           30    $0.8667
VIX Aug 21 2013 13.00 Call   Short Sell          8/7/2013          -50    $1.2500
VIX Aug 21 2013 13.00 Call   Cover Buy           8/8/2013           50    $0.7500
VIX Aug 21 2013 13.00 Call   Short Sell         8/15/2013          -30    $1.1000
VIX Aug 21 2013 13.00 Call   Short Sell         8/15/2013          -30    $1.1500
VIX Aug 21 2013 13.00 Call   Bookkeeping        8/21/2013           60    $0.0000
VIX Aug 21 2013 14.00 Call   Short Sell          8/8/2013          -45    $0.5500
VIX Aug 21 2013 14.00 Call   Cover Buy          8/12/2013           45    $0.4000
VIX Aug 21 2013 14.00 Call   Short Sell         8/16/2013          -50    $0.5500
VIX Aug 21 2013 14.00 Call   Short Sell         8/16/2013          -50    $0.6500

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Security                     Buy/Sell             Date      Quantity      Price
VIX Aug 21 2013 14.00 Call   Cover Buy          8/19/2013           50     $0.5500
VIX Aug 21 2013 14.00 Call   Bookkeeping        8/21/2013           50     $0.0000
VIX Aug 21 2013 15.00 Call   Short Sell         7/24/2013        -100      $1.0500
VIX Aug 21 2013 15.00 Call   Short Sell         7/26/2013          -50     $1.0000
VIX Aug 21 2013 15.00 Call   Cover Buy          7/31/2013         100      $0.6045
VIX Aug 21 2013 15.00 Call   Short Sell          8/6/2013          -90     $0.4000
VIX Aug 21 2013 15.00 Call   Cover Buy           8/7/2013           50     $0.6000
VIX Aug 21 2013 15.00 Call   Short Sell         8/20/2013          -50     $0.4000
VIX Aug 21 2013 15.00 Call   Cover Buy          8/20/2013           50     $0.1500
VIX Aug 21 2013 15.00 Call   Bookkeeping        8/21/2013           90     $0.0000
VIX Aug 21 2013 16.00 Call   Short Sell         7/24/2013        -200      $0.8000
VIX Aug 21 2013 16.00 Call   Short Sell         7/29/2013          -50     $0.7204
VIX Aug 21 2013 16.00 Call   Cover Buy          8/12/2013           50     $0.2500
VIX Aug 21 2013 16.00 Call   Cover Buy          8/15/2013         200      $0.2000
VIX Aug 21 2013 17.00 Call   Short Sell         5/23/2013          -60     $2.5000
VIX Aug 21 2013 17.00 Call   Short Sell         7/24/2013        -100      $0.7000
VIX Aug 21 2013 17.00 Call   Cover Buy          7/26/2013           60     $0.6500
VIX Aug 21 2013 17.00 Call   Short Sell         7/30/2013          -50     $0.5000
VIX Aug 21 2013 17.00 Call   Expired            8/21/2013         150      $0.0000
VIX Aug 21 2013 18.00 Call   Short Sell         7/31/2013          -50     $0.2900
VIX Aug 21 2013 18.00 Call   Expired            8/21/2013           50     $0.0000
VIX Aug 21 2013 21.00 Call   Short Sell         6/11/2013          -78     $1.4500
VIX Aug 21 2013 21.00 Call   Cover Buy           7/9/2013           78     $0.7000
VIX Aug 21 2013 25.00 Call   Short Sell         6/21/2013          -30     $1.2000
VIX Aug 21 2013 25.00 Call   Cover Buy          7/15/2013           30     $0.3000
VIX Sep 18 2013 14.00 Call   Short Sell         8/22/2013          -30     $2.1000
VIX Sep 18 2013 14.00 Call   Cover Buy          8/23/2013           30     $1.9500
VIX Sep 18 2013 16.00 Call   Short Sell         8/12/2013          -25     $1.1000
VIX Sep 18 2013 16.00 Call   Short Sell         8/14/2013        -100      $1.0000
VIX Sep 18 2013 16.00 Call   Short Sell         8/20/2013          -45     $1.2000
VIX Sep 18 2013 16.00 Call   Cover Buy          8/26/2013           45     $0.9000
VIX Sep 18 2013 16.00 Call   Short Sell         8/27/2013            -3    $1.7500
VIX Sep 18 2013 16.00 Call   Cover Buy          8/29/2013         128      $1.9300
VIX Sep 18 2013 17.00 Call   Short Sell          8/7/2013          -30     $1.1000
VIX Sep 18 2013 17.00 Call   Cover Buy          8/30/2013           30     $1.7200
VIX Sep 18 2013 18.00 Call   Short Sell         8/21/2013          -40     $1.0500
VIX Sep 18 2013 18.00 Call   Cover Buy          8/30/2013           25     $1.5000
VIX Sep 18 2013 18.00 Call   Cover Buy           9/5/2013           15     $0.7500

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Security                     Buy/Sell              Date      Quantity     Price
VIX Sep 18 2013 19.00 Call   Short Sell           9/4/2013          -60    $0.7000
VIX Sep 18 2013 19.00 Call   Short Sell           9/4/2013          -50    $0.7000
VIX Sep 18 2013 19.00 Call   Cover Buy            9/4/2013           50    $0.7400
VIX Sep 18 2013 19.00 Call   Cover Buy           9/17/2013           60    $0.0300
VIX Sep 18 2013 20.00 Call   Short Sell           9/5/2013          -20    $0.5000
VIX Sep 18 2013 20.00 Call   Cover Buy           9/17/2013           20    $0.0300
VIX Oct 16 2013 16.00 Call   Short Sell          10/8/2013          -50    $2.6000
VIX Oct 16 2013 16.00 Call   Cover Buy          10/10/2013           50    $1.5500
VIX Oct 16 2013 17.00 Call   Short Sell          8/26/2013          -85    $1.5424
VIX Oct 16 2013 17.00 Call   Short Sell          8/29/2013        -128     $2.3700
VIX Oct 16 2013 17.00 Call   Cover Buy            9/3/2013           64    $2.2884
VIX Oct 16 2013 17.00 Call   Cover Buy            9/3/2013           85    $2.2700
VIX Oct 16 2013 17.00 Call   Cover Buy           9/11/2013           64    $1.1000
VIX Oct 16 2013 17.00 Call   Short Sell          10/1/2013          -30    $0.7000
VIX Oct 16 2013 17.00 Call   Cover Buy           10/4/2013           30    $1.4500
VIX Oct 16 2013 17.00 Call   Short Sell         10/11/2013          -50    $0.4500
VIX Oct 16 2013 17.00 Call   Bookkeeping        10/16/2013           50    $0.0000
VIX Oct 16 2013 18.00 Call   Short Sell          9/19/2013        -100     $0.5000
VIX Oct 16 2013 18.00 Call   Short Sell          9/27/2013          -50    $0.4500
VIX Oct 16 2013 18.00 Call   Cover Buy           10/4/2013         150     $1.1300
VIX Oct 16 2013 18.00 Call   Short Sell         10/10/2013          -50    $0.7500
VIX Oct 16 2013 18.00 Call   Expired            10/16/2013           50    $0.0000
VIX Oct 16 2013 19.00 Call   Short Sell          8/30/2013          -30    $1.9100
VIX Oct 16 2013 19.00 Call   Cover Buy           9/12/2013           30    $0.7500
VIX Oct 16 2013 19.00 Call   Short Sell          9/23/2013          -50    $0.5000
VIX Oct 16 2013 19.00 Call   Short Sell          9/30/2013          -20    $0.6000
VIX Oct 16 2013 19.00 Call   Cover Buy           10/4/2013           70    $0.9500
VIX Oct 16 2013 20.00 Call   Short Sell          9/17/2013          -20    $0.5300
VIX Oct 16 2013 20.00 Call   Cover Buy           10/4/2013           20    $0.7600
VIX Oct 16 2013 21.00 Call   Short Sell          8/16/2013        -150     $1.1000
VIX Oct 16 2013 21.00 Call   Cover Buy           8/30/2013         150     $1.5000
VIX Oct 16 2013 21.00 Call   Short Sell          9/30/2013          -50    $0.4000
VIX Oct 16 2013 21.00 Call   Cover Buy           10/4/2013           50    $0.6500
VIX Oct 16 2013 21.00 Call   Short Sell          10/9/2013          -50    $1.0600
VIX Oct 16 2013 21.00 Call   Cover Buy          10/15/2013           50    $0.3000
VIX Oct 16 2013 22.00 Call   Short Sell          10/2/2013          -35    $0.3000
VIX Oct 16 2013 22.00 Call   Cover Buy           10/4/2013           35    $0.5100
VIX Oct 16 2013 25.00 Call   Buy                10/10/2013           50    $0.1400

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Security                     Buy/Sell              Date      Quantity     Price
VIX Oct 16 2013 25.00 Call   Expired            10/16/2013          -50    $0.0000
VIX Oct 16 2013 29.00 Call   Buy                 10/9/2013           50    $0.2500
VIX Oct 16 2013 29.00 Call   Expired            10/16/2013          -50    $0.0000
VIX Nov 20 2013 13.00 Call   Short Sell         10/30/2013          -30    $1.6500
VIX Nov 20 2013 13.00 Call   Cover Buy          11/19/2013           30    $0.5500
VIX Nov 20 2013 14.00 Call   Short Sell          8/22/2013          -20    $3.7000
VIX Nov 20 2013 14.00 Call   Short Sell          8/22/2013          -30    $3.7000
VIX Nov 20 2013 14.00 Call   Cover Buy           9/27/2013           50    $2.6000
VIX Nov 20 2013 14.00 Call   Short Sell         10/22/2013          -50    $1.1000
VIX Nov 20 2013 14.00 Call   Bookkeeping        11/20/2013           50    $0.0000
VIX Nov 20 2013 15.00 Call   Short Sell         10/16/2013          -50    $2.5500
VIX Nov 20 2013 15.00 Call   Cover Buy          10/16/2013           50    $1.9500
VIX Nov 20 2013 15.00 Call   Short Sell         10/22/2013          -50    $0.8500
VIX Nov 20 2013 15.00 Call   Expired            11/20/2013           50    $0.0000
VIX Nov 20 2013 16.00 Call   Short Sell         10/17/2013          -50    $1.1000
VIX Nov 20 2013 16.00 Call   Cover Buy          10/18/2013           50    $0.7000
VIX Nov 20 2013 16.00 Call   Short Sell         10/23/2013          -30    $0.8500
VIX Nov 20 2013 16.00 Call   Cover Buy          10/28/2013           30    $0.6000
VIX Nov 20 2013 16.00 Call   Short Sell         10/29/2013        -100     $0.5426
VIX Nov 20 2013 16.00 Call   Expired            11/20/2013         100     $0.0000
VIX Nov 20 2013 17.00 Call   Short Sell         10/25/2013          -50    $0.5000
VIX Nov 20 2013 17.00 Call   Expired            11/20/2013           50    $0.0000
VIX Nov 20 2013 18.00 Call   Short Sell           9/3/2013          -85    $2.5400
VIX Nov 20 2013 18.00 Call   Cover Buy           9/27/2013           85    $1.2000
VIX Nov 20 2013 20.00 Call   Short Sell          9/17/2013          -60    $1.0300
VIX Nov 20 2013 20.00 Call   Cover Buy           9/19/2013           60    $0.9000
VIX Nov 20 2013 29.00 Call   Buy                10/16/2013           50    $0.3500
VIX Nov 20 2013 29.00 Call   Expired            11/20/2013          -50    $0.0000
VIX Dec 18 2013 13.00 Call   Short Sell          12/3/2013          -35    $1.5500
VIX Dec 18 2013 13.00 Call   Short Sell          12/5/2013          -30    $1.3500
VIX Dec 18 2013 13.00 Call   Cover Buy           12/9/2013           65    $0.9500
VIX Dec 18 2013 13.00 Call   Short Sell         12/10/2013          -30    $1.0000
VIX Dec 18 2013 13.00 Call   Cover Buy          12/17/2013           30    $3.3000
VIX Dec 18 2013 14.00 Call   Short Sell          12/5/2013          -25    $1.0000
VIX Dec 18 2013 14.00 Call   Short Sell          12/9/2013        -100     $0.4000
VIX Dec 18 2013 14.00 Call   Short Sell          12/9/2013          -55    $0.4500
VIX Dec 18 2013 14.00 Call   Cover Buy          12/17/2013         180     $2.2600
VIX Dec 18 2013 15.00 Call   Short Sell          12/3/2013          -30    $0.8500

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Security                     Buy/Sell              Date      Quantity     Price
VIX Dec 18 2013 15.00 Call   Cover Buy           12/9/2013           30    $0.3000
VIX Dec 18 2013 15.00 Call   Short Sell         12/11/2013          -40    $0.6000
VIX Dec 18 2013 15.00 Call   Short Sell         12/13/2013          -25    $0.8000
VIX Dec 18 2013 15.00 Call   Cover Buy          12/16/2013           25    $0.5000
VIX Dec 18 2013 15.00 Call   Cover Buy          12/17/2013           40    $1.1685
VIX Dec 18 2013 16.00 Call   Short Sell          12/4/2013          -35    $0.5500
VIX Dec 18 2013 16.00 Call   Short Sell          12/5/2013          -25    $0.4000
VIX Dec 18 2013 16.00 Call   Cover Buy          12/11/2013           60    $0.3000
VIX Dec 18 2013 17.00 Call   Short Sell          12/4/2013          -30    $0.3500
VIX Dec 18 2013 17.00 Call   Cover Buy          12/10/2013           30    $0.1500
VIX Dec 18 2013 28.00 Call   Buy                 10/8/2013           50    $0.9500
VIX Dec 18 2013 28.00 Call   Expired            12/18/2013          -50    $0.0000
VIX Dec 18 2013 29.00 Call   Buy                10/29/2013         100     $0.2000
VIX Dec 18 2013 29.00 Call   Expired            12/18/2013        -100     $0.0000
VIX Jan 22 2014 15.00 Call   Short Sell         12/17/2013          -40    $1.7200
VIX Jan 22 2014 15.00 Call   Cover Buy          12/18/2013           40    $0.9500
VIX Jan 22 2014 21.00 Call   Short Sell           9/3/2013          -64    $2.4638
VIX Jan 22 2014 21.00 Call   Cover Buy           9/19/2013           64    $1.5000

VIX Jan 16 2013 15.00 Put    Short Sell           1/8/2013          -20    $0.6500
VIX Jan 16 2013 15.00 Put    Short Sell           1/9/2013          -10    $0.9500
VIX Jan 16 2013 15.00 Put    Bookkeeping         1/16/2013           30    $0.0000
VIX Feb 13 2013 15.00 Put    Short Sell          1/16/2013          -10    $0.8000
VIX Feb 13 2013 15.00 Put    Bookkeeping         2/13/2013           10    $0.0000
VIX Feb 13 2013 16.00 Put    Short Sell           1/3/2013          -10    $1.1500
VIX Feb 13 2013 16.00 Put    Bookkeeping         2/13/2013           10    $0.0000
VIX Feb 13 2013 17.00 Put    Short Sell           1/4/2013          -30    $1.7000
VIX Feb 13 2013 17.00 Put    Bookkeeping         2/13/2013           30    $0.0000
VIX Mar 20 2013 14.00 Put    Short Sell           2/1/2013          -15    $0.8000
VIX Mar 20 2013 14.00 Put    Cover Buy            2/6/2013           15    $0.6000
VIX Mar 20 2013 14.00 Put    Short Sell          2/15/2013          -15    $0.7500
VIX Mar 20 2013 14.00 Put    Cover Buy           2/21/2013           15    $0.5500
VIX Mar 20 2013 14.00 Put    Short Sell          2/25/2013          -20    $0.8500
VIX Mar 20 2013 14.00 Put    Cover Buy           2/25/2013           20    $0.6000
VIX Mar 20 2013 14.00 Put    Short Sell           3/8/2013          -10    $0.7100
VIX Mar 20 2013 14.00 Put    Cover Buy           3/19/2013           10    $0.1500
VIX Mar 20 2013 15.00 Put    Short Sell          2/28/2013          -10    $1.0000
VIX Mar 20 2013 15.00 Put    Cover Buy            3/1/2013           10    $0.5500

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Security                    Buy/Sell              Date      Quantity     Price
VIX Mar 20 2013 15.00 Put   Short Sell           3/4/2013           -5    $0.8400
VIX Mar 20 2013 15.00 Put   Short Sell           3/5/2013           -5    $1.1800
VIX Mar 20 2013 15.00 Put   Bookkeeping         3/20/2013           10    $0.0000
VIX Mar 20 2013 16.00 Put   Short Sell           3/1/2013           -5    $1.3000
VIX Mar 20 2013 16.00 Put   Short Sell           3/4/2013           -5    $1.3500
VIX Mar 20 2013 16.00 Put   Bookkeeping         3/20/2013           10    $0.0000
VIX Mar 20 2013 18.00 Put   Short Sell           1/4/2013          -20    $2.2500
VIX Mar 20 2013 18.00 Put   Bookkeeping         3/20/2013           20    $0.0000
VIX Mar 20 2013 19.00 Put   Short Sell          2/14/2013          -20    $4.5000
VIX Mar 20 2013 19.00 Put   Bookkeeping         3/20/2013           20    $0.0000
VIX Mar 20 2013 25.00 Put   Short Sell         12/20/2012          -26    $7.4000
VIX Mar 20 2013 25.00 Put   Bookkeeping         3/20/2013           26    $0.0000
VIX Apr 17 2013 14.00 Put   Short Sell           3/7/2013          -10    $0.6500
VIX Apr 17 2013 14.00 Put   Short Sell          3/27/2013          -10    $0.7500
VIX Apr 17 2013 14.00 Put   Short Sell           4/1/2013          -10    $0.7000
VIX Apr 17 2013 14.00 Put   Short Sell           4/3/2013          -20    $0.6000
VIX Apr 17 2013 14.00 Put   Short Sell          4/15/2013          -15    $1.0000
VIX Apr 17 2013 14.00 Put   Cover Buy           4/15/2013           50    $0.3000
VIX Apr 17 2013 14.00 Put   Cover Buy           4/15/2013           15    $0.5000
VIX Apr 17 2013 15.00 Put   Short Sell          2/26/2013           -5    $0.7000
VIX Apr 17 2013 15.00 Put   Short Sell           4/2/2013           -5    $1.6000
VIX Apr 17 2013 15.00 Put   Short Sell          4/16/2013          -20    $1.0000
VIX Apr 17 2013 15.00 Put   Cover Buy           4/16/2013            5    $0.9700
VIX Apr 17 2013 15.00 Put   Expired             4/17/2013           25    $0.0000
VIX Apr 17 2013 22.00 Put   Short Sell           1/4/2013           -5    $4.8000
VIX Apr 17 2013 22.00 Put   Bookkeeping         4/17/2013            5    $0.0000
VIX May 22 2013 13.00 Put   Short Sell          4/26/2013          -40    $0.3000
VIX May 22 2013 13.00 Put   Short Sell          4/29/2013          -40    $0.3000
VIX May 22 2013 13.00 Put   Expired             5/22/2013           80    $0.0000
VIX May 22 2013 14.00 Put   Short Sell          2/13/2013          -30    $0.7000
VIX May 22 2013 14.00 Put   Cover Buy           2/26/2013           30    $0.5500
VIX May 22 2013 14.00 Put   Short Sell           3/6/2013          -10    $0.7000
VIX May 22 2013 14.00 Put   Short Sell          4/23/2013          -10    $0.8500
VIX May 22 2013 14.00 Put   Short Sell          4/24/2013          -15    $0.8500
VIX May 22 2013 14.00 Put   Short Sell           5/1/2013          -20    $0.7000
VIX May 22 2013 14.00 Put   Bookkeeping         5/22/2013           55    $0.0000
VIX May 22 2013 15.00 Put   Short Sell          2/27/2013          -10    $1.1500
VIX May 22 2013 15.00 Put   Short Sell           4/8/2013          -20    $1.3000

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Security                    Buy/Sell              Date      Quantity     Price
VIX May 22 2013 15.00 Put   Short Sell          4/10/2013          -20    $1.6500
VIX May 22 2013 15.00 Put   Cover Buy           4/18/2013           20    $0.9800
VIX May 22 2013 15.00 Put   Short Sell          4/19/2013          -10    $1.1000
VIX May 22 2013 15.00 Put   Bookkeeping         5/22/2013           40    $0.0000
VIX May 22 2013 19.00 Put   Short Sell          4/18/2013          -10    $3.8000
VIX May 22 2013 19.00 Put   Bookkeeping         5/22/2013           10    $0.0000
VIX May 22 2013 20.00 Put   Short Sell          2/14/2013          -20    $4.6000
VIX May 22 2013 20.00 Put   Bookkeeping         5/22/2013           20    $0.0000
VIX Jun 19 2013 13.00 Put   Buy                 5/24/2013           50    $0.1500
VIX Jun 19 2013 13.00 Put   Expired             6/19/2013          -50    $0.0000
VIX Jun 19 2013 14.00 Put   Short Sell           3/5/2013          -10    $0.7000
VIX Jun 19 2013 14.00 Put   Short Sell          5/24/2013          -30    $0.4600
VIX Jun 19 2013 14.00 Put   Short Sell          5/29/2013          -50    $0.4000
VIX Jun 19 2013 14.00 Put   Cover Buy            6/3/2013           90    $0.2500
VIX Jun 19 2013 15.00 Put   Short Sell          5/23/2013          -60    $1.0500
VIX Jun 19 2013 15.00 Put   Short Sell          5/30/2013          -30    $0.8500
VIX Jun 19 2013 15.00 Put   Cover Buy            6/3/2013           30    $0.5500
VIX Jun 19 2013 15.00 Put   Cover Buy            6/6/2013           60    $0.4000
VIX Jun 19 2013 15.00 Put   Short Sell           6/7/2013          -50    $0.5820
VIX Jun 19 2013 15.00 Put   Cover Buy           6/14/2013           50    $0.1500
VIX Jun 19 2013 16.00 Put   Short Sell          6/10/2013          -10    $1.1500
VIX Jun 19 2013 16.00 Put   Short Sell          6/14/2013          -40    $0.3500
VIX Jun 19 2013 16.00 Put   Cover Buy           6/14/2013           10    $0.3600
VIX Jun 19 2013 16.00 Put   Short Sell          6/17/2013          -60    $0.2000
VIX Jun 19 2013 16.00 Put   Expired             6/19/2013         100     $0.0000
VIX Jun 19 2013 17.00 Put   Short Sell          6/17/2013          -50    $0.7000
VIX Jun 19 2013 17.00 Put   Short Sell          6/18/2013          -50    $0.4500
VIX Jun 19 2013 17.00 Put   Expired             6/19/2013         100     $0.0000
VIX Jun 19 2013 20.00 Put   Short Sell          5/23/2013          -35    $4.8000
VIX Jun 19 2013 20.00 Put   Cover Buy            6/6/2013           35    $3.7000
VIX Jun 19 2013 24.00 Put   Short Sell          3/21/2013          -78    $8.1000
VIX Jun 19 2013 24.00 Put   Bookkeeping         6/19/2013           78    $0.0000
VIX Jul 17 2013 15.00 Put   Short Sell           6/7/2013          -30    $0.7000
VIX Jul 17 2013 15.00 Put   Short Sell           6/7/2013          -30    $0.7000
VIX Jul 17 2013 15.00 Put   Cover Buy           6/21/2013           60    $0.2200
VIX Jul 17 2013 15.00 Put   Short Sell           7/1/2013          -50    $0.2000
VIX Jul 17 2013 15.00 Put   Short Sell           7/2/2013          -50    $0.2000
VIX Jul 17 2013 15.00 Put   Bookkeeping         7/17/2013         100     $0.0000

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Security                    Buy/Sell              Date      Quantity     Price
VIX Jul 17 2013 16.00 Put   Short Sell          6/14/2013          -30    $0.9000
VIX Jul 17 2013 16.00 Put   Short Sell          6/28/2013          -30    $0.4500
VIX Jul 17 2013 16.00 Put   Short Sell           7/1/2013          -35    $0.5000
VIX Jul 17 2013 16.00 Put   Short Sell           7/3/2013          -30    $0.3800
VIX Jul 17 2013 16.00 Put   Cover Buy            7/3/2013           30    $0.4500
VIX Jul 17 2013 16.00 Put   Bookkeeping         7/17/2013           95    $0.0000
VIX Jul 17 2013 17.00 Put   Short Sell          6/26/2013          -25    $0.6000
VIX Jul 17 2013 17.00 Put   Short Sell          6/27/2013          -25    $0.7500
VIX Jul 17 2013 17.00 Put   Short Sell           7/5/2013          -25    $1.3500
VIX Jul 17 2013 17.00 Put   Bookkeeping         7/17/2013           75    $0.0000
VIX Jul 17 2013 18.00 Put   Short Sell          6/21/2013          -40    $1.3000
VIX Jul 17 2013 18.00 Put   Cover Buy           6/24/2013           40    $1.1000
VIX Jul 17 2013 18.00 Put   Short Sell          6/27/2013          -35    $1.3800
VIX Jul 17 2013 18.00 Put   Short Sell           7/1/2013          -25    $1.8300
VIX Jul 17 2013 18.00 Put   Bookkeeping         7/17/2013           60    $0.0000
VIX Jul 17 2013 23.00 Put   Short Sell          6/19/2013          -78    $5.9400
VIX Jul 17 2013 23.00 Put   Cover Buy           6/20/2013           78    $4.4000
VIX Aug 21 2013 13.00 Put   Short Sell           8/1/2013          -50    $0.4500
VIX Aug 21 2013 13.00 Put   Short Sell           8/9/2013          -60    $0.4800
VIX Aug 21 2013 13.00 Put   Cover Buy           8/12/2013         110     $0.3000
VIX Aug 21 2013 13.00 Put   Buy                 8/12/2013           30    $0.3600
VIX Aug 21 2013 13.00 Put   Expired             8/21/2013          -30    $0.0000
VIX Aug 21 2013 14.00 Put   Short Sell          7/25/2013          -30    $0.7117
VIX Aug 21 2013 14.00 Put   Short Sell           8/1/2013          -30    $1.1000
VIX Aug 21 2013 14.00 Put   Cover Buy           8/15/2013           30    $0.6000
VIX Aug 21 2013 14.00 Put   Cover Buy           8/15/2013           30    $0.5500
VIX Aug 21 2013 15.00 Put   Short Sell          8/12/2013          -30    $1.8500
VIX Aug 21 2013 15.00 Put   Cover Buy           8/15/2013           30    $1.3500
VIX Aug 21 2013 15.00 Put   Short Sell          8/20/2013        -100     $0.4000
VIX Aug 21 2013 15.00 Put   Expired             8/21/2013         100     $0.0000
VIX Aug 21 2013 16.00 Put   Short Sell          6/21/2013          -80    $0.7000
VIX Aug 21 2013 16.00 Put   Short Sell          6/26/2013          -30    $0.6000
VIX Aug 21 2013 16.00 Put   Short Sell           7/3/2013          -20    $0.7000
VIX Aug 21 2013 16.00 Put   Short Sell           7/3/2013          -30    $0.7000
VIX Aug 21 2013 16.00 Put   Cover Buy           8/19/2013           80    $1.5500
VIX Aug 21 2013 16.00 Put   Cover Buy           8/19/2013           80    $1.5500
VIX Aug 21 2013 21.00 Put   Short Sell          7/11/2013          -30    $5.6000
VIX Aug 21 2013 21.00 Put   Short Sell          7/19/2013        -100     $6.1000

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Security                    Buy/Sell              Date      Quantity     Price
VIX Aug 21 2013 21.00 Put   Bookkeeping         8/21/2013         130     $0.0000
VIX Sep 18 2013 13.00 Put   Cover Buy           8/15/2013           50    $0.2000
VIX Sep 18 2013 14.00 Put   Short Sell           8/2/2013        -100     $0.8000
VIX Sep 18 2013 14.00 Put   Cover Buy           8/15/2013         100     $0.5500
VIX Sep 18 2013 14.00 Put   Short Sell          8/22/2013          -50    $0.4300
VIX Sep 18 2013 14.00 Put   Short Sell          8/26/2013          -50    $0.5000
VIX Sep 18 2013 14.00 Put   Cover Buy           8/27/2013           50    $0.2500
VIX Sep 18 2013 14.00 Put   Cover Buy           8/30/2013           50    $0.1000
VIX Sep 18 2013 14.00 Put   Buy                  9/4/2013         100     $0.1000
VIX Sep 18 2013 14.00 Put   Sell                9/11/2013        -100     $0.1000
VIX Sep 18 2013 15.00 Put   Short Sell          8/13/2013          -50    $1.4000
VIX Sep 18 2013 15.00 Put   Cover Buy           8/15/2013           50    $1.1500
VIX Sep 18 2013 15.00 Put   Short Sell           9/6/2013          -30    $0.2500
VIX Sep 18 2013 15.00 Put   Short Sell          9/10/2013          -20    $0.5000
VIX Sep 18 2013 15.00 Put   Short Sell          9/11/2013          -20    $0.6500
VIX Sep 18 2013 15.00 Put   Cover Buy           9/12/2013           20    $0.8000
VIX Sep 18 2013 15.00 Put   Cover Buy           9/17/2013           50    $0.6200
VIX Sep 18 2013 16.00 Put   Short Sell          8/19/2013          -80    $1.7500
VIX Sep 18 2013 16.00 Put   Short Sell          8/19/2013          -80    $1.7500
VIX Sep 18 2013 16.00 Put   Short Sell           9/4/2013          -50    $0.7000
VIX Sep 18 2013 16.00 Put   Cover Buy           9/16/2013         210     $1.6500
VIX Sep 18 2013 17.00 Put   Short Sell           9/4/2013        -100     $1.3500
VIX Sep 18 2013 17.00 Put   Cover Buy           9/12/2013         100     $2.3800
VIX Oct 16 2013 15.00 Put   Short Sell           9/4/2013        -100     $0.6000
VIX Oct 16 2013 15.00 Put   Short Sell          9/17/2013          -50    $0.9900
VIX Oct 16 2013 15.00 Put   Cover Buy           9/30/2013           50    $0.4500
VIX Oct 16 2013 15.00 Put   Short Sell          10/1/2013          -50    $0.5700
VIX Oct 16 2013 15.00 Put   Cover Buy           10/4/2013           50    $0.3000
VIX Oct 16 2013 15.00 Put   Cover Buy          10/14/2013         100     $0.1000
VIX Oct 16 2013 16.00 Put   Short Sell           9/4/2013          -35    $1.0500
VIX Oct 16 2013 16.00 Put   Cover Buy           10/7/2013           35    $0.5500
VIX Oct 16 2013 16.00 Put   Short Sell         10/10/2013          -30    $0.4500
VIX Oct 16 2013 16.00 Put   Short Sell         10/15/2013          -70    $0.3500
VIX Oct 16 2013 16.00 Put   Expired            10/16/2013         100     $0.0000
VIX Oct 16 2013 17.00 Put   Short Sell          9/16/2013        -210     $2.4524
VIX Oct 16 2013 17.00 Put   Cover Buy          10/15/2013           80    $0.5000
VIX Oct 16 2013 17.00 Put   Cover Buy          10/15/2013           50    $1.1500
VIX Oct 16 2013 17.00 Put   Expired            10/16/2013           80    $0.0000

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Security                     Buy/Sell              Date      Quantity     Price
VIX Sep 18 2013 13.00 Put    Short Sell           8/2/2013          -50    $0.3100
VIX Nov 20 2013 14.00 Put    Short Sell         10/17/2013        -100     $0.5500
VIX Nov 20 2013 14.00 Put    Short Sell         10/18/2013          -30    $0.8200
VIX Nov 20 2013 14.00 Put    Cover Buy          10/18/2013           30    $0.6500
VIX Nov 20 2013 14.00 Put    Cover Buy          11/19/2013         100     $0.6800
VIX Nov 20 2013 15.00 Put    Short Sell         10/17/2013        -150     $1.1000
VIX Nov 20 2013 15.00 Put    Cover Buy          11/19/2013         150     $1.5900
VIX Nov 20 2013 16.00 Put    Short Sell         11/19/2013        -100     $2.5300
VIX Nov 20 2013 16.00 Put    Bookkeeping        11/20/2013         100     $0.0000
VIX Dec 18 2013 14.00 Put    Buy                 10/7/2013           50    $0.4000
VIX Dec 18 2013 14.00 Put    Sell               10/17/2013          -50    $0.5000
VIX Dec 18 2013 15.00 Put    Short Sell          9/11/2013          -20    $0.9600
VIX Dec 18 2013 15.00 Put    Cover Buy          12/13/2013           20    $0.4500
VIX Dec 18 2013 17.00 Put    Short Sell         10/17/2013        -105     $2.4000
VIX Dec 18 2013 17.00 Put    Cover Buy          12/17/2013         105     $1.1500
VIX Dec 18 2013 18.00 Put    Short Sell          9/12/2013        -100     $2.8800
VIX Dec 18 2013 18.00 Put    Cover Buy          12/17/2013         100     $1.9500
VIX Dec 18 2013 20.00 Put    Short Sell          10/4/2013          -30    $4.0000
VIX Dec 18 2013 20.00 Put    Cover Buy          12/17/2013           30    $3.9000

VIX Jan 22 2014 37.50 Call   Buy                12/18/2013           40    $0.1000
VIX Jan 22 2014 37.50 Call   Expired             1/22/2014          -40    $0.0000
VIX Feb 19 2014 14.00 Call   Short Sell          2/11/2014          -50    $1.0500
VIX Feb 19 2014 14.00 Call   Cover Buy           2/13/2014           50    $0.7500
VIX Feb 19 2014 16.00 Call   Short Sell          1/27/2014         -100    $1.2500
VIX Feb 19 2014 16.00 Call   Cover Buy            2/7/2014          100    $1.0500
VIX Feb 19 2014 17.00 Call   Short Sell           2/7/2014          -50    $0.7500
VIX Feb 19 2014 17.00 Call   Expired             2/19/2014           50    $0.0000
VIX Feb 19 2014 18.00 Call   Short Sell          1/27/2014         -100    $0.8000
VIX Feb 19 2014 18.00 Call   Expired             2/19/2014          100    $0.0000
VIX Feb 19 2014 19.00 Call   Short Sell          1/28/2014          -50    $0.6000
VIX Feb 19 2014 19.00 Call   Expired             2/19/2014           50    $0.0000
VIX Feb 19 2014 20.00 Call   Buy                 2/11/2014           50    $0.1000
VIX Feb 19 2014 20.00 Call   Sell                2/13/2014          -50    $0.0500
VIX Mar 18 2014 14.00 Call   Short Sell         12/17/2013          -30    $3.8000
VIX Mar 18 2014 14.00 Call   Cover Buy          12/27/2013           30    $2.4000
VIX Mar 18 2014 15.00 Call   Short Sell          2/27/2014          -30    $1.1500
VIX Mar 18 2014 15.00 Call   Cover Buy            3/6/2014           30    $0.8500

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Security                     Buy/Sell             Date      Quantity     Price
VIX Mar 18 2014 15.00 Call   Short Sell          3/7/2014           -8    $1.1000
VIX Mar 18 2014 15.00 Call   Short Sell         3/11/2014          -10    $0.6500
VIX Mar 18 2014 15.00 Call   Assigned           3/18/2014           18    $0.0000
VIX Mar 18 2014 16.00 Call   Short Sell          3/5/2014          -30    $0.6500
VIX Mar 18 2014 16.00 Call   Short Sell          3/7/2014          -20    $0.5800
VIX Mar 18 2014 16.00 Call   Short Sell         3/10/2014          -10    $0.6500
VIX Mar 18 2014 16.00 Call   Expired            3/18/2014           60    $0.0000
VIX Mar 18 2014 17.00 Call   Short Sell         2/25/2014          -50    $0.6000
VIX Mar 18 2014 17.00 Call   Expired            3/18/2014           50    $0.0000
VIX Mar 18 2014 18.00 Call   Short Sell         2/20/2014        -150     $0.8000
VIX Mar 18 2014 18.00 Call   Short Sell          3/3/2014          -30    $0.9000
VIX Mar 18 2014 18.00 Call   Cover Buy           3/4/2014           30    $0.5000
VIX Mar 18 2014 18.00 Call   Cover Buy          3/17/2014         150     $0.1500
VIX Mar 18 2014 32.50 Call   Buy               12/18/2013           30    $0.3500
VIX Mar 18 2014 32.50 Call   Sell              12/27/2013          -30    $0.2500
VIX Apr 16 2014 15.00 Call   Short Sell         4/10/2014          -30    $1.0700
VIX Apr 16 2014 15.00 Call   Expired            4/16/2014           30    $0.0000
VIX Apr 16 2014 17.00 Call   Short Sell        12/17/2013        -180     $2.7227
VIX Apr 16 2014 17.00 Call   Cover Buy          1/27/2014         180     $1.8000
VIX Apr 16 2014 18.00 Call   Short Sell          3/4/2014          -50    $1.0500
VIX Apr 16 2014 18.00 Call   Short Sell         3/28/2014          -50    $0.5500
VIX Apr 16 2014 18.00 Call   Expired            4/16/2014         100     $0.0000
VIX Apr 16 2014 19.00 Call   Short Sell         3/26/2014        -100     $0.4500
VIX Apr 16 2014 19.00 Call   Expired            4/16/2014         100     $0.0000
VIX May 21 2014 13.00 Call   Short Sell         5/19/2014        -100     $0.4400
VIX May 21 2014 13.00 Call   Short Sell         5/20/2014          -80    $0.2300
VIX May 21 2014 13.00 Call   Cover Buy          5/20/2014         100     $0.3500
VIX May 21 2014 13.00 Call   Expired            5/21/2014           80    $0.0000
VIX May 21 2014 16.00 Call   Short Sell          5/7/2014          -80    $0.4000
VIX May 21 2014 16.00 Call   Cover Buy          5/20/2014           80    $0.0300
VIX Jun 18 2014 13.00 Call   Short Sell         6/10/2014          -30    $0.3300
VIX Jun 18 2014 13.00 Call   Short Sell         6/11/2014          -55    $0.3700
VIX Jun 18 2014 13.00 Call   Cover Buy          6/13/2014           85    $0.7000
VIX Jun 18 2014 14.00 Call   Short Sell         6/12/2014          -52    $0.2500
VIX Jun 18 2014 14.00 Call   Expired            6/18/2014           52    $0.0000
VIX Jun 18 2014 15.00 Call   Short Sell          6/3/2014          -35    $0.3500
VIX Jun 18 2014 15.00 Call   Short Sell          6/4/2014          -24    $0.3500
VIX Jun 18 2014 15.00 Call   Expired            6/18/2014           59    $0.0000

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jun 18 2014 17.00 Call   Short Sell         5/22/2014          -95    $0.4000
VIX Jun 18 2014 17.00 Call   Short Sell         5/23/2014           -5    $0.4000
VIX Jun 18 2014 17.00 Call   Cover Buy           6/6/2014           50    $0.1000
VIX Jun 18 2014 17.00 Call   Expired            6/18/2014           50    $0.0000
VIX Jul 16 2014 15.00 Call   Short Sell         6/13/2014          -85    $1.0000
VIX Jul 16 2014 15.00 Call   Expired            7/16/2014           85    $0.0000
VIX Jul 16 2014 16.00 Call   Short Sell         6/18/2014          -50    $0.5000
VIX Jul 16 2014 16.00 Call   Short Sell         6/25/2014          -30    $0.4000
VIX Jul 16 2014 16.00 Call   Expired            7/16/2014           80    $0.0000
VIX Jul 16 2014 18.00 Call   Short Sell         5/21/2014        -100     $0.7500
VIX Jul 16 2014 18.00 Call   Expired            7/16/2014         100     $0.0000
VIX Aug 20 2014 17.00 Call   Short Sell         7/25/2014          -80    $0.4300
VIX Aug 20 2014 17.00 Call   Short Sell         7/30/2014          -50    $0.3500
VIX Aug 20 2014 17.00 Call   Short Sell         8/11/2014          -35    $0.3800
VIX Aug 20 2014 17.00 Call   Cover Buy          8/19/2014         165     $0.0200
VIX Aug 20 2014 18.00 Call   Short Sell         7/30/2014          -40    $0.3300
VIX Aug 20 2014 18.00 Call   Short Sell          8/4/2014          -10    $0.7800
VIX Aug 20 2014 18.00 Call   Short Sell          8/7/2014          -10    $0.6000
VIX Aug 20 2014 18.00 Call   Cover Buy          8/19/2014           60    $0.0300
VIX Sep 17 2014 17.00 Call   Short Sell         8/19/2014          -50    $0.5000
VIX Sep 17 2014 17.00 Call   Short Sell         8/19/2014        -165     $0.5200
VIX Sep 17 2014 17.00 Call   Expired            9/17/2014         215     $0.0000
VIX Sep 17 2014 18.00 Call   Short Sell         8/19/2014          -60    $0.4300
VIX Sep 17 2014 18.00 Call   Expired            9/17/2014           60    $0.0000
VIX Oct 22 2014 18.00 Call   Short Sell         10/6/2014          -35    $0.4000
VIX Oct 22 2014 18.00 Call   Cover Buy         10/16/2014           35    $6.3000
VIX Oct 22 2014 19.00 Call   Short Sell         9/15/2014          -50    $0.8000
VIX Oct 22 2014 19.00 Call   Short Sell         9/16/2014          -50    $0.6700
VIX Oct 22 2014 19.00 Call   Cover Buy         10/16/2014         100     $5.8000
VIX Oct 22 2014 20.00 Call   Short Sell         9/18/2014          -25    $0.4000
VIX Oct 22 2014 20.00 Call   Short Sell         9/18/2014        -150     $0.4300
VIX Oct 22 2014 20.00 Call   Short Sell         10/3/2014          -30    $0.4500
VIX Oct 22 2014 20.00 Call   Cover Buy         10/16/2014         205     $5.3000
VIX Oct 22 2014 22.00 Call   Short Sell        10/20/2014          -22    $0.5000
VIX Oct 22 2014 22.00 Call   Expired           10/22/2014           22    $0.0000
VIX Oct 22 2014 23.00 Call   Short Sell        10/20/2014          -50    $0.6500
VIX Oct 22 2014 23.00 Call   Expired           10/22/2014           50    $0.0000
VIX Oct 22 2014 24.00 Call   Short Sell        10/20/2014          -30    $0.5000

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Security                     Buy/Sell             Date      Quantity     Price
VIX Oct 22 2014 24.00 Call   Expired           10/22/2014           30    $0.0000
VIX Oct 22 2014 27.00 Call   Buy                10/6/2014           35    $0.1000
VIX Oct 22 2014 27.00 Call   Sell              10/16/2014          -35    $1.7000
VIX Oct 22 2014 29.00 Call   Buy                9/19/2014         125     $0.0800
VIX Oct 22 2014 29.00 Call   Sell              10/14/2014        -125     $0.7000
VIX Oct 22 2014 30.00 Call   Buy                9/18/2014         150     $0.0800
VIX Oct 22 2014 30.00 Call   Buy                10/3/2014           30    $0.1000
VIX Oct 22 2014 30.00 Call   Sell              10/16/2014        -180     $1.0000
VIX Nov 19 2014 17.00 Call   Short Sell        11/14/2014          -50    $0.2500
VIX Nov 19 2014 17.00 Call   Expired           11/19/2014           50    $0.0000
VIX Nov 19 2014 18.00 Call   Short Sell        11/14/2014          -55    $0.2000
VIX Nov 19 2014 18.00 Call   Expired           11/19/2014           55    $0.0000
VIX Nov 19 2014 19.00 Call   Short Sell         11/5/2014          -30    $0.5000
VIX Nov 19 2014 19.00 Call   Short Sell         11/7/2014          -25    $0.3000
VIX Nov 19 2014 19.00 Call   Expired           11/19/2014           55    $0.0000
VIX Nov 19 2014 20.00 Call   Short Sell         11/7/2014          -30    $0.2000
VIX Nov 19 2014 20.00 Call   Short Sell         11/7/2014          -50    $0.2000
VIX Nov 19 2014 20.00 Call   Expired           11/19/2014           80    $0.0000
VIX Nov 19 2014 21.00 Call   Short Sell        10/30/2014          -19    $0.6500
VIX Nov 19 2014 21.00 Call   Short Sell        10/31/2014           -6    $0.6000
VIX Nov 19 2014 21.00 Call   Cover Buy          11/6/2014           25    $0.2500
VIX Nov 19 2014 25.00 Call   Short Sell        10/21/2014          -25    $0.7000
VIX Nov 19 2014 25.00 Call   Short Sell        10/28/2014          -50    $0.4500
VIX Nov 19 2014 25.00 Call   Cover Buy          11/7/2014           75    $0.1500
VIX Nov 19 2014 26.00 Call   Short Sell        10/17/2014          -50    $1.0500
VIX Nov 19 2014 26.00 Call   Short Sell        10/21/2014          -35    $0.6500
VIX Nov 19 2014 26.00 Call   Cover Buy         10/23/2014           85    $0.6500
VIX Nov 19 2014 26.00 Call   Short Sell        10/28/2014          -50    $0.4000
VIX Nov 19 2014 26.00 Call   Short Sell        10/29/2014          -25    $0.4000
VIX Nov 19 2014 26.00 Call   Cover Buy          11/6/2014           75    $0.1407
VIX Dec 17 2014 18.00 Call   Short Sell        11/25/2014          -45    $0.4500
VIX Dec 17 2014 18.00 Call   Short Sell         12/8/2014          -30    $0.2000
VIX Dec 17 2014 18.00 Call   Short Sell         12/8/2014          -50    $0.1500
VIX Dec 17 2014 18.00 Call   Cover Buy         12/12/2014         125     $2.0687
VIX Dec 17 2014 19.00 Call   Short Sell        11/20/2014          -80    $0.6500
VIX Dec 17 2014 19.00 Call   Cover Buy          12/1/2014           80    $0.4500
VIX Dec 17 2014 20.00 Call   Short Sell        11/18/2014          -20    $0.5500
VIX Dec 17 2014 20.00 Call   Short Sell        11/20/2014          -50    $0.5500

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Security                     Buy/Sell             Date      Quantity     Price
VIX Dec 17 2014 20.00 Call   Short Sell        11/20/2014        -100     $0.5500
VIX Dec 17 2014 20.00 Call   Cover Buy          12/1/2014         170     $0.3500
VIX Dec 17 2014 21.00 Call   Short Sell        11/20/2014          -30    $0.4000
VIX Dec 17 2014 21.00 Call   Assigned          12/17/2014           30    $0.0000

VIX Jan 22 2014 15.00 Put    Short Sell        12/16/2013          -50    $1.1500
VIX Jan 22 2014 15.00 Put    Cover Buy          1/21/2014           50    $1.9300
VIX Jan 22 2014 17.00 Put    Short Sell        11/19/2013         -150    $2.2400
VIX Jan 22 2014 17.00 Put    Short Sell        12/17/2013         -100    $2.4000
VIX Jan 22 2014 17.00 Put    Cover Buy          1/21/2014          250    $3.7300
VIX Jan 22 2014 19.00 Put    Short Sell        12/17/2013          -30    $4.1000
VIX Jan 22 2014 19.00 Put    Cover Buy          1/21/2014           30    $5.8500
VIX Feb 19 2014 16.00 Put    Short Sell          2/6/2014          -20    $0.6000
VIX Feb 19 2014 16.00 Put    Cover Buy          2/18/2014           20    $1.8800
VIX Feb 19 2014 17.00 Put    Short Sell         1/27/2014         -100    $2.4000
VIX Feb 19 2014 17.00 Put    Short Sell         1/31/2014          -35    $1.7000
VIX Feb 19 2014 17.00 Put    Cover Buy          2/18/2014          135    $2.8680
VIX Feb 19 2014 19.00 Put    Short Sell        12/18/2013          -50    $4.1000
VIX Feb 19 2014 19.00 Put    Cover Buy          2/18/2014           50    $4.8000
VIX Feb 19 2014 20.00 Put    Short Sell         1/21/2014          -30    $6.1500
VIX Feb 19 2014 20.00 Put    Cover Buy          1/27/2014           30    $5.0000
VIX Feb 19 2014 22.00 Put    Short Sell         10/4/2013          -50    $5.0000
VIX Feb 19 2014 22.00 Put    Cover Buy          2/18/2014           50    $7.8000
VIX Mar 18 2014 16.00 Put    Short Sell         1/21/2014          -50    $2.1300
VIX Mar 18 2014 16.00 Put    Cover Buy          1/27/2014           50    $1.7500
VIX Mar 18 2014 19.00 Put    Short Sell         1/21/2014         -250    $4.5300
VIX Mar 18 2014 19.00 Put    Cover Buy          1/27/2014          250    $4.4000
VIX Apr 16 2014 14.00 Put    Short Sell          4/2/2014          -50    $0.4000
VIX Apr 16 2014 14.00 Put    Cover Buy           4/8/2014           50    $0.1500
VIX Apr 16 2014 15.00 Put    Short Sell        12/18/2013          -60    $1.1000
VIX Apr 16 2014 15.00 Put    Cover Buy           3/3/2014           60    $0.9000
VIX Apr 16 2014 15.00 Put    Short Sell         3/20/2014         -100    $0.7000
VIX Apr 16 2014 15.00 Put    Short Sell          4/7/2014          -30    $0.5000
VIX Apr 16 2014 15.00 Put    Cover Buy          4/11/2014          100    $0.3000
VIX Apr 16 2014 15.00 Put    Assigned           4/16/2014           30    $0.0000
VIX Apr 16 2014 16.00 Put    Short Sell         2/18/2014          -20    $2.0300
VIX Apr 16 2014 16.00 Put    Cover Buy          3/10/2014           20    $1.5500
VIX Apr 16 2014 18.00 Put    Short Sell         2/18/2014         -110    $3.6728

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Security                    Buy/Sell              Date      Quantity     Price
VIX Apr 16 2014 18.00 Put   Cover Buy           3/17/2014         110     $2.9500
VIX Apr 16 2014 23.00 Put   Short Sell          2/18/2014          -50    $8.2500
VIX Apr 16 2014 23.00 Put   Cover Buy           4/10/2014           50    $7.5000
VIX May 21 2014 15.00 Put   Short Sell          4/17/2014        -100     $0.6697
VIX May 21 2014 15.00 Put   Cover Buy           5/20/2014         100     $2.3000
VIX May 21 2014 20.00 Put   Short Sell          2/18/2014          -50    $5.1500
VIX May 21 2014 20.00 Put   Cover Buy            4/7/2014           50    $4.7000
VIX Jun 18 2014 12.00 Put   Short Sell           6/6/2014          -50    $0.5000
VIX Jun 18 2014 12.00 Put   Cover Buy           6/11/2014           50    $0.3000
VIX Jul 16 2014 12.00 Put   Assigned            7/16/2014           50    $0.0000
VIX Jul 16 2014 11.50 Put   Short Sell          6/19/2014        -100     $0.2500
VIX Jul 16 2014 11.50 Put   Cover Buy           7/14/2014         100     $0.1300
VIX Jul 16 2014 12.00 Put   Short Sell          6/18/2014          -45    $0.4400
VIX Jul 16 2014 12.00 Put   Short Sell          6/26/2014          -50    $0.3500
VIX Jul 16 2014 12.00 Put   Short Sell           7/1/2014          -20    $0.5000
VIX Jul 16 2014 12.00 Put   Cover Buy           7/15/2014           65    $0.2500
VIX Jul 16 2014 12.50 Put   Short Sell          6/20/2014          -20    $0.6500
VIX Jul 16 2014 12.50 Put   Assigned            7/16/2014           20    $0.0000
VIX Aug 20 2014 11.50 Put   Short Sell          7/17/2014        -100     $0.3500
VIX Aug 20 2014 11.50 Put   Cover Buy           7/23/2014         100     $0.2100
VIX Aug 20 2014 12.00 Put   Short Sell          7/16/2014          -40    $0.6000
VIX Aug 20 2014 12.00 Put   Cover Buy           7/23/2014           40    $0.4100
VIX Aug 20 2014 12.50 Put   Short Sell          7/30/2014        -100     $0.5300
VIX Aug 20 2014 12.50 Put   Cover Buy           7/31/2014         100     $0.2500
VIX Aug 20 2014 12.50 Put   Buy                  8/8/2014         100     $0.0500
VIX Aug 20 2014 12.50 Put   Sell                8/14/2014        -100     $0.1100
VIX Aug 20 2014 13.00 Put   Short Sell           8/1/2014          -50    $0.3700
VIX Aug 20 2014 13.00 Put   Short Sell           8/4/2014          -20    $0.3500
VIX Aug 20 2014 13.00 Put   Short Sell           8/4/2014          -30    $0.2600
VIX Aug 20 2014 13.00 Put   Cover Buy            8/8/2014         100     $0.0700
VIX Aug 20 2014 14.00 Put   Short Sell          8/13/2014          -20    $0.5600
VIX Aug 20 2014 14.00 Put   Cover Buy           8/19/2014           20    $1.7500
VIX Aug 20 2014 14.50 Put   Short Sell           8/8/2014          -25    $0.4500
VIX Aug 20 2014 14.50 Put   Short Sell           8/8/2014          -50    $0.4000
VIX Aug 20 2014 14.50 Put   Cover Buy           8/19/2014           75    $2.2400
VIX Aug 20 2014 15.00 Put   Short Sell           8/8/2014          -30    $0.6300
VIX Aug 20 2014 15.00 Put   Cover Buy           8/19/2014           30    $2.7700
VIX Aug 20 2014 16.00 Put   Short Sell           8/8/2014           -2    $1.2000

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Security                     Buy/Sell              Date      Quantity    Price
VIX Aug 20 2014 16.00 Put    Assigned            8/20/2014           2    $0.0000
VIX Aug 20 2014 17.00 Put    Short Sell          7/31/2014        -100    $3.1700
VIX Aug 20 2014 17.00 Put    Cover Buy           8/19/2014         100    $4.7500
VIX Aug 20 2014 17.00 Put    Bookkeeping         8/19/2014         -99    $0.0000
VIX Aug 20 2014 17.00 Put    Cover Buy           8/19/2014          99    $4.7500
VIX Aug 20 2014 17.00 Put    Bookkeeping         8/19/2014          99    $0.0000
VIX Aug 20 2014 17.00 Put    Sell                8/19/2014         -99    $4.7451
VIX Sep 17 2014 17.00 Put    Short Sell          5/20/2014        -100    $2.4800
VIX Sep 17 2014 17.00 Put    Cover Buy           7/31/2014         100    $3.1700
VIX Oct 22 2014 13.50 Put    Short Sell          9/24/2014         -25    $0.5500
VIX Oct 22 2014 13.50 Put    Short Sell          9/30/2014         -20    $0.2900
VIX Oct 22 2014 13.50 Put    Cover Buy          10/14/2014          45    $0.0200
VIX Oct 22 2014 15.00 Put    Short Sell          8/19/2014         -20    $2.3000
VIX Oct 22 2014 15.00 Put    Short Sell          9/23/2014         -15    $1.5000
VIX Oct 22 2014 15.00 Put    Short Sell          9/24/2014         -20    $1.4500
VIX Oct 22 2014 15.00 Put    Cover Buy           9/29/2014          55    $1.0149
VIX Oct 22 2014 16.00 Put    Short Sell          8/19/2014         -75    $3.0900
VIX Oct 22 2014 16.00 Put    Cover Buy           9/15/2014          40    $2.3000
VIX Oct 22 2014 16.00 Put    Cover Buy           9/24/2014          35    $2.2000
VIX Oct 22 2014 19.00 Put    Short Sell          8/19/2014        -100    $5.7000
VIX Oct 22 2014 19.00 Put    Cover Buy           9/15/2014          50    $4.7400
VIX Oct 22 2014 19.00 Put    Cover Buy           9/23/2014          50    $4.8500
VIX Oct 22 2014 26.00 Put    Short Sell         10/14/2014         -45    $5.7300
VIX Oct 22 2014 26.00 Put    Cover Buy          10/15/2014          45    $4.8000
VIX Nov 19 2014 13.50 Put    Buy                10/23/2014         100    $0.1500
VIX Nov 19 2014 13.50 Put    Sell               10/27/2014        -100    $0.1000
VIX Nov 19 2014 17.00 Put    Short Sell          8/19/2014         -30    $3.6200
VIX Nov 19 2014 17.00 Put    Cover Buy           9/26/2014          30    $2.9000
VIX Nov 19 2014 19.00 Put    Short Sell          8/19/2014         -99    $5.3500
VIX Nov 19 2014 19.00 Put    Cover Buy           8/21/2014          99    $5.3000

VIX Jan 21 2015 13.00 Call   Short Sell         12/18/2014         -30    $4.1000
VIX Jan 21 2015 13.00 Call   Cover Buy          12/24/2014          30    $3.1000
VIX Jan 21 2015 14.00 Call   Short Sell         12/19/2014         -50    $3.3300
VIX Jan 21 2015 14.00 Call   Cover Buy          12/26/2014          50    $2.4000
VIX Jan 21 2015 20.00 Call   Short Sell         12/26/2014         -50    $0.7500
VIX Jan 21 2015 20.00 Call   Short Sell         12/26/2014         -70    $0.7500
VIX Jan 21 2015 20.00 Call   Cover Buy           1/20/2015         120    $1.0800

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jan 21 2015 22.00 Call   Short Sell        12/12/2014          -80    $2.1872
VIX Jan 21 2015 22.00 Call   Short Sell        12/12/2014        -125     $2.1872
VIX Jan 21 2015 22.00 Call   Cover Buy         12/18/2014           30    $1.1500
VIX Jan 21 2015 22.00 Call   Cover Buy         12/18/2014           30    $1.1500
VIX Jan 21 2015 22.00 Call   Cover Buy         12/19/2014           50    $1.0300
VIX Jan 21 2015 22.00 Call   Cover Buy         12/19/2014           50    $1.0300
VIX Jan 21 2015 22.00 Call   Cover Buy           1/2/2015           45    $1.4000
VIX Feb 18 2015 21.00 Call   Short Sell         2/11/2015          -50    $0.5400
VIX Feb 18 2015 21.00 Call   Cover Buy          2/17/2015           50    $0.0230
VIX Feb 18 2015 23.00 Call   Short Sell         1/22/2015        -120     $0.9700
VIX Feb 18 2015 23.00 Call   Cover Buy          2/17/2015           60    $0.0300
VIX Feb 18 2015 23.00 Call   Expired            2/18/2015           60    $0.0000
VIX Feb 18 2015 25.00 Call   Short Sell         1/20/2015        -120     $1.5300
VIX Feb 18 2015 25.00 Call   Cover Buy          1/22/2015         120     $0.7400
VIX Mar 18 2015 18.00 Call   Short Sell          3/6/2015          -60    $0.3700
VIX Mar 18 2015 18.00 Call   Cover Buy          3/16/2015           60    $0.1000
VIX Mar 18 2015 22.00 Call   Short Sell         2/17/2015          -50    $0.9800
VIX Mar 18 2015 22.00 Call   Cover Buy           3/3/2015           50    $0.2000
VIX Mar 18 2015 23.00 Call   Short Sell         2/17/2015          -60    $0.8500
VIX Mar 18 2015 23.00 Call   Cover Buy           3/6/2015           60    $0.1100
VIX Apr 15 2015 20.00 Call   Short Sell         3/16/2015          -60    $1.1000
VIX Apr 15 2015 20.00 Call   Cover Buy          4/13/2015           60    $0.0200
VIX May 20 2015 20.00 Call   Short Sell         4/13/2015          -60    $0.7500
VIX May 20 2015 20.00 Call   Cover Buy          5/19/2015           60    $0.0300
VIX Jul 22 2015 19.00 Call   Short Sell         6/19/2015          -15    $0.7500
VIX Jul 22 2015 19.00 Call   Cover Buy          7/17/2015           15    $0.0300
VIX Jul 22 2015 20.00 Call   Short Sell         5/19/2015          -60    $1.0300
VIX Jul 22 2015 20.00 Call   Cover Buy          7/13/2015           60    $0.1900
VIX Aug 19 2015 14.50 Call   Short Sell          8/4/2015          -10    $0.7500
VIX Aug 19 2015 14.50 Call   Cover Buy          8/18/2015           10    $0.2000
VIX Aug 19 2015 15.00 Call   Short Sell         8/11/2015          -10    $0.5500
VIX Aug 19 2015 15.00 Call   Expired            8/19/2015           10    $0.0000
VIX Aug 19 2015 16.00 Call   Short Sell         8/14/2015          -50    $0.2000
VIX Aug 19 2015 16.00 Call   Expired            8/19/2015           50    $0.0000
VIX Aug 19 2015 17.00 Call   Short Sell         8/12/2015          -10    $0.5000
VIX Aug 19 2015 17.00 Call   Cover Buy          8/13/2015           10    $0.2400
VIX Aug 19 2015 18.00 Call   Short Sell         8/12/2015          -10    $0.5000
VIX Aug 19 2015 18.00 Call   Cover Buy          8/13/2015           10    $0.1800

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Security                     Buy/Sell             Date      Quantity     Price
VIX Aug 19 2015 21.00 Call   Short Sell          7/2/2015          -10    $1.0800
VIX Aug 19 2015 21.00 Call   Short Sell         7/27/2015          -20    $0.7000
VIX Aug 19 2015 21.00 Call   Cover Buy          7/29/2015           20    $0.3500
VIX Aug 19 2015 21.00 Call   Cover Buy           8/4/2015           10    $0.2100
VIX Sep 16 2015 18.00 Call   Short Sell         8/24/2015          -15    $6.4100
VIX Sep 16 2015 18.00 Call   Cover Buy          9/10/2015           15    $7.0633
VIX Sep 16 2015 24.00 Call   Short Sell         8/24/2015          -15    $4.6940
VIX Sep 16 2015 24.00 Call   Cover Buy          9/10/2015           15    $2.6700
VIX Sep 16 2015 35.00 Call   Buy                8/24/2015           15    $1.9000
VIX Sep 16 2015 35.00 Call   Expired            9/16/2015          -15    $0.0000
VIX Sep 16 2015 37.50 Call   Buy                8/24/2015           15    $2.0700
VIX Sep 16 2015 37.50 Call   Expired            9/16/2015          -15    $0.0000
VIX Oct 21 2015 16.00 Call   Short Sell         9/10/2015          -15    $8.2400
VIX Oct 21 2015 16.00 Call   Cover Buy          9/17/2015           15    $3.6000
VIX Oct 21 2015 19.00 Call   Short Sell        10/15/2015          -10    $0.4500
VIX Oct 21 2015 19.00 Call   Expired           10/21/2015           10    $0.0000
VIX Oct 21 2015 22.00 Call   Short Sell         10/6/2015          -15    $1.0900
VIX Oct 21 2015 22.00 Call   Expired           10/21/2015           15    $0.0000
VIX Oct 21 2015 24.00 Call   Short Sell         9/10/2015          -15    $3.6700
VIX Oct 21 2015 24.00 Call   Cover Buy          9/15/2015           15    $2.0000
VIX Oct 21 2015 24.00 Call   Short Sell         10/7/2015          -15    $0.5500
VIX Oct 21 2015 24.00 Call   Short Sell         10/8/2015          -15    $0.4700
VIX Oct 21 2015 24.00 Call   Expired           10/21/2015           30    $0.0000
VIX Oct 21 2015 27.00 Call   Short Sell         10/6/2015          -15    $0.4300
VIX Oct 21 2015 27.00 Call   Expired           10/21/2015           15    $0.0000
VIX Oct 28 2015 18.00 Call   Short Sell        10/22/2015          -30    $0.3000
VIX Oct 28 2015 18.00 Call   Expired           10/28/2015           30    $0.0000
VIX Oct 28 2015 19.00 Call   Short Sell        10/22/2015          -40    $0.2000
VIX Oct 28 2015 19.00 Call   Expired           10/28/2015           40    $0.0000
VIX Nov 04 2015 18.00 Call   Short Sell        10/29/2015          -45    $0.3000
VIX Nov 04 2015 18.00 Call   Expired            11/4/2015           45    $0.0000
VIX Nov 18 2015 19.00 Call   Short Sell         11/3/2015          -25    $0.5300
VIX Nov 18 2015 19.00 Call   Cover Buy         11/16/2015           25    $1.0300
VIX Nov 18 2015 20.00 Call   Short Sell         11/2/2015          -30    $0.5600
VIX Nov 18 2015 20.00 Call   Short Sell         11/3/2015          -40    $0.4000
VIX Nov 18 2015 20.00 Call   Expired           11/18/2015           70    $0.0000
VIX Nov 18 2015 21.00 Call   Short Sell         11/6/2015          -25    $0.3000
VIX Nov 18 2015 21.00 Call   Expired           11/18/2015           25    $0.0000

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Security                     Buy/Sell             Date      Quantity     Price
VIX Nov 24 2015 18.00 Call   Short Sell        11/20/2015          -50    $0.2100
VIX Nov 24 2015 18.00 Call   Cover Buy         11/23/2015           50    $0.1000
VIX Nov 24 2015 19.00 Call   Short Sell        11/16/2015          -25    $1.5324
VIX Nov 24 2015 19.00 Call   Expired           11/24/2015           25    $0.0000
VIX Dec 01 2015 17.00 Call   Short Sell        11/27/2015          -25    $0.2000
VIX Dec 01 2015 17.00 Call   Cover Buy         11/30/2015           25    $0.1000
VIX Dec 01 2015 19.00 Call   Short Sell        11/23/2015          -25    $0.2500
VIX Dec 01 2015 19.00 Call   Expired            12/1/2015           25    $0.0000
VIX Dec 09 2015 19.00 Call   Short Sell         12/1/2015          -30    $0.2500
VIX Dec 09 2015 19.00 Call   Cover Buy          12/8/2015           30    $0.1300
VIX Dec 09 2015 20.00 Call   Short Sell        11/30/2015          -35    $0.3500
VIX Dec 09 2015 20.00 Call   Expired            12/9/2015           35    $0.0000
VIX Dec 16 2015 19.00 Call   Short Sell         12/8/2015          -30    $0.8300
VIX Dec 16 2015 19.00 Call   Cover Buy         12/14/2015           30    $4.9600
VIX Dec 16 2015 20.00 Call   Short Sell         12/1/2015          -30    $0.5000
VIX Dec 16 2015 20.00 Call   Cover Buy         12/14/2015           30    $3.9300
VIX Dec 23 2015 17.00 Call   Short Sell        12/14/2015          -30    $5.0700
VIX Dec 23 2015 17.00 Call   Cover Buy         12/21/2015           30    $1.8500
VIX Dec 23 2015 18.00 Call   Short Sell        12/14/2015          -30    $4.1800
VIX Dec 23 2015 18.00 Call   Cover Buy         12/22/2015           30    $0.2700
VIX Dec 30 2015 17.00 Call   Short Sell        12/21/2015          -30    $2.6000
VIX Dec 30 2015 17.00 Call   Cover Buy         12/29/2015           30    $0.2000
VIX Dec 30 2015 19.00 Call   Short Sell        12/22/2015          -30    $0.9600
VIX Dec 30 2015 19.00 Call   Cover Buy         12/24/2015           20    $0.3000
VIX Dec 30 2015 19.00 Call   Short Sell        12/28/2015          -15    $0.2500
VIX Dec 30 2015 19.00 Call   Expired           12/30/2015           25

VIX Jan 21 2015 24.00 Put    Short Sell        10/16/2014         -120    $5.8000
VIX Jan 21 2015 24.00 Put    Cover Buy         12/16/2014          120    $6.8500
VIX Jan 21 2015 26.00 Put    Short Sell        12/16/2014         -120    $8.5500
VIX Jan 21 2015 26.00 Put    Cover Buy           1/2/2015          120    $8.2300
VIX Jan 21 2015 28.00 Put    Short Sell          1/2/2015         -120   $10.0300
VIX Jan 21 2015 28.00 Put    Cover Buy          1/12/2015          120    $9.1500
VIX Feb 18 2015 15.00 Put    Buy                 2/9/2015          100    $0.0500
VIX Feb 18 2015 15.00 Put    Sell               2/13/2015         -100    $0.1700
VIX Feb 18 2015 17.00 Put    Short Sell         2/12/2015         -100    $0.4000
VIX Feb 18 2015 17.00 Put    Cover Buy          2/17/2015          100    $0.8500
VIX Feb 18 2015 19.00 Put    Short Sell          2/9/2015          -65    $1.1100

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Security                    Buy/Sell              Date      Quantity     Price
VIX Feb 18 2015 19.00 Put   Cover Buy           2/17/2015           65    $2.6800
VIX Feb 18 2015 20.00 Put   Short Sell          1/21/2015          -65    $2.3000
VIX Feb 18 2015 20.00 Put   Cover Buy            2/9/2015           65    $1.8400
VIX Mar 18 2015 28.00 Put   Short Sell          1/12/2015        -120    $10.1000
VIX Mar 18 2015 28.00 Put   Cover Buy           1/21/2015           60    $9.2000
VIX Mar 18 2015 28.00 Put   Cover Buy           3/16/2015           60   $12.1000
VIX Apr 15 2015 17.00 Put   Short Sell          2/17/2015        -100     $1.3500
VIX Apr 15 2015 17.00 Put   Cover Buy           4/13/2015         100     $3.7500
VIX Jun 17 2015 19.00 Put   Short Sell          2/17/2015          -65    $2.8300
VIX Jun 17 2015 19.00 Put   Cover Buy           6/12/2015           65    $4.9000
VIX Jul 22 2015 13.00 Put   Short Sell          7/17/2015          -30    $0.4000
VIX Jul 22 2015 13.00 Put   Cover Buy           7/21/2015           30    $0.4400
VIX Jul 22 2015 22.00 Put   Short Sell          6/30/2015          -65    $5.6000
VIX Jul 22 2015 22.00 Put   Short Sell          6/30/2015        -100     $5.4300
VIX Jul 22 2015 22.00 Put   Cover Buy            7/1/2015           48    $6.6000
VIX Jul 22 2015 22.00 Put   Cover Buy            7/9/2015         117     $4.7300
VIX Aug 19 2015 13.00 Put   Short Sell          7/23/2015          -30    $0.4000
VIX Aug 19 2015 13.00 Put   Cover Buy           7/27/2015           30    $0.1600
VIX Aug 19 2015 13.50 Put   Short Sell          7/16/2015          -20    $0.5000
VIX Aug 19 2015 13.50 Put   Short Sell          7/21/2015          -30    $0.6300
VIX Aug 19 2015 13.50 Put   Cover Buy           7/24/2015           50    $0.4500
VIX Aug 19 2015 13.50 Put   Short Sell          7/29/2015          -50    $0.5500
VIX Aug 19 2015 13.50 Put   Short Sell          7/30/2015          -30    $0.5500
VIX Aug 19 2015 13.50 Put   Cover Buy            8/7/2015           80    $0.2905
VIX Aug 19 2015 14.00 Put   Short Sell          7/17/2015          -25    $0.9100
VIX Aug 19 2015 14.00 Put   Cover Buy           7/27/2015           25    $0.5000
VIX Aug 19 2015 14.00 Put   Short Sell          8/14/2015          -30    $0.3500
VIX Aug 19 2015 14.00 Put   Cover Buy           8/17/2015           30    $0.5200
VIX Aug 19 2015 20.00 Put   Short Sell          4/13/2015        -100     $4.3500
VIX Aug 19 2015 20.00 Put   Cover Buy           6/30/2015         100     $4.2300
VIX Aug 19 2015 30.00 Put   Short Sell          3/16/2015          -60   $12.3500
VIX Aug 19 2015 30.00 Put   Cover Buy           8/18/2015           60   $15.9900
VIX Sep 16 2015 13.00 Put   Short Sell          8/10/2015          -50    $0.2500
VIX Sep 16 2015 13.00 Put   Cover Buy           8/13/2015           50    $0.2000
VIX Sep 16 2015 14.00 Put   Short Sell          8/17/2015          -30    $0.6200
VIX Sep 16 2015 14.00 Put   Cover Buy           8/21/2015           30    $0.3000
VIX Sep 16 2015 22.00 Put   Short Sell           7/9/2015        -117     $5.5800
VIX Sep 16 2015 22.00 Put   Cover Buy           8/21/2015         117     $5.5000

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Security                     Buy/Sell              Date      Quantity     Price
VIX Oct 21 2015 21.00 Put    Short Sell          6/12/2015          -65    $5.3000
VIX Oct 21 2015 21.00 Put    Cover Buy           6/30/2015           65    $5.0000
VIX Oct 21 2015 22.00 Put    Short Sell          8/21/2015        -117     $6.1000
VIX Oct 21 2015 22.00 Put    Cover Buy           8/25/2015         117     $4.8000
VIX Oct 21 2015 32.50 Put    Short Sell          8/18/2015          -60   $16.9800
VIX Oct 21 2015 32.50 Put    Cover Buy           8/24/2015           60   $13.4300
VIX Nov 18 2015 32.50 Put    Short Sell          8/24/2015          -60   $13.8300
VIX Nov 18 2015 32.50 Put    Cover Buy            9/1/2015           60   $10.9000
VIX Dec 16 2015 22.00 Put    Short Sell          8/25/2015        -117     $5.1500
VIX Dec 16 2015 22.00 Put    Cover Buy           9/28/2015         117     $3.5000

VIX Jan 06 2016 21.00 Call   Short Sell         12/28/2015          -15    $0.5500
VIX Jan 06 2016 21.00 Call   Cover Buy            1/5/2016           15    $0.1200
VIX Jan 13 2016 21.00 Call   Short Sell           1/5/2016          -15    $0.8300
VIX Jan 13 2016 21.00 Call   Cover Buy           1/11/2016           15    $4.7800
VIX Jan 20 2016 20.00 Call   Short Sell          1/11/2016          -15    $5.6300
VIX Jan 20 2016 20.00 Call   Short Sell          1/19/2016          -15    $5.5200
VIX Jan 20 2016 20.00 Call   Bookkeeping         1/19/2016           15    $0.0000
VIX Jan 20 2016 20.00 Call   Buy                 1/19/2016           15    $5.5200
VIX Jan 20 2016 20.00 Call   Buy                 1/19/2016           15    $5.5200
VIX Jan 20 2016 20.00 Call   Bookkeeping         1/19/2016          -15    $0.0000
VIX Feb 17 2016 18.00 Call   Short Sell          1/19/2016          -15    $6.6200
VIX Feb 17 2016 18.00 Call   Cover Buy           2/12/2016           15    $8.6800
VIX Apr 20 2016 16.00 Call   Short Sell          2/12/2016          -15    $8.8300
VIX Apr 20 2016 16.00 Call   Short Sell          3/22/2016           -5    $1.8300
VIX Apr 20 2016 16.00 Call   Cover Buy           3/23/2016           15    $2.0927
VIX Apr 20 2016 16.00 Call   Short Sell           4/8/2016           -5    $1.5500
VIX Apr 20 2016 16.00 Call   Cover Buy           4/14/2016           10    $0.4800
VIX Apr 20 2016 16.00 Call   Short Sell          4/15/2016          -15    $0.3600
VIX Apr 20 2016 16.00 Call   Cover Buy           4/19/2016           15    $0.0800
VIX Apr 27 2016 17.00 Call   Short Sell          4/19/2016          -35    $0.2306
VIX Apr 27 2016 17.00 Call   Cover Buy           4/26/2016           35    $0.0300
VIX May 04 2016 17.00 Call   Short Sell          4/26/2016          -35    $0.2800
VIX May 04 2016 17.00 Call   Cover Buy            5/3/2016           35    $0.1000
VIX May 11 2016 16.00 Call   Short Sell          4/19/2016           -4    $0.9000
VIX May 11 2016 16.00 Call   Short Sell          4/19/2016          -15    $0.9800
VIX May 11 2016 16.00 Call   Short Sell          4/26/2016           -1    $0.7600
VIX May 11 2016 16.00 Call   Cover Buy           5/10/2016           20    $0.0300

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Security                     Buy/Sell             Date      Quantity     Price
VIX May 11 2016 17.00 Call   Short Sell          5/3/2016          -35    $0.6600
VIX May 11 2016 17.00 Call   Cover Buy          5/10/2016           35    $0.0300
VIX May 18 2016 16.00 Call   Short Sell         5/10/2016          -20    $0.4300
VIX May 18 2016 16.00 Call   Cover Buy          5/17/2016           20    $0.1800
VIX May 25 2016 16.00 Call   Short Sell         5/17/2016          -20    $1.2375
VIX May 25 2016 16.00 Call   Cover Buy          5/23/2016           20    $0.4500
VIX May 25 2016 17.00 Call   Short Sell         5/10/2016          -35    $0.9400
VIX May 25 2016 17.00 Call   Cover Buy          5/24/2016           35    $0.0300
VIX May 25 2016 18.00 Call   Short Sell         5/20/2016          -20    $0.4000
VIX May 25 2016 18.00 Call   Cover Buy          5/24/2016           20    $0.0300
VIX Jun 01 2016 17.00 Call   Short Sell         5/23/2016          -25    $0.7000
VIX Jun 01 2016 17.00 Call   Short Sell         5/24/2016          -20    $0.5400
VIX Jun 01 2016 17.00 Call   Short Sell         5/24/2016          -35    $0.5400
VIX Jun 01 2016 17.00 Call   Cover Buy          5/31/2016           80    $0.0300
VIX Jun 15 2016 17.00 Call   Short Sell         5/31/2016          -80    $0.6300
VIX Jun 15 2016 17.00 Call   Cover Buy          6/13/2016           80    $3.1000
VIX Jun 22 2016 17.00 Call   Short Sell         6/13/2016          -80    $3.3600
VIX Jun 22 2016 17.00 Call   Cover Buy          6/21/2016           80    $1.5600
VIX Jul 06 2016 17.00 Call   Short Sell         6/21/2016          -80    $2.0600
VIX Jul 06 2016 17.00 Call   Cover Buy          6/24/2016           80    $5.7875
VIX Aug 24 2016 17.00 Call   Short Sell         8/15/2016          -60    $0.2000
VIX Aug 24 2016 17.00 Call   Short Sell         8/15/2016          -20    $0.2000
VIX Aug 24 2016 17.00 Call   Short Sell         8/16/2016          -35    $0.3000
VIX Aug 24 2016 17.00 Call   Short Sell         8/17/2016           -5    $0.2000
VIX Aug 24 2016 17.00 Call   Cover Buy          8/23/2016         110     $0.0400
VIX Aug 24 2016 17.00 Call   Expired            8/24/2016           10    $0.0000
VIX Aug 31 2016 16.00 Call   Short Sell         8/23/2016        -110     $0.1600
VIX Aug 31 2016 16.00 Call   Cover Buy          8/30/2016         110     $0.0300
VIX Aug 31 2016 17.00 Call   Short Sell         8/18/2016           -6    $0.3000
VIX Aug 31 2016 17.00 Call   Short Sell         8/18/2016           -6    $0.3500
VIX Aug 31 2016 17.00 Call   Short Sell         8/19/2016           -6    $0.2200
VIX Aug 31 2016 17.00 Call   Cover Buy          8/23/2016           12    $0.1500
VIX Aug 31 2016 17.00 Call   Cover Buy          8/30/2016            5    $0.0300
VIX Aug 31 2016 17.00 Call   Cover Buy          8/30/2016            1    $0.0300
VIX Sep 07 2016 15.00 Call   Short Sell         8/30/2016        -110     $0.3800
VIX Sep 07 2016 15.00 Call   Cover Buy           9/2/2016         110     $0.0500
VIX Sep 14 2016 15.00 Call   Short Sell          9/2/2016        -110     $0.3800
VIX Sep 14 2016 15.00 Call   Cover Buy          9/13/2016         110     $1.6300

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Security                     Buy/Sell             Date      Quantity     Price
VIX Sep 14 2016 16.00 Call   Short Sell          9/2/2016          -12    $0.2500
VIX Sep 14 2016 16.00 Call   Cover Buy          9/13/2016            4    $1.2000
VIX Sep 14 2016 16.00 Call   Cover Buy          9/13/2016            8    $1.2000
VIX Sep 14 2016 17.00 Call   Short Sell         8/30/2016           -5    $0.4500
VIX Sep 14 2016 17.00 Call   Short Sell         8/30/2016           -1    $0.4300
VIX Sep 14 2016 17.00 Call   Short Sell          9/2/2016          -13    $0.2000
VIX Sep 14 2016 17.00 Call   Cover Buy          9/13/2016           19    $0.7000
VIX Sep 21 2016 15.00 Call   Short Sell         9/13/2016        -110     $1.9300
VIX Sep 21 2016 15.00 Call   Cover Buy          9/20/2016         110     $0.9200
VIX Sep 21 2016 17.00 Call   Short Sell         9/13/2016           -4    $1.3000
VIX Sep 21 2016 17.00 Call   Short Sell         9/13/2016          -19    $1.3000
VIX Sep 21 2016 17.00 Call   Short Sell         9/13/2016           -8    $1.4000
VIX Sep 21 2016 17.00 Call   Cover Buy          9/20/2016           31    $0.1994
VIX Sep 28 2016 16.00 Call   Short Sell         9/20/2016        -110     $1.0800
VIX Sep 28 2016 16.00 Call   Short Sell         9/22/2016          -45    $0.1500
VIX Sep 28 2016 16.00 Call   Cover Buy          9/27/2016         155     $0.1000
VIX Sep 28 2016 17.00 Call   Short Sell         9/20/2016          -31    $0.8494
VIX Sep 28 2016 17.00 Call   Short Sell         9/21/2016           -8    $0.5500
VIX Sep 28 2016 17.00 Call   Cover Buy          9/27/2016           39    $0.0500
VIX Oct 05 2016 16.00 Call   Short Sell         9/27/2016          -20    $0.4500
VIX Oct 05 2016 16.00 Call   Short Sell         9/29/2016          -20    $0.2000
VIX Oct 05 2016 16.00 Call   Cover Buy          10/4/2016           40    $0.0538
VIX Oct 05 2016 17.00 Call   Short Sell         9/27/2016          -25    $0.3500
VIX Oct 05 2016 17.00 Call   Cover Buy          10/4/2016           25    $0.0300
VIX Oct 05 2016 18.00 Call   Short Sell         9/27/2016          -40    $0.2500
VIX Oct 05 2016 18.00 Call   Short Sell         9/27/2016          -35    $0.2500
VIX Oct 05 2016 18.00 Call   Cover Buy          10/4/2016           75    $0.0300
VIX Oct 12 2016 16.00 Call   Short Sell         10/4/2016          -40    $0.5038
VIX Oct 12 2016 16.00 Call   Cover Buy         10/11/2016            5    $0.5400
VIX Oct 12 2016 16.00 Call   Cover Buy         10/11/2016           31    $0.5968
VIX Oct 12 2016 16.00 Call   Cover Buy         10/11/2016            4    $0.6000
VIX Oct 12 2016 17.00 Call   Short Sell         10/4/2016          -75    $0.4300
VIX Oct 12 2016 17.00 Call   Cover Buy         10/11/2016           75    $0.0800
VIX Oct 12 2016 18.00 Call   Short Sell         10/4/2016          -25    $0.2800
VIX Oct 12 2016 18.00 Call   Cover Buy         10/11/2016           25    $0.0300
VIX Oct 19 2016 16.00 Call   Short Sell        10/11/2016           -5    $1.0200
VIX Oct 19 2016 16.00 Call   Short Sell        10/11/2016          -31    $1.0984
VIX Oct 19 2016 16.00 Call   Short Sell        10/11/2016           -4    $1.1000

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Security                     Buy/Sell              Date      Quantity     Price
VIX Oct 19 2016 16.00 Call   Cover Buy          10/18/2016           40    $0.4000
VIX Oct 19 2016 17.00 Call   Short Sell         10/10/2016          -15    $0.2500
VIX Oct 19 2016 17.00 Call   Expired            10/19/2016           15    $0.0000
VIX Oct 19 2016 18.00 Call   Short Sell         10/11/2016          -75    $0.3800
VIX Oct 19 2016 18.00 Call   Short Sell         10/11/2016          -25    $0.3800
VIX Oct 19 2016 18.00 Call   Cover Buy          10/18/2016         100     $0.0900
VIX Oct 26 2016 16.00 Call   Short Sell         10/21/2016        -100     $0.3500
VIX Oct 26 2016 16.00 Call   Cover Buy          10/24/2016         100     $0.0500
VIX Oct 26 2016 17.00 Call   Short Sell         10/18/2016           -5    $0.4500
VIX Oct 26 2016 17.00 Call   Short Sell         10/18/2016          -20    $0.6000
VIX Oct 26 2016 17.00 Call   Cover Buy          10/24/2016           25    $0.0500
VIX Oct 26 2016 18.00 Call   Short Sell         10/18/2016        -100     $0.4900
VIX Oct 26 2016 18.00 Call   Cover Buy          10/21/2016         100     $0.1790
VIX Nov 02 2016 16.00 Call   Short Sell         10/25/2016          -25    $0.2500
VIX Nov 02 2016 16.00 Call   Cover Buy           11/1/2016           25    $2.6800
VIX Nov 02 2016 17.00 Call   Short Sell         10/25/2016        -100     $0.2000
VIX Nov 02 2016 17.00 Call   Cover Buy           11/1/2016         100     $1.5500
VIX Nov 16 2016 15.00 Call   Short Sell          11/1/2016          -25    $3.5400
VIX Nov 16 2016 15.00 Call   Expired            11/16/2016           25    $0.0000
VIX Nov 16 2016 18.00 Call   Short Sell          11/9/2016          -20    $0.5000
VIX Nov 16 2016 18.00 Call   Expired            11/16/2016           20    $0.0000
VIX Nov 23 2016 17.00 Call   Short Sell         11/17/2016          -50    $0.1500
VIX Nov 23 2016 17.00 Call   Cover Buy          11/21/2016           50    $0.0400
VIX Nov 23 2016 19.00 Call   Short Sell          11/1/2016        -100     $1.8500
VIX Nov 23 2016 19.00 Call   Short Sell          11/2/2016          -20    $1.7600
VIX Nov 23 2016 19.00 Call   Cover Buy          11/21/2016         120     $0.0400
VIX Nov 30 2016 17.00 Call   Short Sell         11/21/2016          -50    $0.1600
VIX Nov 30 2016 17.00 Call   Cover Buy          11/29/2016           50    $0.0300
VIX Dec 07 2016 17.00 Call   Short Sell         11/29/2016          -50    $0.1800
VIX Dec 07 2016 17.00 Call   Expired             12/7/2016           50    $0.0000
VIX Dec 07 2016 19.00 Call   Short Sell         11/21/2016        -120     $0.2400
VIX Dec 07 2016 19.00 Call   Cover Buy           12/6/2016         120     $0.0300
VIX Dec 14 2016 14.00 Call   Short Sell         12/13/2016          -50    $0.1520
VIX Dec 14 2016 14.00 Call   Cover Buy          12/13/2016           50    $0.0500
VIX Dec 21 2016 17.00 Call   Bookkeeping        12/15/2016        -100     $0.0000
VIX Dec 21 2016 17.00 Call   Cover Buy          12/19/2016         100     $0.0500
VIX Dec 21 2016 17.00 Call   Bookkeeping        12/19/2016         100     $0.0000
VIX Dec 21 2016 17.00 Call   Bookkeeping        12/19/2016        -100     $0.0000

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Security                     Buy/Sell              Date      Quantity    Price
VIX Dec 21 2016 18.00 Call   Short Sell          12/6/2016        -120    $0.2800
VIX Dec 21 2016 18.00 Call   Cover Buy          12/19/2016         120    $0.0200
VIX Dec 21 2016 19.00 Call   Bookkeeping        12/15/2016        -270    $0.0000
VIX Dec 21 2016 19.00 Call   Cover Buy          12/19/2016         270    $0.0300
VIX Dec 21 2016 19.00 Call   Bookkeeping        12/19/2016         270    $0.0000
VIX Dec 21 2016 19.00 Call   Bookkeeping        12/19/2016        -270    $0.0000
VIX Dec 21 2016 20.00 Call   Bookkeeping        12/15/2016        -145    $0.0000
VIX Dec 21 2016 20.00 Call   Cover Buy          12/19/2016         145    $0.0300
VIX Dec 21 2016 20.00 Call   Bookkeeping        12/19/2016         145    $0.0000
VIX Dec 21 2016 20.00 Call   Bookkeeping        12/19/2016        -145    $0.0000
VIX Dec 28 2016 15.00 Call   Short Sell         12/19/2016        -145    $0.3500
VIX Dec 28 2016 15.00 Call   Cover Buy          12/27/2016         145    $0.0300

VIX Mar 16 2016 22.00 Put    Short Sell          9/28/2015        -117    $3.9000
VIX Mar 16 2016 22.00 Put    Cover Buy            1/8/2016         117    $3.9500
VIX Apr 13 2016 16.00 Put    Short Sell           4/8/2016         -15    $0.7000
VIX Apr 13 2016 16.00 Put    Cover Buy           4/12/2016          15    $0.2900
VIX Apr 27 2016 14.00 Put    Short Sell          4/20/2016         -10    $0.8000
VIX Apr 27 2016 14.00 Put    Cover Buy           4/21/2016          10    $0.3500
VIX Apr 27 2016 15.00 Put    Short Sell          4/13/2016         -15    $0.7000
VIX Apr 27 2016 15.00 Put    Cover Buy           4/26/2016          15    $1.0400
VIX May 04 2016 14.00 Put    Short Sell          4/20/2016         -10    $0.7500
VIX May 04 2016 14.00 Put    Cover Buy           4/28/2016          10    $0.1500
VIX May 04 2016 16.00 Put    Short Sell          4/26/2016         -15    $1.7600
VIX May 04 2016 16.00 Put    Cover Buy           4/29/2016          15    $0.9000
VIX May 18 2016 22.00 Put    Short Sell           1/8/2016        -117    $4.3500
VIX May 18 2016 22.00 Put    Cover Buy           1/20/2016          50    $3.3800
VIX May 18 2016 22.00 Put    Cover Buy            2/8/2016          67    $3.0000
VIX Jun 08 2016 14.00 Put    Short Sell           6/3/2016         -15    $0.4000
VIX Jun 08 2016 14.00 Put    Cover Buy            6/7/2016          15    $0.6493
VIX Jun 15 2016 22.00 Put    Short Sell          1/20/2016         -50    $3.6300
VIX Jun 15 2016 22.00 Put    Cover Buy           2/11/2016          50    $3.0600
VIX Jul 06 2016 15.00 Put    Short Sell           6/7/2016         -15    $0.7613
VIX Jul 06 2016 15.00 Put    Cover Buy           6/27/2016          15    $0.1000
VIX Aug 17 2016 26.00 Put    Short Sell          6/24/2016         -80    $6.8000
VIX Aug 17 2016 26.00 Put    Cover Buy           8/12/2016          80   $13.6000
VIX Sep 21 2016 29.00 Put    Short Sell          8/12/2016         -80   $14.2000
VIX Sep 21 2016 29.00 Put    Cover Buy           9/12/2016          80   $12.9200

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Security                     Buy/Sell              Date      Quantity     Price
VIX Sep 28 2016 29.00 Put    Short Sell          9/12/2016          -80   $13.1200
VIX Sep 28 2016 29.00 Put    Cover Buy           9/27/2016           80   $15.0800
VIX Oct 26 2016 25.00 Put    Short Sell          9/27/2016          -55    $9.0000
VIX Oct 26 2016 25.00 Put    Short Sell          9/27/2016          -80    $9.1300
VIX Oct 26 2016 25.00 Put    Cover Buy          10/24/2016         127    $11.6800
VIX Oct 26 2016 25.00 Put    Cover Buy          10/25/2016            8   $11.5700
VIX Nov 09 2016 16.00 Put    Short Sell          11/7/2016           -5    $0.5500
VIX Nov 09 2016 16.00 Put    Short Sell          11/7/2016          -10    $0.5500
VIX Nov 09 2016 16.00 Put    Expired             11/9/2016           15    $0.0000
VIX Nov 16 2016 13.50 Put    Short Sell         11/10/2016          -30    $0.2000
VIX Nov 16 2016 13.50 Put    Cover Buy          11/15/2016           30    $0.1300
VIX Nov 30 2016 14.00 Put    Short Sell         11/15/2016          -30    $0.2900
VIX Nov 30 2016 14.00 Put    Cover Buy          11/29/2016            2    $0.9100
VIX Nov 30 2016 14.00 Put    Cover Buy          11/29/2016           28    $0.6800
VIX Dec 07 2016 14.00 Put    Short Sell         11/29/2016          -28    $0.9300
VIX Dec 07 2016 14.00 Put    Cover Buy           12/6/2016           28    $1.7600
VIX Dec 14 2016 14.50 Put    Short Sell         11/29/2016           -2    $1.3100
VIX Dec 14 2016 14.50 Put    Cover Buy          12/13/2016            2    $1.4200
VIX Dec 21 2016 15.00 Put    Short Sell          12/6/2016          -28    $2.0800
VIX Dec 21 2016 15.00 Put    Short Sell         12/13/2016           -2    $1.9800
VIX Dec 21 2016 15.00 Put    Cover Buy          12/16/2016           30    $2.1500
VIX Dec 21 2016 24.00 Put    Bookkeeping        12/15/2016        -125     $0.0000
VIX Dec 21 2016 24.00 Put    Cover Buy          12/16/2016         125    $11.0900
VIX Dec 21 2016 24.00 Put    Bookkeeping        12/16/2016         125     $0.0000
VIX Dec 21 2016 24.00 Put    Bookkeeping        12/16/2016        -125     $0.0000
VIX Dec 21 2016 28.00 Put    Short Sell         10/24/2016        -127    $12.2800
VIX Dec 21 2016 28.00 Put    Short Sell         10/25/2016           -8   $12.2800
VIX Dec 21 2016 28.00 Put    Cover Buy          12/12/2016           35   $14.6400
VIX Dec 21 2016 28.00 Put    Cover Buy          12/20/2016         100    $16.3000
VIX Dec 28 2016 18.00 Put    Bookkeeping        12/15/2016        -100     $0.0000
VIX Dec 28 2016 18.00 Put    Cover Buy          12/27/2016         100     $5.6900
VIX Dec 28 2016 18.00 Put    Bookkeeping        12/27/2016         100     $0.0000
VIX Dec 28 2016 18.00 Put    Bookkeeping        12/27/2016        -100     $0.0000

VIX Jan 11 2017 17.00 Call   Short Sell         12/27/2016         -145    $0.4300
VIX Jan 11 2017 17.00 Call   Cover Buy            1/9/2017          145    $0.0300
VIX Jan 18 2017 18.00 Call   Short Sell         12/14/2016          -50    $1.0000
VIX Jan 18 2017 18.00 Call   Cover Buy          12/19/2016           50    $0.7800

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jan 25 2017 25.00 Call   Short Sell        12/19/2016        -270     $0.3300
VIX Jan 25 2017 25.00 Call   Cover Buy           1/9/2017         270     $0.0300
VIX Feb 01 2017 17.00 Call   Short Sell          1/9/2017        -270     $0.4800
VIX Feb 01 2017 17.00 Call   Cover Buy          1/30/2017           66    $0.0300
VIX Feb 01 2017 17.00 Call   Cover Buy          1/30/2017         100     $0.0300
VIX Feb 01 2017 17.00 Call   Cover Buy          1/30/2017            4    $0.0500
VIX Feb 01 2017 17.00 Call   Cover Buy          1/30/2017         100     $0.0300
VIX Feb 01 2017 18.00 Call   Short Sell          1/9/2017        -145     $0.3300
VIX Feb 01 2017 18.00 Call   Cover Buy          1/27/2017         145     $0.0300
VIX Feb 08 2017 13.50 Call   Short Sell         1/27/2017        -145     $0.3300
VIX Feb 08 2017 13.50 Call   Cover Buy           2/6/2017         145     $0.0312
VIX Feb 08 2017 14.50 Call   Short Sell         1/30/2017        -100     $0.4300
VIX Feb 08 2017 14.50 Call   Cover Buy           2/6/2017         100     $0.0434
VIX Feb 08 2017 16.00 Call   Short Sell         1/30/2017        -100     $0.2300
VIX Feb 08 2017 16.00 Call   Cover Buy           2/7/2017         100     $0.0300
VIX Feb 08 2017 17.00 Call   Short Sell         1/30/2017          -66    $0.1800
VIX Feb 08 2017 17.00 Call   Short Sell         1/30/2017           -4    $0.3500
VIX Feb 08 2017 17.00 Call   Cover Buy           2/2/2017           50    $0.0800
VIX Feb 08 2017 17.00 Call   Cover Buy           2/6/2017           20    $0.0300
VIX Feb 15 2017 12.00 Call   Short Sell          2/6/2017        -100     $0.8934
VIX Feb 15 2017 12.00 Call   Cover Buy          2/13/2017         100     $0.2800
VIX Feb 15 2017 13.00 Call   Short Sell          2/6/2017        -145     $0.5312
VIX Feb 15 2017 13.00 Call   Cover Buy          2/10/2017         145     $0.2200
VIX Feb 15 2017 14.00 Call   Short Sell          2/7/2017        -100     $0.3300
VIX Feb 15 2017 14.00 Call   Cover Buy          2/10/2017         100     $0.1300
VIX Feb 22 2017 13.00 Call   Short Sell         2/13/2017          -10    $0.4500
VIX Feb 22 2017 13.00 Call   Short Sell         2/13/2017          -50    $0.4370
VIX Feb 22 2017 13.00 Call   Cover Buy          2/21/2017           60    $0.0800
VIX Mar 01 2017 13.00 Call   Short Sell         2/22/2017          -20    $0.5200
VIX Mar 01 2017 13.00 Call   Cover Buy          2/28/2017           20    $0.1400
VIX Mar 01 2017 13.50 Call   Short Sell         2/21/2017          -60    $0.3000
VIX Mar 01 2017 13.50 Call   Cover Buy          2/28/2017           60    $0.2138
VIX Mar 01 2017 14.00 Call   Short Sell         2/17/2017        -100     $0.4800
VIX Mar 01 2017 14.00 Call   Cover Buy          2/28/2017           92    $0.1000
VIX Mar 01 2017 14.00 Call   Cover Buy          2/28/2017            8    $0.1225
VIX Mar 08 2017 12.50 Call   Short Sell         2/28/2017          -20    $0.6700
VIX Mar 08 2017 12.50 Call   Cover Buy           3/6/2017            2    $0.1000
VIX Mar 08 2017 12.50 Call   Cover Buy           3/7/2017           18    $0.1000

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Security                     Buy/Sell             Date      Quantity     Price
VIX Mar 08 2017 14.00 Call   Short Sell         2/28/2017          -60    $0.4163
VIX Mar 08 2017 14.00 Call   Short Sell         2/28/2017          -92    $0.4000
VIX Mar 08 2017 14.00 Call   Short Sell         2/28/2017           -8    $0.4725
VIX Mar 08 2017 14.00 Call   Cover Buy           3/6/2017         160     $0.0300
VIX Mar 08 2017 17.00 Call   Short Sell          2/6/2017          -20    $0.7800
VIX Mar 08 2017 17.00 Call   Cover Buy          2/22/2017           20    $0.2700
VIX Mar 14 2017 12.00 Call   Short Sell          3/6/2017           -2    $0.6000
VIX Mar 14 2017 12.00 Call   Cover Buy          3/13/2017            2    $0.3000
VIX Mar 14 2017 12.50 Call   Short Sell          3/7/2017          -18    $0.4000
VIX Mar 14 2017 12.50 Call   Cover Buy          3/13/2017           18    $0.2000
VIX Mar 14 2017 13.00 Call   Short Sell          3/6/2017        -160     $0.3300
VIX Mar 14 2017 13.00 Call   Cover Buy          3/13/2017         160     $0.0700
VIX Mar 22 2017 13.50 Call   Short Sell         3/13/2017        -160     $0.3200
VIX Mar 22 2017 13.50 Call   Cover Buy          3/21/2017         160     $0.0300
VIX Mar 22 2017 15.00 Call   Short Sell         3/10/2017        -200     $0.2500
VIX Mar 22 2017 15.00 Call   Cover Buy          3/13/2017         200     $0.2090
VIX Mar 29 2017 12.50 Call   Short Sell         3/21/2017        -160     $0.3300
VIX Mar 29 2017 12.50 Call   Cover Buy          3/22/2017         160     $0.8900
VIX Mar 29 2017 15.00 Call   Short Sell         3/10/2017        -200     $0.4525
VIX Mar 29 2017 15.00 Call   Cover Buy          3/28/2017         200     $0.0300
VIX Apr 05 2017 14.00 Call   Short Sell         3/28/2017        -200     $0.2800
VIX Apr 05 2017 14.00 Call   Cover Buy           4/4/2017         100     $0.0340
VIX Apr 05 2017 14.00 Call   Cover Buy           4/4/2017         100     $0.0300
VIX Apr 12 2017 14.50 Call   Short Sell          4/4/2017        -100     $0.3450
VIX Apr 12 2017 14.50 Call   Cover Buy          4/11/2017         100     $1.1000
VIX Apr 12 2017 15.00 Call   Short Sell          4/4/2017        -100     $0.2075
VIX Apr 12 2017 15.00 Call   Cover Buy          4/11/2017         100     $0.9575
VIX Apr 19 2017 10.00 Call   Buy                 2/2/2017           50    $5.3000
VIX Apr 19 2017 10.00 Call   Sell                2/8/2017          -50    $5.4000
VIX Apr 19 2017 10.00 Call   Buy                2/10/2017           50    $5.2000
VIX Apr 19 2017 10.00 Call   Sell               2/24/2017          -50    $5.6000
VIX Apr 19 2017 15.00 Call   Short Sell         4/11/2017        -100     $1.6300
VIX Apr 19 2017 15.00 Call   Cover Buy          4/18/2017         100     $0.3900
VIX Apr 19 2017 16.00 Call   Short Sell         4/11/2017        -100     $1.3650
VIX Apr 19 2017 16.00 Call   Cover Buy          4/12/2017         100     $1.3000
VIX Apr 19 2017 19.00 Call   Short Sell          2/2/2017          -50    $1.3300
VIX Apr 19 2017 19.00 Call   Cover Buy          3/13/2017           50    $0.5800
VIX Apr 26 2017 13.00 Call   Short Sell         4/18/2017        -100     $1.4000

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Security                     Buy/Sell             Date      Quantity     Price
VIX Apr 26 2017 13.00 Call   Short Sell         4/24/2017          -50    $0.0610
VIX Apr 26 2017 13.00 Call   Cover Buy          4/25/2017         150     $0.0307
VIX Apr 26 2017 16.00 Call   Short Sell         4/18/2017        -100     $0.5900
VIX Apr 26 2017 16.00 Call   Cover Buy          4/18/2017         100     $0.6000
VIX May 03 2017 13.50 Call   Short Sell         4/25/2017          -20    $0.2000
VIX May 03 2017 13.50 Call   Short Sell         4/25/2017        -150     $0.2340
VIX May 03 2017 13.50 Call   Short Sell         4/27/2017          -10    $0.1200
VIX May 03 2017 13.50 Call   Cover Buy           5/1/2017         180     $0.0300
VIX May 17 2017 11.00 Call   Short Sell         5/10/2017        -100     $0.7300
VIX May 17 2017 11.00 Call   Cover Buy          5/16/2017         100     $0.2200
VIX May 17 2017 15.00 Call   Short Sell          5/1/2017          -20    $0.2500
VIX May 17 2017 15.00 Call   Short Sell          5/1/2017        -180     $0.2800
VIX May 17 2017 15.00 Call   Cover Buy          5/10/2017         100     $0.1300
VIX May 17 2017 15.00 Call   Cover Buy          5/15/2017         100     $0.0200
VIX May 17 2017 17.00 Call   Short Sell         3/22/2017        -160     $1.2900
VIX May 17 2017 17.00 Call   Cover Buy          4/12/2017         160     $1.3600
VIX May 24 2017 11.50 Call   Short Sell         5/19/2017          -10    $1.3500
VIX May 24 2017 11.50 Call   Cover Buy          5/22/2017           10    $0.4000
VIX May 24 2017 12.00 Call   Short Sell         5/16/2017        -100     $0.3300
VIX May 24 2017 12.00 Call   Cover Buy          5/23/2017         100     $0.0800
VIX May 24 2017 13.00 Call   Short Sell         5/19/2017          -15    $0.3000
VIX May 24 2017 13.00 Call   Short Sell         5/22/2017          -20    $0.1200
VIX May 24 2017 13.00 Call   Cover Buy          5/23/2017           35    $0.0414
VIX May 24 2017 13.50 Call   Short Sell         5/19/2017          -10    $0.4600
VIX May 24 2017 13.50 Call   Cover Buy          5/23/2017           10    $0.0400
VIX May 24 2017 15.00 Call   Short Sell         5/15/2017        -100     $0.1500
VIX May 24 2017 15.00 Call   Cover Buy          5/23/2017         100     $0.0300
VIX May 31 2017 11.50 Call   Short Sell         5/23/2017          -10    $0.4900
VIX May 31 2017 11.50 Call   Short Sell         5/24/2017           -5    $0.2700
VIX May 31 2017 11.50 Call   Short Sell         5/24/2017          -10    $0.3500
VIX May 31 2017 11.50 Call   Short Sell         5/25/2017           -3    $0.2000
VIX May 31 2017 11.50 Call   Short Sell         5/26/2017           -3    $0.1000
VIX May 31 2017 11.50 Call   Cover Buy          5/30/2017           31    $0.0800
VIX May 31 2017 13.00 Call   Short Sell         5/23/2017        -100     $0.2300
VIX May 31 2017 13.00 Call   Cover Buy          5/30/2017         100     $0.0300
VIX May 31 2017 15.00 Call   Short Sell         5/23/2017          -35    $0.1414
VIX May 31 2017 15.00 Call   Cover Buy          5/30/2017           35    $0.0300
VIX May 31 2017 16.00 Call   Short Sell         5/23/2017          -70    $0.1000

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Security                     Buy/Sell             Date      Quantity     Price
VIX May 31 2017 16.00 Call   Short Sell         5/23/2017        -100     $0.1300
VIX May 31 2017 16.00 Call   Cover Buy          5/30/2017         170     $0.0300
VIX Jun 07 2017 11.50 Call   Short Sell         5/30/2017          -31    $0.3800
VIX Jun 07 2017 11.50 Call   Cover Buy           6/6/2017           31    $0.0600
VIX Jun 07 2017 13.00 Call   Short Sell         5/30/2017        -100     $0.2300
VIX Jun 07 2017 13.00 Call   Cover Buy           6/6/2017         100     $0.0300
VIX Jun 07 2017 16.00 Call   Short Sell         5/30/2017        -170     $0.1000
VIX Jun 07 2017 16.00 Call   Cover Buy           6/6/2017         170     $0.0300
VIX Jun 14 2017 12.00 Call   Short Sell          6/6/2017          -31    $0.4200
VIX Jun 14 2017 12.00 Call   Cover Buy          6/13/2017           31    $0.0900
VIX Jun 14 2017 13.00 Call   Short Sell          6/6/2017        -100     $0.3000
VIX Jun 14 2017 13.00 Call   Cover Buy          6/13/2017         100     $0.0500
VIX Jun 14 2017 15.00 Call   Short Sell         5/30/2017          -35    $0.2500
VIX Jun 14 2017 15.00 Call   Cover Buy          6/13/2017           35    $0.0300
VIX Jun 14 2017 16.00 Call   Short Sell          6/6/2017        -170     $0.1300
VIX Jun 14 2017 16.00 Call   Cover Buy          6/13/2017           70    $0.0500
VIX Jun 14 2017 16.00 Call   Cover Buy          6/13/2017         100     $0.0200
VIX Jun 21 2017 11.50 Call   Short Sell         6/19/2017          -50    $0.2300
VIX Jun 21 2017 11.50 Call   Cover Buy          6/20/2017           50    $0.1300
VIX Jun 21 2017 13.00 Call   Short Sell         6/13/2017           -5    $0.3000
VIX Jun 21 2017 13.00 Call   Short Sell         6/13/2017           -5    $0.3000
VIX Jun 21 2017 13.00 Call   Short Sell         6/13/2017          -31    $0.3100
VIX Jun 21 2017 13.00 Call   Cover Buy          6/20/2017           36    $0.0600
VIX Jun 21 2017 13.00 Call   Cover Buy          6/20/2017            5    $0.0500
VIX Jun 21 2017 14.00 Call   Short Sell         6/13/2017           -3    $0.2000
VIX Jun 21 2017 14.00 Call   Short Sell         6/13/2017        -100     $0.2500
VIX Jun 21 2017 14.00 Call   Cover Buy          6/20/2017         103     $0.0300
VIX Jun 21 2017 15.00 Call   Short Sell         6/13/2017          -35    $0.1800
VIX Jun 21 2017 15.00 Call   Cover Buy          6/20/2017           35    $0.0500
VIX Jun 21 2017 16.00 Call   Short Sell         6/13/2017        -100     $0.1400
VIX Jun 21 2017 16.00 Call   Cover Buy          6/19/2017           50    $0.0300
VIX Jun 21 2017 16.00 Call   Cover Buy          6/20/2017           50    $0.0300
VIX Jun 28 2017 11.00 Call   Short Sell         6/23/2017           -5    $0.2500
VIX Jun 28 2017 11.00 Call   Short Sell         6/23/2017          -10    $0.2500
VIX Jun 28 2017 11.00 Call   Short Sell         6/26/2017           -7    $0.1000
VIX Jun 28 2017 11.00 Call   Cover Buy          6/27/2017           22    $0.0964
VIX Jun 28 2017 12.50 Call   Short Sell         6/20/2017          -50    $0.3300
VIX Jun 28 2017 12.50 Call   Short Sell         6/22/2017           -3    $0.1500

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jun 28 2017 12.50 Call   Short Sell         6/22/2017           -3    $0.2000
VIX Jun 28 2017 12.50 Call   Short Sell         6/22/2017           -5    $0.2000
VIX Jun 28 2017 12.50 Call   Cover Buy          6/27/2017           61    $0.0300
VIX Jun 28 2017 13.00 Call   Short Sell         6/20/2017           -4    $0.2500
VIX Jun 28 2017 13.00 Call   Short Sell         6/20/2017           -5    $0.3000
VIX Jun 28 2017 13.00 Call   Cover Buy          6/27/2017            9    $0.0300
VIX Jun 28 2017 13.50 Call   Short Sell         6/20/2017           -5    $0.2000
VIX Jun 28 2017 13.50 Call   Cover Buy          6/27/2017            5    $0.0300
VIX Jun 28 2017 14.00 Call   Short Sell         6/20/2017        -103     $0.2300
VIX Jun 28 2017 14.00 Call   Short Sell         6/20/2017          -36    $0.2200
VIX Jun 28 2017 14.00 Call   Cover Buy          6/27/2017         139     $0.0400
VIX Jun 28 2017 15.00 Call   Short Sell         6/20/2017          -50    $0.1800
VIX Jun 28 2017 15.00 Call   Cover Buy          6/27/2017           50    $0.0200
VIX Jul 05 2017 12.00 Call   Short Sell         6/27/2017          -22    $0.2464
VIX Jul 05 2017 12.00 Call   Cover Buy           7/3/2017           22    $0.0700
VIX Jul 12 2017 12.00 Call   Short Sell          7/3/2017          -22    $0.4000
VIX Jul 12 2017 12.00 Call   Cover Buy          7/11/2017           22    $0.1100
VIX Jul 12 2017 13.00 Call   Short Sell         6/27/2017           -5    $0.2600
VIX Jul 12 2017 13.00 Call   Short Sell         6/27/2017           -9    $0.2600
VIX Jul 12 2017 13.00 Call   Short Sell         6/27/2017          -61    $0.2600
VIX Jul 12 2017 13.00 Call   Cover Buy          7/11/2017           75    $0.0300
VIX Jul 12 2017 14.00 Call   Short Sell         6/27/2017        -139     $0.2000
VIX Jul 12 2017 14.00 Call   Cover Buy          7/11/2017         139     $0.0400
VIX Jul 12 2017 15.00 Call   Short Sell         6/27/2017          -50    $0.1600
VIX Jul 12 2017 15.00 Call   Cover Buy          7/11/2017           50    $0.0400
VIX Jul 19 2017 10.00 Call   Buy                4/12/2017         125     $5.9000
VIX Jul 19 2017 10.00 Call   Sell               6/19/2017        -125     $2.0800
VIX Jul 19 2017 11.00 Call   Short Sell         7/14/2017           -3    $0.2500
VIX Jul 19 2017 11.00 Call   Short Sell         7/14/2017          -27    $0.3200
VIX Jul 19 2017 11.00 Call   Short Sell         7/14/2017          -10    $0.3500
VIX Jul 19 2017 11.00 Call   Short Sell         7/14/2017          -25    $0.3500
VIX Jul 19 2017 11.00 Call   Cover Buy          7/18/2017           15    $0.0800
VIX Jul 19 2017 11.00 Call   Cover Buy          7/18/2017           50    $0.1800
VIX Jul 19 2017 13.00 Call   Short Sell         7/11/2017          -22    $0.4400
VIX Jul 19 2017 13.00 Call   Short Sell         7/12/2017           -5    $0.2000
VIX Jul 19 2017 13.00 Call   Cover Buy          7/14/2017           27    $0.1200
VIX Jul 19 2017 13.50 Call   Short Sell         7/11/2017          -75    $0.3300
VIX Jul 19 2017 13.50 Call   Cover Buy          7/12/2017           75    $0.2197

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Security                     Buy/Sell             Date      Quantity     Price
VIX Jul 19 2017 14.00 Call   Short Sell         2/10/2017        -100     $4.2800
VIX Jul 19 2017 14.00 Call   Cover Buy          2/17/2017         100     $3.7500
VIX Jul 19 2017 17.00 Call   Short Sell         2/10/2017        -145     $3.0300
VIX Jul 19 2017 17.00 Call   Cover Buy          3/15/2017           77    $2.4400
VIX Jul 19 2017 17.00 Call   Cover Buy          3/15/2017           68    $2.4500
VIX Jul 19 2017 17.00 Call   Short Sell          5/1/2017        -125     $0.9900
VIX Jul 19 2017 17.00 Call   Cover Buy          5/25/2017           25    $0.7500
VIX Jul 19 2017 17.00 Call   Cover Buy           6/9/2017         100     $0.5000
VIX Jul 19 2017 19.00 Call   Short Sell         4/12/2017        -160     $1.5500
VIX Jul 19 2017 19.00 Call   Cover Buy           5/1/2017         125     $0.7800
VIX Jul 19 2017 19.00 Call   Cover Buy          5/17/2017           35    $0.8500
VIX Jul 19 2017 21.00 Call   Buy                4/25/2017           50    $0.6500
VIX Jul 19 2017 21.00 Call   Sell                5/5/2017          -50    $0.6100
VIX Jul 26 2017 11.50 Call   Short Sell         7/18/2017          -15    $0.2300
VIX Jul 26 2017 11.50 Call   Short Sell         7/19/2017           -5    $0.1500
VIX Jul 26 2017 11.50 Call   Short Sell         7/21/2017          -10    $0.1700
VIX Jul 26 2017 11.50 Call   Cover Buy          7/25/2017           30    $0.0400
VIX Jul 26 2017 12.00 Call   Short Sell         7/21/2017          -85    $0.1200
VIX Jul 26 2017 12.00 Call   Cover Buy          7/25/2017           85    $0.0300
VIX Jul 26 2017 13.00 Call   Short Sell         7/18/2017           -5    $0.1000
VIX Jul 26 2017 13.00 Call   Short Sell         7/18/2017           -5    $0.2000
VIX Jul 26 2017 13.00 Call   Short Sell         7/18/2017          -15    $0.1500
VIX Jul 26 2017 13.00 Call   Cover Buy          7/25/2017           25    $0.0300
VIX Jul 26 2017 15.00 Call   Short Sell         7/11/2017        -139     $0.3500
VIX Jul 26 2017 15.00 Call   Short Sell         7/11/2017          -50    $0.3400
VIX Jul 26 2017 15.00 Call   Cover Buy          7/19/2017           99    $0.0500
VIX Jul 26 2017 15.00 Call   Cover Buy          7/24/2017           90    $0.0500
VIX Aug 02 2017 10.50 Call   Short Sell         7/25/2017          -30    $0.3400
VIX Aug 02 2017 10.50 Call   Short Sell         7/26/2017           -3    $0.3000
VIX Aug 02 2017 10.50 Call   Short Sell         7/27/2017           -2    $0.3000
VIX Aug 02 2017 10.50 Call   Cover Buy          7/28/2017           35    $0.9500
VIX Aug 02 2017 11.50 Call   Short Sell         7/25/2017          -85    $0.2300
VIX Aug 02 2017 11.50 Call   Short Sell         7/25/2017          -25    $0.2300
VIX Aug 02 2017 11.50 Call   Short Sell         7/26/2017          -60    $0.2000
VIX Aug 02 2017 11.50 Call   Cover Buy          7/28/2017         170     $0.4919
VIX Aug 09 2017 10.50 Call   Short Sell          8/4/2017           -2    $0.4500
VIX Aug 09 2017 10.50 Call   Short Sell          8/4/2017           -3    $0.4500
VIX Aug 09 2017 10.50 Call   Cover Buy           8/8/2017            5    $0.1500

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Security                     Buy/Sell             Date      Quantity      Price
VIX Aug 16 2017 12.00 Call   Buy                6/19/2017         125      $1.6800
VIX Aug 16 2017 12.00 Call   Buy                7/26/2017           10     $0.6000
VIX Aug 16 2017 12.00 Call   Sell               7/28/2017          -10     $0.8300
VIX Aug 16 2017 12.00 Call   Sell               8/11/2017        -125      $2.9600
VIX Aug 16 2017 12.50 Call   Short Sell          8/3/2017          -50     $0.4900
VIX Aug 16 2017 12.50 Call   Cover Buy          8/11/2017           50     $2.5800
VIX Aug 16 2017 15.00 Call   Short Sell         7/12/2017          -75     $0.7197
VIX Aug 16 2017 15.00 Call   Cover Buy           8/8/2017           50     $0.1500
VIX Aug 16 2017 15.00 Call   Short Sell          8/9/2017          -50     $0.4500
VIX Aug 16 2017 15.00 Call   Short Sell         8/10/2017           -2     $0.6500
VIX Aug 16 2017 15.00 Call   Short Sell         8/10/2017           -2     $0.6500
VIX Aug 16 2017 15.00 Call   Cover Buy          8/11/2017           79     $1.3500
VIX Aug 16 2017 16.00 Call   Short Sell         7/18/2017          -50     $0.4100
VIX Aug 16 2017 16.00 Call   Cover Buy           8/3/2017           50     $0.2300
VIX Aug 16 2017 17.00 Call   Short Sell         8/10/2017           -2     $0.7500
VIX Aug 16 2017 17.00 Call   Short Sell         8/10/2017          -10     $0.7500
VIX Aug 16 2017 17.00 Call   Cover Buy          8/10/2017           12     $0.7500
VIX Aug 23 2017 17.00 Call   Short Sell         8/10/2017           -2     $0.6500
VIX Aug 23 2017 17.00 Call   Short Sell         8/10/2017           -3     $0.7500
VIX Aug 23 2017 17.00 Call   Cover Buy          8/22/2017             5    $0.0400
VIX Aug 30 2017 11.50 Call   Short Sell          8/7/2017           -1     $1.1500
VIX Aug 30 2017 11.50 Call   Short Sell          8/8/2017           -3     $0.9500
VIX Aug 30 2017 11.50 Call   Short Sell          8/8/2017           -2     $1.0000
VIX Aug 30 2017 11.50 Call   Short Sell          8/8/2017           -3     $1.0000
VIX Aug 30 2017 11.50 Call   Cover Buy          8/29/2017             9    $0.5500
VIX Aug 30 2017 12.00 Call   Short Sell          8/8/2017           -1     $0.8000
VIX Aug 30 2017 12.00 Call   Short Sell          8/8/2017           -3     $0.8000
VIX Aug 30 2017 12.00 Call   Cover Buy          8/29/2017             4    $0.3500
VIX Aug 30 2017 14.00 Call   Short Sell         8/22/2017           -5     $0.4000
VIX Aug 30 2017 14.00 Call   Cover Buy          8/29/2017             3    $0.0400
VIX Aug 30 2017 14.00 Call   Cover Buy          8/29/2017             2    $0.0500
VIX Aug 30 2017 15.00 Call   Short Sell         8/22/2017           -7     $0.2500
VIX Aug 30 2017 15.00 Call   Short Sell         8/22/2017           -5     $0.3100
VIX Aug 30 2017 15.00 Call   Short Sell         8/23/2017           -2     $0.2500
VIX Aug 30 2017 15.00 Call   Short Sell         8/25/2017           -2     $0.1000
VIX Aug 30 2017 15.00 Call   Cover Buy          8/28/2017           16     $0.0400
VIX Sep 06 2017 12.00 Call   Short Sell          9/1/2017            -8    $0.2500
VIX Sep 06 2017 12.00 Call   Cover Buy           9/5/2017             8    $1.2700

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Security                     Buy/Sell             Date      Quantity      Price
VIX Sep 06 2017 12.50 Call   Short Sell         8/31/2017           -3     $0.3000
VIX Sep 06 2017 12.50 Call   Short Sell         8/31/2017           -3     $0.3000
VIX Sep 06 2017 12.50 Call   Short Sell         8/31/2017           -6     $0.3250
VIX Sep 06 2017 12.50 Call   Short Sell         8/31/2017           -6     $0.4000
VIX Sep 06 2017 12.50 Call   Short Sell          9/1/2017           -5     $0.2000
VIX Sep 06 2017 12.50 Call   Cover Buy           9/5/2017           23     $0.6700
VIX Sep 06 2017 14.00 Call   Short Sell         8/29/2017           -3     $0.4700
VIX Sep 06 2017 14.00 Call   Short Sell         8/29/2017           -2     $0.5500
VIX Sep 06 2017 14.00 Call   Short Sell         8/30/2017           -5     $0.2500
VIX Sep 06 2017 14.00 Call   Cover Buy           9/5/2017           10     $0.1500
VIX Sep 06 2017 15.00 Call   Short Sell         8/28/2017          -16     $0.3300
VIX Sep 06 2017 15.00 Call   Short Sell         8/29/2017           -2     $0.3500
VIX Sep 06 2017 15.00 Call   Short Sell         8/29/2017           -8     $0.3000
VIX Sep 06 2017 15.00 Call   Short Sell         8/30/2017           -8     $0.2500
VIX Sep 06 2017 15.00 Call   Cover Buy           9/5/2017           34     $0.0500
VIX Sep 13 2017 12.00 Call   Short Sell         9/11/2017          -15     $0.1000
VIX Sep 13 2017 12.00 Call   Expired            9/13/2017           15     $0.0000
VIX Sep 13 2017 13.00 Call   Short Sell          9/5/2017          -23     $1.0700
VIX Sep 13 2017 13.00 Call   Expired            9/13/2017           23     $0.0000
VIX Sep 13 2017 13.50 Call   Short Sell          9/7/2017          -10     $0.3000
VIX Sep 13 2017 13.50 Call   Expired            9/13/2017           10     $0.0000
VIX Sep 20 2017 13.00 Call   Short Sell         7/28/2017          -35     $1.3900
VIX Sep 20 2017 13.00 Call   Expired            9/20/2017           35     $0.0000
VIX Sep 20 2017 13.50 Call   Short Sell         7/28/2017        -170      $1.2900
VIX Sep 20 2017 13.50 Call   Cover Buy           8/7/2017         170      $1.2200
VIX Sep 20 2017 20.00 Call   Short Sell         4/12/2017        -100      $1.8100
VIX Sep 20 2017 20.00 Call   Cover Buy          5/17/2017         100      $1.5000
VIX Sep 27 2017 13.50 Call   Short Sell         9/19/2017          -20     $0.2500
VIX Sep 27 2017 13.50 Call   Short Sell         9/20/2017          -20     $0.1500
VIX Sep 27 2017 13.50 Call   Cover Buy          9/26/2017           40     $0.0300
VIX Sep 27 2017 14.00 Call   Short Sell          9/5/2017            -8    $1.6300
VIX Sep 27 2017 14.00 Call   Cover Buy           9/7/2017             8    $1.2000
VIX Sep 27 2017 14.50 Call   Short Sell         9/18/2017          -20     $0.2000
VIX Sep 27 2017 14.50 Call   Cover Buy          9/25/2017           20     $0.0800
VIX Oct 04 2017 14.50 Call   Short Sell         9/25/2017          -20     $0.2900
VIX Oct 04 2017 14.50 Call   Cover Buy          10/2/2017           20     $0.0300
VIX Oct 11 2017 10.50 Call   Short Sell         10/5/2017          -40     $0.3313
VIX Oct 11 2017 10.50 Call   Cover Buy          10/9/2017           40     $0.3500

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Security                     Buy/Sell             Date      Quantity     Price
VIX Oct 11 2017 14.00 Call   Short Sell         9/26/2017          -40    $0.4700
VIX Oct 11 2017 14.00 Call   Cover Buy          10/5/2017           40    $0.0810
VIX Oct 25 2017 14.50 Call   Short Sell         10/2/2017          -20    $0.5300
VIX Oct 25 2017 14.50 Call   Short Sell        10/13/2017           -5    $0.2000
VIX Oct 25 2017 14.50 Call   Short Sell        10/13/2017          -30    $0.2000
VIX Oct 25 2017 14.50 Call   Cover Buy         10/23/2017           55    $0.0300
VIX Nov 01 2017 13.00 Call   Short Sell        10/23/2017          -55    $0.2600
VIX Nov 01 2017 13.00 Call   Cover Buy         10/31/2017           55    $0.0300
VIX Nov 15 2017 14.00 Call   Short Sell         8/11/2017          -50    $2.8500
VIX Nov 15 2017 14.00 Call   Cover Buy         11/13/2017           50    $0.2500
VIX Nov 22 2017 10.50 Call   Short Sell        11/14/2017          -30    $1.3800
VIX Nov 22 2017 10.50 Call   Cover Buy         11/21/2017           30    $0.1400
VIX Nov 22 2017 11.50 Call   Buy               11/14/2017           30    $0.9000
VIX Nov 22 2017 11.50 Call   Sell              11/21/2017          -30    $0.0100
VIX Dec 20 2017 14.00 Call   Short Sell          8/7/2017        -170     $2.2300
VIX Dec 20 2017 14.00 Call   Cover Buy          8/10/2017           10    $2.9500
VIX Dec 20 2017 14.00 Call   Cover Buy          8/10/2017            5    $2.9000
VIX Dec 20 2017 14.00 Call   Cover Buy          8/10/2017           20    $2.9000
VIX Dec 20 2017 14.00 Call   Cover Buy          8/10/2017           50    $2.8000
VIX Dec 20 2017 14.00 Call   Cover Buy          9/21/2017           40    $1.9500
VIX Dec 20 2017 14.00 Call   Cover Buy         11/14/2017           45    $1.3000

VIX Feb 15 2017 13.00 Put    Buy               12/22/2016          100    $0.4700
VIX Feb 15 2017 13.00 Put    Sell               1/30/2017         -100    $0.7500
VIX Feb 15 2017 23.00 Put    Short Sell        12/16/2016         -125    $7.5200
VIX Feb 15 2017 23.00 Put    Cover Buy          1/17/2017          125    $8.9444
VIX Feb 15 2017 29.00 Put    Short Sell        12/20/2016         -100   $13.5000
VIX Feb 15 2017 29.00 Put    Cover Buy          2/13/2017          100   $17.4400
VIX Mar 22 2017 12.00 Put    Buy                2/10/2017          200    $0.4500
VIX Mar 22 2017 12.00 Put    Sell               2/13/2017         -200    $0.5000
VIX Mar 22 2017 22.00 Put    Short Sell        12/27/2016         -100    $6.1900
VIX Mar 22 2017 22.00 Put    Cover Buy           3/1/2017          100    $9.2300
VIX Mar 22 2017 23.00 Put    Short Sell         1/17/2017         -125    $7.9444
VIX Mar 22 2017 23.00 Put    Cover Buy           3/1/2017          125   $10.2276
VIX Mar 22 2017 32.50 Put    Short Sell        12/12/2016          -35   $15.4700
VIX Mar 22 2017 32.50 Put    Cover Buy          3/10/2017           35   $19.9500
VIX Apr 19 2017 29.00 Put    Short Sell         2/13/2017         -100   $14.3100
VIX Apr 19 2017 29.00 Put    Cover Buy          3/10/2017          100   $14.8500

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Security                    Buy/Sell              Date      Quantity     Price
VIX May 17 2017 23.00 Put   Short Sell           3/1/2017        -100     $8.4800
VIX May 17 2017 23.00 Put   Short Sell           3/1/2017        -125     $8.4800
VIX May 17 2017 23.00 Put   Cover Buy            4/7/2017         225     $9.7000
VIX Jun 21 2017 11.00 Put   Buy                 4/11/2017         225     $0.1500
VIX Jun 21 2017 11.00 Put   Sell                6/13/2017        -225     $0.3000
VIX Jun 21 2017 23.00 Put   Short Sell          4/11/2017        -225     $8.6400
VIX Jun 21 2017 23.00 Put   Cover Buy           6/13/2017         225    $11.5000
VIX Jun 21 2017 29.00 Put   Short Sell          3/10/2017        -100    $13.7000
VIX Jun 21 2017 29.00 Put   Cover Buy           6/13/2017         100    $17.5000
VIX Jun 21 2017 32.50 Put   Short Sell          3/10/2017          -35   $17.0000
VIX Jun 21 2017 32.50 Put   Cover Buy           6/20/2017           35   $21.6500
VIX Jul 19 2017 11.00 Put   Buy                 6/13/2017         225     $0.4000
VIX Jul 19 2017 11.00 Put   Sell                7/13/2017        -225     $0.3000
VIX Jul 19 2017 23.00 Put   Short Sell          6/13/2017        -225    $10.8000
VIX Jul 19 2017 23.00 Put   Cover Buy           7/14/2017         225    $12.2200
VIX Jul 19 2017 29.00 Put   Short Sell          6/13/2017        -100    $16.7000
VIX Jul 19 2017 29.00 Put   Cover Buy           7/18/2017         100    $18.5100
VIX Aug 16 2017 23.00 Put   Short Sell           4/7/2017        -225     $8.4000
VIX Aug 16 2017 23.00 Put   Cover Buy           4/11/2017         225     $8.0300
VIX Aug 16 2017 29.00 Put   Short Sell          7/18/2017        -100    $17.0900
VIX Aug 16 2017 29.00 Put   Cover Buy           8/10/2017         100    $16.2200
VIX Aug 16 2017 32.50 Put   Short Sell          6/20/2017          -35   $19.8000
VIX Aug 16 2017 32.50 Put   Cover Buy           8/10/2017           35   $19.6400
VIX Aug 23 2017 11.00 Put   Buy                 7/13/2017         225     $0.3500
VIX Aug 23 2017 11.00 Put   Sell                8/10/2017        -225     $0.2500
VIX Aug 23 2017 23.00 Put   Short Sell          7/14/2017        -225    $10.6720
VIX Aug 23 2017 23.00 Put   Cover Buy           8/10/2017         225     $9.8800
VIX Sep 20 2017 29.00 Put   Short Sell          8/10/2017        -100    $15.5900
VIX Sep 20 2017 29.00 Put   Cover Buy           9/18/2017         100    $18.3900
VIX Sep 20 2017 32.50 Put   Short Sell          8/10/2017          -35   $18.9600
VIX Sep 20 2017 32.50 Put   Cover Buy           9/19/2017           35   $21.9500
VIX Oct 11 2017 29.00 Put   Short Sell          9/18/2017        -100    $16.9900
VIX Oct 11 2017 29.00 Put   Cover Buy          10/10/2017         100    $18.7100
VIX Oct 18 2017 11.00 Put   Buy                 8/10/2017         225     $0.3000
VIX Oct 18 2017 11.00 Put   Sell                9/25/2017        -150     $0.3000
VIX Oct 18 2017 11.00 Put   Sell               10/16/2017          -75    $0.9000
VIX Oct 18 2017 23.00 Put   Short Sell          8/10/2017        -225     $9.3800
VIX Oct 18 2017 23.00 Put   Cover Buy           9/25/2017         150    $10.7900

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Security                    Buy/Sell              Date      Quantity     Price
VIX Oct 18 2017 23.00 Put   Cover Buy          10/16/2017           75   $12.7800
VIX Oct 18 2017 32.50 Put   Short Sell          9/19/2017          -35   $20.2000
VIX Oct 18 2017 32.50 Put   Cover Buy          10/16/2017           35   $22.2400
VIX Nov 08 2017 11.00 Put   Buy                10/16/2017           75    $0.9000
VIX Nov 08 2017 11.00 Put   Sell                11/7/2017          -75    $1.2971
VIX Nov 08 2017 23.00 Put   Short Sell         10/16/2017          -75   $11.9300
VIX Nov 08 2017 23.00 Put   Cover Buy           11/7/2017           75   $13.2729
VIX Nov 15 2017 11.00 Put   Buy                 9/25/2017         150     $0.3500
VIX Nov 15 2017 11.00 Put   Sell               11/14/2017        -150     $0.0200
VIX Nov 15 2017 23.00 Put   Short Sell          9/25/2017        -150    $10.1100
VIX Nov 15 2017 23.00 Put   Cover Buy          11/14/2017         150    $11.1812
VIX Nov 15 2017 29.00 Put   Short Sell         10/10/2017        -100    $16.7000
VIX Nov 15 2017 29.00 Put   Cover Buy          11/13/2017         100    $17.5300
VIX Nov 15 2017 9.00 Put    Buy                 11/1/2017           40    $0.0500
VIX Nov 15 2017 9.00 Put    Expired            11/15/2017          -40    $0.0000
VIX Dec 06 2017 23.00 Put   Short Sell          11/7/2017          -75   $11.2500
VIX Dec 06 2017 23.00 Put   Cover Buy           12/1/2017           75   $10.4500
VIX Dec 06 2017 9.00 Put    Buy                 11/7/2017           75    $0.0300
VIX Dec 06 2017 9.00 Put    Sell                12/1/2017          -75    $0.0200
VIX Dec 20 2017 10.00 Put   Buy                11/30/2017         100     $0.1800
VIX Dec 20 2017 10.00 Put   Sell               12/18/2017        -100     $0.4700
VIX Dec 20 2017 29.00 Put   Short Sell         11/13/2017        -100    $16.5800
VIX Dec 20 2017 29.00 Put   Cover Buy          12/18/2017         100    $19.1900
VIX Dec 20 2017 32.50 Put   Short Sell         10/16/2017          -35   $20.3000
VIX Dec 20 2017 32.50 Put   Cover Buy          12/18/2017           35   $22.6900
VIX Dec 20 2017 9.00 Put    Buy                 11/7/2017           35    $0.0500
VIX Dec 20 2017 9.00 Put    Buy                11/10/2017           35    $0.0500
VIX Dec 20 2017 9.00 Put    Buy                11/13/2017           65    $0.0500
VIX Dec 20 2017 9.00 Put    Sell               11/30/2017        -100     $0.0300
VIX Dec 20 2017 9.00 Put    Assigned           12/20/2017          -35    $0.0000
VIX Jan 17 2018 11.00 Put   Buy                11/14/2017         150     $0.3600
VIX Jan 17 2018 11.00 Put   Sell               12/15/2017        -150     $0.7300
VIX Jan 17 2018 23.00 Put   Short Sell         11/14/2017        -150     $9.6744
VIX Jan 17 2018 23.00 Put   Cover Buy          12/22/2017         150    $11.9000
VIX Jan 17 2018 9.50 Put    Buy                12/15/2017         150     $0.0800
VIX Jan 17 2018 9.50 Put    Sell               12/22/2017        -150     $0.0700
VIX Feb 14 2018 10.00 Put   Buy                 12/5/2017           75    $0.0900
VIX Feb 14 2018 10.00 Put   Buy                12/18/2017         100     $0.2300

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Security                    Buy/Sell              Date      Quantity     Price
VIX Feb 14 2018 10.00 Put   Sell                 1/2/2018          -75    $0.2200
VIX Feb 14 2018 10.00 Put   Sell                1/16/2018        -100     $0.1700
VIX Feb 14 2018 23.00 Put   Short Sell          12/1/2017          -75    $9.2500
VIX Feb 14 2018 23.00 Put   Cover Buy            1/2/2018           75   $11.2700
VIX Feb 14 2018 29.00 Put   Short Sell         12/18/2017        -100    $16.9700
VIX Feb 14 2018 29.00 Put   Cover Buy           1/16/2018         100    $17.0100
VIX Feb 14 2018 9.00 Put    Buy                 12/1/2017           75    $0.0200
VIX Feb 14 2018 9.00 Put    Sell                12/5/2017          -75    $0.0100




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